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                            Exhibit 1
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10
         Attorneys for Plaintiff
         SIX4THREE, LLC, a Delaware
l1       limited liability company
t2

13
                                      SUPERIOR COURT OF CALIFORNIA
T4
                                             COUNTY OF SAN MATEO
15

l6       SIX4THREE,LLC, a Delaware limited                        Case No. CIV 533328
                                                          )
         liability company,                               )
l7                                                                SECOND AMENDED COMPLAINT OF
                                                          )
                Plaintiff,                                )       PLAINTIFF, SIX4THREE, LLC, FOR
18
                                                          )       INJUNCTION AND DAMAGES FOR:
         V                                                )       1. VIOLATION OF CALIFORNIA
t9                                                                BUSINESS AND PROFESSIONS CODE
                                                          )
20
         FACEBOOK, INC., a Delaware corporation           )       $$ 17200 Er SEQ.;
         and DOES 1 through 50, inclusive                 )       2. PROMISSORY ESTOPPEL;
2I                                                        )       3. NEGLIGENT MISREPRESENTATION;
                Defendants.                               )       4. INTENTIONAL INTERFERENCE
                                                          )         WITH CONTRACT; AND
22
                                                                  5. INTENTIONAL INTERFERENCE
                                                                    WITH PROSPECTIVE BUSINES S
23
                                                                    RELATIONS.
24

25       Plaintiff, Six4Three, LLC, alleges as follows:
26              1.      This matter concerns Defendant Facebook, Inc.'s campaign of promises,
27       enticements, and representations to third-party software developers ("Developers") such as
28
30                                                            1

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     1    Plaintiff Six4Three, LLC (*643"), to develop applications for Facebook, based on Facebook's

     2    representations that Developers would have a level playing field, fair competition, and an

     J    opportunity to grow their business. Facebook's campaign was part of a calculated strategy to

 4        drive Facebook's own growth by leveraging the hard work of Developers. But once Facebook

     5    decided it would prefer to no longer compete with Developers, it abruptly reversed course, and

 6       broke its promise of fair competition in Facebook's platform. Facebook's conduct here is a classic

 7       "bait andswitch" tactic that is barred by Califomia law, as detailed below.

 8                                                    PARTIES

 9               2.     Plaintiff 643 is a Delaware Limited Liability Corporation with a principal place of

10       business at 535 Mission Street, 14th Floor, San Francisco, California.

11               3.     On information and belief, Defendant Facebook, Inc., is a Delaware Corporation

L2       with a principal place of business of One Hacker W'ay, Menlo Park, California.

13               4.     Plaintiff is ignorant of the true names and capacities of the Defendants sued herein

t4       as Does I through 50, inclusive, and each of them, and therefore sues said Defendants by such

15       fictitious names. Plaintiff will amend this complaint when the true names and capacities of said

16       Defendants have been ascertained. Plaintiff is informed and believes and thereon alleges, that

t7       Defendants Does 1 through 50, inclusive, and each of them, are legally responsible in some

18       manner for the events and happenings referred to herein and proximately caused or contributed to

l9       the injuries to Plaintiff as hereinafter alleged. Wherever in this complaint any Defendant is the

20       subject of any charging allegation by Plaintiff it shall be deemed that said Defendants Does I

2l       through 50, inclusive, and each of them, are likewise the subjects of said charging allegation.

22              5.      Plaintiff is informed and believes, and thereon alleges, that at all times herein

23       mentioned, each of the Defendants was the agent and employee of each of the remaining

24       Defendants and, in doing the things herein alleged, was acting within the course and scope of said

25       agency and employment.

26                                                     FACTS

27              6.      643 is an image pattem recognition startup company.

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                                                          2
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     1               7.      Facebook operates a social networking service that enables users to connect and

     2       share information with their friends and family.

     a
     J               8.     Facebook refers to the network of relationships between its users as the "Graph" or

     4       the "Social Graph."

     5               9.     The Facebook Developer Platform (also called "Facebook Platform") enables

     6       Developers to make their applications and other services available to Facebook users.

     7           I. LAUNCH OF FACEBOOK PLATFORM IN 2OO7
     8              10. At 3PM PDT on May 24,2007, Mark Zuckerberg, Facebook Founder and CEO,
     9       made a self-described revolutionary announcement to a crowded room of software developers in

 10          San Francisco. Zuckerberg announced the launch of Facebook Platform, which he had described

 11          weeks earlier in an interview with Fortune magazine as "the most powerful distribution

t2           mechanism that's been created in a generation."l He went on in the Fortune interview to describe

13           the motivation for creating Facebook Platform in this way: "We want to make Facebook into

t4           something of an operating s)¡stem so l¿ou can run full applications," specifying that this

15       development was the intemet-equivalent to what Microsoft did with Windows, which allowed

T6       other developers to build applications for PCs. (See

T7       http:llarchive.fortune. coml2007l05l24ltecLnology/facebook.fortune/index.htm.)

18                  11.     In fact, Zuckerberg's first demonstration of Facebook Platfoffn was purportedly to

19       Bill Gates in early }l4ay 2007. Microsoft and Facebook had reached an agreement for Microsoft to
20       purchase banner ads on Facebook in which Microsoft had guaranteed Facebook a minimum of

2t       $100 million per year through 2011. Facebook Platform was positioned by Facebook to Microsoft

22       as the driving force behind meeting Facebook's ambitious growth metrics. At the time of this

23       announcement, Facebook had just exceeded20 million active users and had raised only $37.7

24       million in venture capital investment. Even at this modest point in Facebook's growth, its photo

25       sharing application was the largest photo application on the Internet, and according to Facebook's

26

27       t
          In the quoted text here and elsewhere in the Second Amended Complaint, representations by
         Facebook or its employees have been underlined for emphasis.
28
                                                                a
                                                                -t
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      1    own internal statistics, drew more than twice the traffic of the next three photo sites combined at

     2     the time of the li4ay 24,2007 announcement of Facebook Platform.

     J               12.    Zuckerberg announced that the three key elements of Facebook Platform were

     4     "deep inteeration. mass distribution, and new opportunity. " These were three key themes he

     5     would repeat throughout the day and for years to come in numerous public conversations and

     6     presentations. (See https:l lgigaom.com/2007 l05l24llive-at-the-facebook-launch/.)

     7            13.      Thus, Zuckerbergmade three distinct promises: (1) promise of deep integration

     8    with Facebook's social graph; (2) promise of Facebook's support in achieving mass distribution

     9    of developer applications; and (3) promise of an opportunity to build a business on Facebook.

 10               14.      By 8PM that evening, these key elements were memorialized on Facebook's

 ll       website with the official announcement'oFacebook Platform Launches", stating "You can now

t2        build aoolications that       the same access to intesration into the social sraph as Facebook

l3        anolications- such as        s. notes. and events. ... The oower of mass distribution is now in your

t4        hands. You can sain distribution for your applications throush the social graph like never before.

15                                                           millions of Facebook users

t6        throush the nrofile- news feerl- anrf mini- feed. ... With access to deeo intesration into the site- anrl

l7        mass distribution throush fïe social sranh comes a new oonortunitv for vou to build a business

18        with vour annlication- You are free to monetize vour canvas oases throush adveltisins or other

I9        transactions that )¡ou control." (See Facebook Platform Launches,

20        http..llweb.archive.orglwebl2007070600202llhttp:l/developers.facebook.com/news.php?blog:1&

2t        stor521).

22                15.      Facebook's announcement thus promised that (1) developers have "same access to

23        integration" for applications such as photos and notes as Facebook employees; (2) developers are

24        able to distribute applications through Facebook Platform; and (3) developers are able to

25        monetize appl icati ons through F acebook P latform.

26               16.       Zuckerbergwent on to say: "The social eraph is ou

27        framework that is completely optimized for developing social applications within our

28                                     that there
                                                             4
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     1                  on

     2    This is sood for us because if rleveloners builrl              aonlications then thev're orovidins a service

     J    to our users and strensthenins the social             .   ... This is a bis onoortunitv. 'We nrovide the

     4    intesration and distribution anrl develoners                  the aoolications. We helo users share more

     5    information and together we benefit."

     6            17. Zuckerbergthus promised that Facebook is committed long term to serving as a
 7       platform that lets developers build applications on a level playing field because it is a big

 8       opportunity for everyone.

 9                18. Zuckerbergthen announced that Facebook had been working with over 70
l0       developers in anticipation of the launch of Facebook Platform, including Amazon, Forbes, ilike,

11       Lending Club, Microsoft, Obama for America, Photobucket, Red Bull, Twitter, Uber, Virgin

l2       Mobile USA,'Warner Bros, Vy'ashington Post, and many others. (See live blog of F8 event from

13       leading Internet blogger, Mashable, athttp:llmashable.com/2007105124/facebook-f8-

t4       live/#CIfbgFfPV5q0.)

15                19. Around 4PM duringZuckerberg's presentation, he announced 5 case studies from
16       these early developer partners aimed at showing how easy it was for all developers to integrate

I7       with Facebook Platform. Zuckerberg distributed case studies from Red Bull, Box.net, Lending

18       Club, Microsoft and Slide.com. Zuckerberg continued to emphasize during this public, annual

T9       keynote to Developers that Facebook Platform is the single biggest and most revolutionary

20       change to Facebook since its inception, stating: "Every once in a while a platform comes along

2T       that allows people to build a completely new application-sometimes even starts new industries."

22       (S ee https ://gigaom. com I 2007 I 0 5 / 24 lliv e-at-the-facebook-launch/.)


23               20. GigaOm, a leading Internet blogger, live blogged the event and further quoted
24       Zuckerberg as saying: "With photo-sharing, he explained, 'it's not just the photos that spread, it's

25       the whole photos application'. Third-party applications won't be treated like second-class citizens

26       on Facebook, he says; users can add them to their profiles and drag them and drop them to their

27       content. Applications can use Flash, JavaScript, and Silverlight if a user approves them. Outside

28       applications can issue unlimited notifications to users, and fit into the Facebook environment by
                                                                    5
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     I    accessing a'friend selector' that spits out each users' connections. Now Ztckerberg says you can

     2    serve ads on your app pages and keep all the revenue, sell them yourselves or use a network, and

     J    process transactions within the site, keeping all the revenue without diverting users off

     4    Facebook." (See https: l l gigaom.com/20 07 l 05 l24 llive-at-the-facebook-launch/.)

     5            21.     Zuckerbergthus promised that (1) developer applications won't be "second class

     6   citizens"; (2) developer applications can access a user's connections and related user data made

 7       available in the social graph; and (3) developer applications can sell ads through the Facebook

 8       Platform.

 9               22.     This grandiose language from Zuckerbergobviously sparked substantial questions

10       from the developer community so by :2}PMpacific (1 hour and20 minutes after the keynote

11       had started), Facebook had released the official "Facebook Platform FAQ", which was being

I2       circulated among bloggers to educate developers further on this announcement. (See Exhibit 1,

t3       Facebook F8 and Platform FAQ.) The Facebook Platform FAQ states, among other things:

t4               What is Facebook Platform? Facebook Platform is a development system that enables

l5               companies and developers to build applications for the Facebook website, where all of

t6               Facebook's 24 mlllion active users can interact with them. Facebook Platform offers deep

l7               intesration tn the Facebook website, distribution throueh the social graph and an

18               opportunity to build a business
                 *{<{<
t9

20               What's new in Facebook Platform? We've been adding functionality since Facebook

2t               Platform first shipped in beta in August 2006. With the latest evolution ofFacebook

22                                                                      create               on

23               site with the same level of intesration as applications built bv internal Facebook

24               developers. Now developers everywhere have the abilit)¡ to create Facebook applications

25               that deeply integrate into the Facebook site. as well as the potential for mass distribution

26              throueh the social graph and new business opportunities.

27              \ühy did Facebook launch Facebook Platform? Our engineers have created great
28              applications for Facebook, but we recognized that third-party developers can help us make
                                                             6
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     1          Facebook an even more powerful social utility. Facebook Platform gives developers

     2          everwvhere the tools to create applications that we just wouldn't have the resources to
     a
     J          build in-house. and those applications make Facebook an even better way for our users to

     4          ç¡lchange information. Developers also benefit from the Facebook Platform as it gives

     5          them the notential to broadl V distribute their aoolications and even build new business

     6          opportunities.

     7          What kinds of applications can be built on Facebook Platform? The kinds of

     8          applications developers can build on Facebook Platform are limited onl)¡ bv their

 9              imaginations. Because applications are based on the Facebook social graph the)¡ can be

10              more relevant to users. keeping people in touch with what and whom the)¡ care about.

11              We've already seen a variety of applications built by our developer partners, including

t2              those for sharing media files, book reviews, slideshows and more. Some of the

t3              possibilities of Facebook applications are illustrated in the Facebook Platform Application

l4              Directory, availabl e at http I I facebook. com/apps.
                                             :




15              Are there any restrictions on what developers can build? Developers are encouraged

t6              to exercise their creati vifv when huildino             Of course- all annlications are

t7              suhi ect to the Terms of Service that evefv develooer asrees to- which include basic

18              requirements such as not storing an)¡ sensitive user information. not creatinq any offensive

t9              or illegal applications. and not building an)¡thins that phishes or spams users. And users

20             will always have the power to report any applications that compromise Facebook's trusted
2T             environment, keeping our users' information safe.
               {<**
22

23             How will Facebook deal with applications that compete with one another or even

24             compete with Facebook-built applications? We welcome developers with competins

25             applications. includine developers whose applications mieht compete with Facebook-built

26             applications. Many applications are likel)'to offer similar features. We've desiened

27             Facebook Platform so that applications from third-part)¡ developers are on a level pla)¡ine

28             field with applications built by Facebook. Ultimatel)¡. our users will decide which
                                                            7
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     I          applications they find most useful, and it is these applications that will become the most

     2          popular.

     J          ***
     4          Can Facebook applications include ads? We want to enable developers to build a

     5          business on their Facebook applications. so we're eivine developers the freedom to

     6          monetize their applications as they like. Developers can include advertising on their

     7          applications' canvas pages , though no advertising will be allowed within the application

 8              boxes that appear within user profiles.

 9              Are you going to share revenue with developers? While revenue sharing is not

10              available at launch, we are looking into ways to share advertising revenue with

11              developers. The version of Facebook Platform already lets developers monetize their

l2              applications as the)¡ like. whether the)¡ choose to offer it for free or to build a business on

13              their application.

14              23.     In sum, these representations by Facebook reflected the following promises to

15       Developers:

16                  a. Developers would have'odeep integration";
17                  b. Developers would have access to the "social gaph";
18                  c. Developers would have "an opporfunity to build a business."
t9                  d. Developers would have the same level of integration and ability to develop apps in
20                     the same manner as internal Facebook employees;

2t                  e. Facebook will provide adequate tools necessary for Developers to build their
22                     applications;

23                  f. Facebook will help Developers achieve broad distribution of their applications;
24                  g. so long as applications abide by Terms of Service (e.g. are not offensive or
25                     unlawful), Facebook will be neutral as to the applications built on its operating

26                     system;

27

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                                                           8
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     I                h. any application that does not violate Terms of Service, phish or spam users,
     2                   contain offensive material, or break the law shall be accepted in Facebook

     J                   Platform;

     4               i. competing applications are welcome on Facebook's operating system;
     5               j. Facebook will remain neutral among competing applications;
     6               k. Facebook will remain neutral among its own applications and those of developers
     7                   regardless of whether they compete or not;

     8               l. applications similar in purpose and content will be allowed to compete on a "level
  9                      playing field"

 10                  m. "level playing field" constitutes a definition of fairness in market competition, and

11                       that definition of faimess means that ultimately users will decide which

1,2                      applications win the market, not Facebook or other third parties;

13                   n. implicit in this definition of fairness based on user decision is the necessary
T4                       consequence that Facebook shall take no actions to promote its own applications

15                       or preferred applications from companies that have a special relationship with

T6                       Facebook in order to slant this playing field in a manner that makes it less likely

T7                       for users ultimately to decide the winner;

18                  o. Facebook will enable Developers to build businesses on their operating system by
T9                      directly monetizing their applications on Facebook;

20                  p. Developers will be able to sell ads on their application pages; and
21                  q. Developers will have a choice as to whether they monetize their application on
22                      Facebook's operating system.

23          II. DEVELOPERS RESPONDED ENTHUSIASTICALLY TO THE LAUNCH OF
                    F'ACEBOOK PI,ATF'ORM^ .II              AS FACEBOOK INTENDED
24

25              24.     The blogging community went into an immediate and prolongedfrenzy over this

26       arìnouncement. Paul B. Allen, founder of Ancestry.com and well known Intemet blogger,

27       summed up the general sentiment expressed by countless bloggers when he wrote that same da¡

28       "I saw history in the making today...I was lucky enough to be in San Francisco for the Facebook
                                                           9
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     I    f8 Platform launch event. This announcement was at least an 8.0 on the Richter scale. It was a

     2    whopper. ... A huge new opportunity was presented to the few hundred people in the room,

     J    including 65 companies that have spent the last few weeks developing applications for the launch

     4    of Facebook Platform. Facebook is inviting anyone to develop applications for their users on top

     5    of what Mark calls their "social grlaph" - the core of their service which basically keeps track of

     6    real people and their real connections to each other....fFacebook's] growth will be dramatically

     7    accelerated by the Platform announcement. If Facebook is adding 100,000 new users per day with

     8    its own few simple applications (like its photo sharing, a very simple service that has given

  9       Facebook twice as many photos as all other photo sharing sites combined), what will happen

 10      when thousands or tens of thousands of developers start building apps in Facebook and marketing

11       them to more users? Facebook will reach 50 million, then 100 million, then 200 million users, and

12       beyond. Rather than continue to try to develop features within its own proprietary, closed

t3       network, basically keeping all of its users to itself...Facebook intuitively gets the concepts that

t4       are so brilliantly discussed in Wikinomics (which are so non-intuitive to old schools business

15       types), and has chosen to open up its network for all to participate in...Application developers

t6       can now have access to core Facebook features, such as user profiles and user connections, and

t7       even publishing to the News Feed, all with the control and permission of Facebook users...When

18       Facebook has 100 million users, in the not too distant future, having the ability to develop an App

t9       in their system will almost be like being able to get a link on Google's own home page." (See

20       http:llwww.paulallen.netþrediction-facebook-will-be-the-largest-social-network-in-the-world/.)

2I               25.    To Developers, Facebook Platform represented not just an entire new operating

22       system, but an ecosystem that could potentially rcorganize the entire Intemet (potentially

23       replacing Google). The sentiment amongst Developers, as widely held throughout the industry

24       and reported by popular sites like TechCrunch (http:lltechcrunch.com /2007lÙsl24lfacebook-

25       launches-facebook-platform-they-are-the-anti-myspace/)       and the Wall Street Journal

26       (http ://www.wsj.com/public/article/SB   1 17 97 1397 890009 17 7   -

27       wjdIGmjAqS_9ZZbwiRp_CoSqvwQ 20070620.htm1), was that if you aren'tbuilding for

28       Facebook, you will be left behind.
                                                           10
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     1           26.     Facebook and the Developers who were selected to participate in the private beta

     2    of Facebook Platform quickly set out to make Developers comfortable with this grandiose vision

     J    and create a level of comfort to induce them to participate in this entirely new industry. For

     4    instance, on May 29,2007,just five days after Zuckerberg's announcement of Facebook

     5   Platform, Venture Beat, the popular tech blog, did a Q&A with ilike founder, Ali Partovi, who

 6       was also an early advisor and shareholder of Facebook. ilike was the first successful application

 7       on Facebook Platform and for quite some time was the largest music application on the Facebook

 8       Platform. ilike was purchased by MySpacein2009.

 9               Tell me about your experiences with PlatforTn so far. You've been working on putting

l0               ilike on Facebook for several months now. Yet on the integration since Friday moming,
11               there have been bugs and other issues on ilike's end. What's the status?

t2               Partovi: So, first to give you the back-story on how we got involved. Over the past several

13               months, we've pushed and pushed with Facebook asking for some sort of exclusive

I4               relationship. They repeatedly said they won't do an exclusive relationship but would

15               rather create a level playing field where we could compete with other third parties. We

t6               then gave up a bit, and we were actually a bit late to the game learning about the platform

t7               in detail. But when we finally did get access, our President, Hadi Partovi (my twin

l8               brother) took very little time to decide this was a huge strategic priority. That was a month

t9               ago. We rc-pnontized everything else, and started moving our people off other projects

20              onto this. First two or three people, then a few more, and by the end it was a huge group of

2l              engineers pulling back-to-back all-nighters for a week-long sprint to the launch.

22              What made ilike think that Facebook Platform would be a big deal? What stood out about

23              it?

24              Hadi has a strong background in the concept of platforms...at24 he became the head of

25              product management in the IE group at Microsoft, and was a key player in the browser

26              wars. A month ago, even though the Facebook Platform wasn't fully fleshed out, he saw

27              just from the early beginnings of it that this could redefine web development. What he

28              said was, 'in the history of computing, there was the personal computer, there was
                                                          11
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     I           Windows, there was the web, and now the Facebook Platform'. You can imagine that I

     2           and most our company'was pretty skeptical. But he makes these calls so we followed him.

     J           As to what stood out, it's a combination of three things: (1) the technology itself -

     4           Facebook Platform, like any platform, offers the developer building blocks to build apps

     5           faster than they could if they were starting from scratch, and to tap into a rich source of

     6           data & capabilities that would never otherwise be available; (2) the potential for viral

     7           spread - due to the way the Facebook news feed works, an app can spread across the

     8           community entirely by viral spread, as friends get notified when one person adopts

     9           it...this essentially bypasses the idea of trying to make your app 'viral' as a standalone,

 10              because Facebook is itself naturally viral; (3) the rhetoric from the Facebook manaeement

11               team. starting from the CEO himself, made it clear that they have a lone-term

t2               commitment to a level playing field. For example. the)¡ absolutely refused to give us any

13               special advantage. insistine that the market needs to see a level playins field...we offered

l4               them ownership in our company. mone)¡. etc - but they had no interest. Furthermore. they

15               built and launched their own'video' app. but left it to 'compete' on its own merits

t6               aloneside other third-party apps rather than makine it 'pre-installed' for all Facebook

t7               users. So #1 and #2 made this something we had to jump on. and #3 made us comfortable

18               with the lone-term strateeic implications . (See http:llventurebeat.com/2}}71051291qa-

t9               with-ilikes-ali -partovi -on- facebook/. )

20              27.      Partovi's comments immediately following Zuckerberg's announcement serye

21       both to reflect the general sentiment held by Developers - that Facebook had made clear its long

22       term commitment to a level playing field for Developers - and to show how Facebook's allies

23       (Partovi was an early advisor and shareholder after all), were committed to helping Facebook

24       grow its new operating system quickly and induce developers to participate with large

25       investments of capital. After all, ilike saw massive growth in the two years following its decision

26       to build on the Facebook Platform and was ultimately acquired by MySpace in2009 in large part

27       due to that growth.

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             III.FACEBOOK CONTINUED TO ACTIVELY PROMOTE FACEBOOK
     1
                    PLATFORM TO DEVELOPERS
     2
                 28.    Three days after Partovi's Q&A with Venture Beat, on June 1,2007 Facebook
     a
     J
         released its own statement further clarifying its intentions with Facebook Platform, entitled
     4
         "Platform is Here".
     5
                 "Last Frida)¡. we promised more information. so here it is.. .. V/ith this evolution of
     6
                 Facebook Platform. we've made it so that an)¡ developer can build the same applications
 7
                 that we can. And by that. we mean that they can integrate their application into
 8
                Facebook-into the social graph-the same wa)¡ that our applications like Photos and
 9
                Notes are intesrated. " (See https://www.facebook.com/notes/facebook/platform-is-
10
                herc124372821301)
11
                29.     Thus Facebook promised that developers will be able to build applications in the
l2
         same way that Facebook can by accessing the social graph.
13
                30.     As recently as February 23,2016, this representation remained available on
t4
         Facebook's web page.
15
                31.     Throughout the summer of 2007 Facebook remained on the offensive about its
16
         long-term commitment to developers on Facebook Platform. Facebook held numerous
t7
         Hackathons and Developer Meetups in various cities to introduce new developers to Facebook
18
         Platform, it launched a Developer Feed and Wiki on its website to educate the Developer
19
         community on the benefits of Facebook Platform and help them more seamlessly invest their
20
         capital and resources towards building applications on the Facebook Platform. Facebook also held
2T
         contests with prizes for developers. Zuckerberg continued to emphasize the revolutionary impact
22
         Facebook Platform would have on the Internet as a whole during this time. For instance, on July
23
         17, 2007, Zuckerber g was interviewed by Time Magazine:
24
                Time: the frenzy surrounding Facebook seems to have intensified quite dramatically over
25
                the past several months. What do you think is behind the company's newfound cachet?
26
                Zuckerberg: I think the most recent surge, at least in the press, is around the launch of
27
                Facebook Platform. For the first time we're allowins developers who don't work at
28
                                                          13
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     I            Facebook to develop applications just as if theli were. That's a bie deal because it means

     2            that all developers have a new way of doins business if they choose to take advantage of

     J            it. There are whole companies that are formins whose only product is a Facebook

     4                                                                   for       it   des an

     5            people who waul to make money by investing in those companies, and I think that's

     6            somethins that's nrettv exciti s to the business communitv. " (See

     7            http://content.time.com/time/business/article/0,8599,I644040,00.html)

     8            32. In these public statements to Time Magazine, Zuckerbergmade at least four
 9       distinct promises: (1) Facebook would allow developers to build applications as if they were

10       developers employed by Facebook; (2) Facebook would offer developers on Facebook Platform a

l1       new way of doing business; (3) Facebook would support an ecosystem where entire companies

t2       could be formed whose sole business activity was within the Facebook Platform ecosystem; (4)

l3       Facebook would support an ecosystem where investors could reasonably rely on Facebook to

14       make money by investing in companies solely devoted to the Facebook Platform ecosystem.

15               33.     Then on September 17,2007, Facebook went even further by setting up a $10

t6       million fund exclusively devoted to providing grants to developers to build on Facebook

t7       Platform. Facebook and its partners in the fund would not even take equity in the developer; they

l8       were offering free money to build applications on Facebook Platform with the only commitments

t9       being that the grantee use the money to build on Facebook Platform and that Facebook's partners

20       would have the opportunity to invest first if they were interested in doing so. When asked why

2t       Facebook was forming this fund, it replied: "We are forming this fund to help grow the Facebook

22       application ecosystem. By decreasing the barrier to start a company. we hope to entice an even

23       larger group of people to become entrepreneurs and build a compelling business on Facebook

24       Platform. We hope this is also a fundine model that other venture capitalists will follow. " (See

25       http I I 500hats.typepad. com/5 00bl o gsl 2007 I 09/facebook-announ.html.)
             :




26               34.     Facebook's conduct in providing free money to developers to build applications on

27       Facebook Platform implies a specific promise that it will support developers' opportunity to

28       "build a compelling business on Facebook Platform" and that it is committed long term to the
                                                            14
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     1    stability of Facebook platform as an ecosystem that can support substantial investment and where

 2       investors who participate in that ecosystem can expect a level playing field upon which to

 J       generate a return on that investment.

 4               35.      Indeed, others were quick to follow Facebook's lead in making investors

 5       comfortable with supporting this new industry with large sums of capital. Numerous venture

 6        capital firms or funds were soon after established that invested solely in Facebook applications. In

 7       September 2007, V/ired Magazine reported the following: "And by turning itself into a platform

 8       for new applications, Facebook has launched a whole new branch of the software development

 9       industry, just like Bill Gates did with MS-DOS in the 1980s. By allowing developers to charge

10       for their wares or collect the advertising revenue they generate, Zuckerberg set up a system for

11       every programmer to get paid for their efforts. Now venture capitalists like Bay Partners are

t2       scrambling to fund almost anyone who has an idea for a Facebook application." (See

13       https:llarchive.wired.comltechbiz/startups/newsl2)}7l09lff facebook?currentPage:all.)

t4               36.      As a result of Facebook and its partners tremendous efforts in inducing Developers

l5       to build applications on Facebook Platform and promising them the opportunity to build entire

16       industries, new sectors of investment and new types of applications, Facebook Platform quickly

T7       became, in the words of AdWeek, 'othe most viral software distribution system ever". The overall

18       traffic to Facebook increased by one third within a mere three weeks of the announcement. By

t9       December, the Facebook user base had gone from 24 mlllion at the time of the announcement to

20       58 million, a l4l% increase. Where Facebook had been adding about 100,000 new users per day

21       prior to Facebook Platform, it was now adding more than 250,000 users per day. (See

22       http://www.adweek.com/socialtimes/top-10-facebook-stories-oÊ20071211540.)

23              37.       While it touted Facebook Platform to Developers around the world, Facebook did

24       not state or imply that access to Facebook Platform might later be rescinded or provided on an

25       unequal basis.

26              38.       By the end of 2009, inlarge part due to the Facebook Platform's success in

27       inducing developers to make investments in this new ecosystem, Facebook's user growth had

28
                                                           l5
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     1    skyrocketed from 24 million active users at the time of the announcement of Facebook Platform

     2    in May 2007 to over 350 million users in December 2009.
     ô
     J            39. In late 2009, Facebook released a document "A Look Back on the App Economy
     4    of Facebook in 2009," in which it cited numerous success stories. For instance, Facebook app

     5    Playfish was acquired by Electronic Arts that year for no less thanS275 million. Watercooler, a

     6    leading fantasy sports application on the Facebook Platform, successfully raised $5.5 million to
                             'Weardrobe
 7        fuel its growth.                was acquired by Like.com for an undisclosed sum. The document,

 8        published by the Director of the Facebook Developer Network, ended: "'We'd like to say thank

 9        you to the developers and entrepreneurs who make up the Facebook Platform ecosystem and

10        congratulations on your accomplishments in 2009." (See

1l       http:llweb.archive.org/web120091223055629thtþ://developers.facebook.com/news.php?blog:1&

12       storp351.)

13           IV. FACEBOOK LAUNCHED GRAPH API IN 2O1O

I4               40.     On or about Apnl2l,2010, Facebook announced the launch of Graph Application

15       Programming Interface ("Graph API") as a key new component of Facebook Platform at its

t6       developer conference. Graph API allows Developers, with the consent of a Facebook user, to read

l7       data from and write data to Facebook.

18               41.     Developers can only access Facebook content (refened to as "endpoints") with

I9       explicit permission from the user. Examples of endpoints include a user's birthdate, favorite

20       athletes, or photos.

2I               42.     Graph API also permits access to endpoints regarding a user's füends. One such

22       endpoint is the set of photos that a user's friends had chosen to share with that user (the "Friends'

23       Photos Endpoint"). A user's friends can control access to their photos and other endpoints by

24       Developers even if they are not users of the Developer's application.

25               43.     By granting Developers access to the Friends' Photos Endpoint, Facebook allowed

26       Developers to build applications that enabled a Facebook user to search the user's friends' photos

27       via a Facebook Platform application, assuming the user's friend explicitly provided such

28       permission. A user's friend had complete control over the permission settings. For instance, the
                                                            T6
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     I    user's füend could provide access to all or no developers or to specific developers but not others,

     2    as the user's füend saw fit.

     a
     J           44.     During the announcement of Graph API, Facebook touted several features of

 4        Graph API in order to increase its appeal to Developers such as 643.

     5           45.     Specifically, at the F8 Conference 2010, Zuckerberg announced: "The open graph

 6       puts people at the center of the web - it means that the web can become a set of personally and

 7       meaningfully semantic connections between people...Three years ago at our first F8 we launched

 8       Facebook Platform, and together we all started an industry...We think what we have to show you

 9       today will be the most transformative thing we've ever done for the web...Use the open eraph to

10       make it so that oeoole can have instantlv social and personalized experiences everywhere they go.

11       We're sonna be announcins a few oieces of new technology that make this possible - the first is

t2       the Graoh API - makes it comoletelv simnle to read connections to Facebook's map of the

t3       graph...implemented on top of an open standard. " (See

T4       https ://www. youtube. com/watch?v:4SOcRKINi SM.)

15               46.     After Zuckerberg completed his keynote at F8 2010, Bret Taylor, a Facebook

I6       employee, fuither explained what Graph API meant for developers: "With Graph API every

L7       object in Facebook has a unique ID, whether that object is a user profile, event, etc. . . you just

18       need to download an object with a new ID or download a connection with a new name. So to

I9       download my friends you just need to download lbtaylor /friends. . . And this applies for every

20       single object in Facebook. So let's say Facebook launches a new feature next year. We're not

2t       gonna make you download a new SDK. You just need to download an object with a new ID or

22       download a connection with a new name. All of the code )¡ou already wrote will continue to work

23       perfectly. This is a really sienificant chanse for our new platform that I'm sure you can

24       appreciate. For the first time via the search capabilit)¡ of the Graph API. we're eiving developers

25       the capability to search over all the public updates on Facebook. I think this is eonna lead to a
                                                                                                        'We've
26       bunch of cool new applications and I'm reall)¡ excited to see where people so with this....

27       built our core of the Facebook Platform from the ground up with simplicity. stability. and the

28
                                                           l7
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     I    eraph in mind. This graph that for the first time we're buildine toeether." (See

     2    https ://www. youtube. com/watch?v:4S OoRKINi SM.)

     J           47.     Facebook's employee Bret Taylor thus promised that: (1) developers can access

     4    Graph API objects in a simple manner ("you just need to download an object with a new ID"); (2)

     5    the accessible objects are ubiquitous ("this applies for every single object in Facebook"); (3) this

     6    access will be sustained and can be relied upon by developers ("All of the code you already wrote

     7    will continue to work perfectly...We're not gonna make you download a new SDK") (a Software
     8   Development Kit (or "SDK") is a set of software development tools that allows for the creation of

  9      applications for a particular development platform); (4) developers can search over all objects for

 10      all public updates on Facebook; and (5) Facebook Platform guarantees simplicity, stability and

11       your ability to access and help build the graph with us.

12               48.     The software industry uses a common and well-known convention of referring to

13       software by version number (e.g., version 1.0, 2.0, etc.) to signify the existence of separate

14       versions of software and to identify a particular version of the software. When Facebook

15       announced the launch of Graph API, it did not refer to Graph API as having different versions.

16       Facebook thereby signified that Graph API's open, equal, and neutral nature would not change.

T7       This representation was of course a deliberate decision on Facebook's part to continue to entice

18       developers by conveying a sense of security around investing time, money and effort building

l9       applications on its revolutionary platform.

20               49.    Facebook did not represent that it had reserved the right to terminate any endpoint

2t       of Graph API. To the contrary, Facebook repeatedly expressed its long-term commitment to this

22       API.

23              50.     This extension of the Facebook Platform ecosystem to further expand its

24       reorganization potential for the entire Internet contributed even further to Facebook's meteoric

25       rise and induced even more investors and developers to expand the industry Facebook had

26       created. By way of example, on October 21,,2010, Facebook partnered with Kleiner Perkins

27       Caufield & Byers, Zynga and Amazon to launch a $250 million fund to invest in new apps on the

28       Facebook Platform. By September 19, 201I, Facebook Platform had created over 182,000 jobs
                                                          18
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     1   and $12.19 billion in value to the U.S. economy. Facebook now boasted over 850 million users as

  2      of late 2011.

  J              51.      On September 24,20II, Facebook further extended its long-term commitment to

  4      Facebook Platform by expanding Open Graph to accelerate its reorganization of the disparate

  5      content on the Internet. (See http://mashable.coml2012l05l24lfacebook-developer-platform-

  6      infographic/#ÐCxuACag5qr.) In his keynote address at F8 2011 on September 24,2011,

  7      Zuckerberg stated to a packed auditorium of developers : 'oThe next era is defined by the apps and

  8      depth of ensagement that is now possible now that this whole network has been established... In

  9      2007 in our very first F8 I introduced the concept of the social eraph. all of the relationships

10       between people in the world. Last year we introduced the concept of the open graph as not onl]¡

11       the map of all the relationships but all of the connections in the world.... This )¡ear. we're taking

T2       the next step: we're eoing to make it so that you can connect to anything you want in any way

l3       )¡ou want.... Sometimes I think about what we're doing with the open sraph is helpine to define a

14       brand new languase for how people connect...every year we take the next step and make some

15       new social apps possible. Open graph enables apps that focus primarily on two types of things:

T6       the first is filline out your timeline. and the second is helpine you discover new thinss throush

t7       your friends."

18               52.      Facebook thus made at least four distinct promises in this September 24,2011

19       announcement: (l) Facebook has a long-term commitment to the Facebook Platform and ensuring

20       a fair playing field for developers and has had such a commitment for over four years now; (2)

21,      Facebook is committed to extending the Facebook Platform to provide developers with more

22       ways to innovate and build businesses; (3) in keeping with this long term commitment, Facebook

23       will continue to help make new kinds of social apps possible; and (4) Facebook is in particular
24       focused on helping you discover new things through your friends and Facebook Platform will

25       enable developers seeking to do so.

26              53.       643 relied upon these representations, and others, as to the fair, level playing field

27       and the open, equal, and neutral nature of Facebook's Platform and Graph API, and invested

28
                                                            l9
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     I    considerable time, energy, and money developing an application to make use of Graph API on

     2    Facebook's Platform.

     J       V. THE FTC ORDERED FACEBOOK NOT TO MISREPRESENT THE MANNER
                       IN WHICH FACEBOOK PROVIDES ACCESS TO USER DATA
     4

     5           54.     On or about July 27,2012, the United States Federal Trade Commission ("FTC")

 6       entered a Decision and Order (the "FTC Order") against Facebook.

 7               55.     The FTC Order entered following a consent agreement between FTC and

 8       Facebook.

 9               56.     The FTC noted in the FTC Order that the FTC had reason to believe Facebook has

10       violated the Federal Trade Commission Act.

11               57.     The FTC Order provided, among other things, that Facebook and its

t2       representatives "shall not misrepresent in any manner, expressly or by implication, the extent to

t3       which it maintains the privacy or security of covered information . . . ."

l4               58.     The FTC Order defined "covered information" to include an individual

15       consumer's photos, among other things.

L6               59.     The FTC Order also provided that Facebook and its representatives "shall not

I7       misrepresent in any manner, expressly or by implication . . . the extent to which [Facebook]

18       makes or has made covered information accessible to third parties."

t9           VI.IN DECEMBER 2012. PLAINTIFF 643 BECAME A FACEBOOK DEVELOPER
                      AND BEGAN DEVELOPING AN APPLICATION
20

2l              60.      In December 2012,643 entered into the Facebook Developer Platform, which

         permitted 643 to develop applications using the Graph API.
22

23
                6I.      643 has developed a unique automated image classification capability, which it

         used to develop an application called Pikinis ("the App"). The App was available for download
24
         on any iOS-compatible device, including the iPhone and iPad. The App enabled Facebook users
25
         to reduce time spent searching by automatically classifying photos that their friends have shared
26
         with them through Facebook's network, assuming their friends have provided such permission to
27
         Developers.
28
                                                          20
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     1           62.     The App required use of Facebook's Graph API, and specifically the Friends'

     2    Photos Endpoint. The App used 643's pattern-recognition technology to search through shared

     J    photos and identify those of their friends at the beach or in the summer.

     4           63.     The App could only be used to sort through photos that a user's friend had chosen

     5    to share with that user based on the friend's Facebook privacy settings. 643 conducted initial user

     6    research that indicated considerable consumer demand for the App, among both men and women.

     7   Facebook has never expressed any disapproval ofthe App as the only content it accesses is

     8   content already available on Facebook.

 9               64.     643 made plans to market and promote the App to attract users.

10               65.     643 sold the App for $1 .99 in Apple's App store. The basic version of the App

11       allowed a user to run a certain number of searches per month. In addition, users could choose to

I2       pay for premium access, which allowed unlimited searching. 643 offered different pricing tiers

13       for premium access, ranging from $ 1 .99 for a monthly subscription, to $6.99 for 6 months, to

t4       $9.99 for 12 months.

15               66.    Facebook benefits from the work of Developers such as 643 who create

T6       applications for use with Facebook. These applications can enhance user experience and drive

t7       traffic to Facebook's website and mobile app, which in turn generates revenue for Facebook

18       through advertising sales, its primary revenue stream. It is no secret that Facebook's meteoric rise

T9       from24 million users in 2001 to almost 1.6 billion users in 2016 rested in significant part on the

20       release and growth of Facebook Platform.

2T           VN. FACEBOOK RE.ITERATED ITS PROMISES RELATED TO GRAPH API
                    AND FACEBOOK PLATFORM AT ITS 2014 F8 CONFI,RENCE
22
                67.     The extension of the Graph API at F8 2011 was simply the next step in Facebook's
23
         long term commitment to serve as a platform for other developers, a commitment that every
24
         statement and action it took since May 2007 (aperiod of well over 4 years) reaffirmed without a
25
         shadow of a doubt. The extension of the Facebook Platform continued to accelerate the massive
26
         economy Facebook had built. By January 2012, Facebook Platform had created 232,000jobs in
27
         the EU alone, amounting to $15.3 billion of value to the European economy. By February 2012,
28
                                                          2t
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     1    250 million people were playing games on Facebook Platform each day (that is 12 times more

     2    people than the average viewership of American Idol, the highest-rated TV show in the history of
     a
     J    television). By April 2012,7 of the 10 highest grossing apps in the Apple App Store were built on

     4    Facebook Platform. (See http://mashable.com/2012105124lfacebook-developer-platform-

     5    infographic/#fDCxuACag5qr.) It should be noted, inlarge part due to its long-term commitment

     6    to the Facebook Platform, Facebook exceeded 1 billion users in 2012.

     7           68.     By April 30,2014, at the 2014 F8, having accumulated over 1.3 billion users,

     8    Facebook decided that certain parts of this massive application ecosystem it had built (along with

     9   hundreds of thousands of developers and billions of dollars of outside investment capital) were

 10      better kept to itself. Despite having made this decision, Facebook made numerous promises that it

11       explicitly never intended to keep. Zuckerberg announced during his keynote: "This is qonna be a

l2       different kind of F8. In the past we've had F8 when we've had a big product announcement or

t3       new direction we were going in. This always meant a lot of different changes for your apps. Now

t4       we're focused on buildins a stable mobile olatform. You're tryins to build sreat mobile apps and

15       businesses. And we want to brins this community together once per year to talk about all the

l6       different thinss were doins to sunnort vou. We        heard from you that you want to use Facebook

t7       Platform to do 3 thinss. Help you build. srow and monetize your apps."

18               69. Thus, Zuckerbergreiterated the promise that Facebook had expressed to
t9       developers unequivocally for over seven years now: that Facebook is committed in the long term

20       to helping them build, Brow and monetize their apps.

21               70.    Zuckerberg continued: "As I said we're really focused on building a stable mobile

22

23       very same platform and APIs that you gu)¡s use when you're writing Facebook and all our

24       eneineers use the same tools and read all the same documentation that you do.... It's really

25       important for )¡ou and for all of our teams intemally that we build stable and efficient

26

27

28       stable and reliable for you to build. grow and monetize )¡our apps. You want to be able to build
                                                          22
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     I    something and know that it's gonna be able to work for a while. So today for the first time we're

 2        introducing a 2-)¡ear stabili¡¡ zuarantee for all of our core API olatforms...so even if we chanee

     J    these core APIs in the future. we're guaranteeing that we're eoing to keep supporting them as is

 4        for at least two )¡ears and ma)¡be longer from the time we make that change. We're still gonna

 5        experiment with new features and different thinqs but we're sonna mark them as beta so you

 6                                      this core stable

 7       This is something we want to make sure that all the apps we wrote two years ago keep working.

 8       This is something we wanted intemally as we build on this platform, so now everything is gonna

 9       be versioned so )¡ou get to decide which version of the API )¡ou get to build against."

10               71.     Accordingly, Ztckerberg made at least four promises that: (1) Facebook continues

11       to provide a level playing field to developers where developers use the same tools as Facebook

l2       employees to develop apps; (2) Facebook continues to be committed in providing developer

13       access "that you can rely on for the long term"; (3) Facebook promises that for all of its core API

T4       endpoints it will guarantee their stability for no less than two years going forward; (4) Facebook

15       promises that it will let developers choose which version of the API they would like to access as

16       it introduces API versioning ("This is something we want to make sure that all the apps we wrote

t7       two years ago keep working. This is something we wanted internally as we build on this platform,

18       so now everything is gonna be versioned so:tou get to decide which version of the API you get to

t9       build against.").

20               12.     Many developers initially applauded Zuckerberg's 2-year stability guarantee and

2T       the ability to let developers choose which version of the API to build against. One blogger

22       applauded Facebook's commitment to developers in noting: "Facebook co-founder and CEO

23       Mark Zuckerberg announced a two-year stability guarantee for all of the company's core APIs

24       and platforms. In fact every API launched by Facebook will now be versioned, and developers

25       will be able to choose which version to build on." (See
26       http:llthenextweb.com/facebook/2014104130/facebook-announces-two-year-stability-guarantee-

27       core-apis-sla-fix-major-bugs-within-48-hoursl#gref.) TechCrunch and many other bloggers also

28       reported on the API Guarantee, stating that developers "will be able to build with confidence
                                                           23
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     1    knowing that a core API will be available for at least two years". (See

 2       http: I I techcrunch. com/2 0 I 4 I 04 I 3 0 lfacebook-ap i- gaar anteel .)

 J           VIII. FACEBOOK THEN IMPLEMENTED POLICIES THAT DEPARTED
                       RADICALLY FROM ZUCKERBERG'S ANNOUNCEMENT AT F8 2014
 4
                  73.      Unfortunately for the Developer communíty,Zuckerberg's announcement directly
 5
         contradicted the policy that Facebook immediately began implementing that very day.
 6
          Zuckerberg's statement that Developers, like Facebook employees, would be able to choose
 7
         which API to use was simply false, and he must have known this statement to be false at the time
 8
         he made it as only hours later Facebook sent Developers a notice that the Graph API they had
 9
         come to rely on and upon which Facebook had enticed them to invest billions of dollars around
10
         was to be permanently retired in one year. Zuckerberg explicitly omitted and contradicted the
11
         one-year lifespan of Graph API during his keynote address. But given thatZuckerberg's
t2
         announcement and the notice to developers occurred on the very same day, Zuckerberg must have
13
         known of this change while making his statements and approved of such changes in advance.
T4
                 74.       Moreover, the 2-year stability guarantee turned out not to apply to the original
15
         Graph API and only to future APIs. Thus Facebook pulled the rug out from under the Developer
l6
         community and took full economic advantage of the ecosystem Developers had built, but
t7
         Zuckerberg's ke¡mote address still generated sound bites consistent with his previous
18
         representations that Facebook was maintaining a fair and level playing field for Developers.
T9
         Zuckerbergwas forced to make statements he knew at the time to be false precisely because it
20
         was obvious to everyone in the developer community, especially Zuckerberg, that Facebook had
2l
         for seven years been making clear and unambiguous promises to developers that they could rely
22
         on Facebook Platform over the long term to provide afair playing field and to enable developers
23
         to build businesses.
24
                 75.      Finally, Graph API explicitly removed endpoints that were of high value to
25
         Developers, like the ability to access Photos, which for years Facebook had touted as one of its
26
         most valuable and highly trafficked features in order to entice developers to build applications.
27
         Facebook's only justification for removing access to photos was that this endpoint was "rarely
28
                                                                   24
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     I    used", which contravenes every public statement Facebook had previously stated for over seven

     2    years in which Photos were consistently touted as its #1 application and driver of user

     J    engagement, an application that captured more photos and traffic than the next three photo sites

 4        on the Internet combined.

     5           76.     Facebook's behavior of intentionally inducing Developers to build Facebook's

 6       business and then pulling the rug out from under them is a repeated pattern in Facebook's growth

 7        story. It is not an isolated incident simply related to Graph API versioning and the thousands of

 8       developers,llke 643, whose businesses were destroyed by this bait and switch tactic.

 9               77.     As an example, Facebook recently executed another bait and switch tactic that

10       caused thousands of Developers to go out of business and lose countless millions of dollars of

1l       enterprise value and capital investment. At the same time thatZuckerberg pulled the rug out from

l2       Developers using photos and other endpoints in the Graph API at F8 2014, he also announced

T3       Facebook's acquisition and reliance on Parse as its new preferred tool for developers to build on

1,4      Facebook Platform. Parse was a popular development platform for creating applications for

15       Facebook, which handled much of the back-end functionality of such applications, allowing

I6       Developers to focus on features that matter to users. Zuckerberg stated in the same keynote where

t7       he announced the Graph API2.0: "One of the things we're really excited about offering is

18       Parse...We make it easy to focus on your app, the thing that will get you users and make you

t9       money...and Parse takes care of all the rest." A Facebook employee who followed Zuckerberg on

20       stage went on to note that they had expanded the free tier to make it easier to grow on Parse,

2t       giving developers "unlimited requests, unlimited recipients, free analytics". Zuckerberg then

22       finished his thoughts on Parse by saying "'W'e're excited, we're aligned with your app, and we

23       hope that it does get huge."

24              78.     As a result of this and many other similar statements and actions by Facebook,

25       hundreds of thousands of Developers began using Parse to build applications on Facebook

26       Platform. Parse's platform on Facebook states: "From startups to the Fortune 500, hundreds of

27       thousands of developers trust us."

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     1           79.    Then, abruptly, on January 28,2016, Facebook announced that Parse would be

 2       shutting down: "We have a difficult announcement to make. Beginning today we're winding
 a
 J       down the Parse service, and Parse will be fully retired after a year-long period ending on January

 4        28,2017. We're proud that we've been able to help so many of you build great mobile apps, but

 5       we need to focus our resources elsewhere." The statement continues: "We understand that this

 6       won't be an easy transition...We know that many of you have come to rely on Parse, and we are

 7       striving to make this transition as straightforward as possible."

 8               80.    Many developers immediately commented on the devastating effect this would

 9       have on their app, business and investment in the Facebook Platform. One developer wrote:

10       "@Parselt V/ow... Have spent months optimizing my app with your service to launch soon, and

1l       now this... Seems sudden... #utterlydisappointed." Another: "@ParseIt it would be nice to hear a

T2       little bit more about the need to focus your resources elsewh"vs.?'"@Parselt my app had 2.5M

13       users on your platform...this is sickening."

t4               81.    The incident with Parse demonstrates a continued clear pattern on the part of

15       Facebook to make clear and unambiguous promises to developers, to engage in conduct that

t6       induces developers to make substantial investments of time and money (all of which helped make

l7       Facebook one of the most valuable companies in the world today), and then Facebook seems to

18       think that it can violate these promises with impunity the moment it becomes convenient for them

19       to do so.

20           IX. PLAINTIFF 643 RECEIVED NOTICE FROM FACEBOOK THAT ITS APP
                   WOULD NO LONGER FUNCTION
2I
                 82. On January 20,2015, Facebook sent an email to 643 stating that 643 must
22
         "upgrade" the App to Graph API v. 2.0by April 30, 2015. The email stated that Facebook would
23
         end third-party access to the Friends' Photos Endpoint on April 30,2015. The App will not
24
         function at all without access to the Friends' Photos Endpoint, so Facebook's suggestio¡that 643
25
         "upgrade" the App to Graph API v. 2.0 was not possible.
26
                83. By deciding to end access to the Friends' Photos Endpoint, Facebook has made it
27
         impossible for 643 to continue to operate the App, to abide by the license agreements and
28
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     I    purchase terms entered into by 643 with its users, and for 643 to recoup any of its investment of

 2        capital, human labor, time, effort, and energy.

 J
     a
                  84.    643 has sold approximately 5,000 copies of the App since its beta launch. A

 4        substantial portion of App users have paid for premium access. 643 was not able to execute its

 5        full public launch as a result of Facebook's decision.

 6                85.    Each one of the App users entered into a license agreement with 643.

 7                86.    Facebook requires Developers to enter into license agreements with users of

 8       applications for Facebook. These license agreements must, among other things, require that the

 9       users of these applications adhere to Facebook's terms of service.

10                87.    Accordingly, Facebook knew, or had reason to know, about the existence of 643's

11       license agreements with its users.

t2                88.    Had Facebook refrained from ending access to Friends' Photos Endpoint, 643

13       could have quickly begun to generate hundreds of thousands of dollars of revenue on a monthly

t4       basis.

15                89.    In total, 643 expended approximately $ 1 .15 million in capital and uncompensated

t6       labor by its team members in developing and marketing the App.

t7                90.    643 attended Facebook events for Developers and made known the harm caused

18       verbally and via email to the appropriate Facebook employees.

T9                9I.   Faced with the imminent loss of its investment,643 wrote to Facebook on March

20       76,2015, and informed Facebook that its decision to discontinue access to the Friends'Photos

21       Endpoint would harm 643 in several ways. 643 informed Facebook that it had reasonably relied

22       on Facebook's representations that the endpoints would remain open, and that Developers would

23       have an equal opportunity to integrate applications into the social graph.

24                92.   643 requested that Facebook continue to permit Developers to have access to the

25       Friends' Photos Endpoint.

26                93.   643 alerted Facebook to the considerable harm it would suffer should access be cut

27       off.643 also noted that some of its users had entered into subscriptions that extend beyond the

28       April 30, 2015, cut-off date, and that these users could be entitled to refunds of their purchases
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     1           94.     Thus Facebook had actual knowledge of the contracts 643 had entered into with its

     2   users. In addition, Facebook had actual knowledge of the prospective economic relationships 643

     J    expected with its users, as well as Facebook users generally.

 4               95.     On or about April 30, 2015, Facebook did end access to the Friends' Photos

 5       Endpoint.

 6               96.     As a result of Facebook ending access to the Friends' Photos Endpoint, the App no

 7       longer functions.

 8               97.     On information and belief, Facebook has been working on its own applications

 9       using image recognition.

l0               98.     On June 15,2015,less than two months after closing access to the Friends' Photos

11       Endpoint for Developers, Facebook announced the launch of "Moments," which allows users to

t2       "s¡mc" photos they have taken with their friends and, using Facebook's facial recognition

13       software, allows users to search photos that their friends have shared with them. See

T4       http://newsroom.fb.comlnewsl2}I1l}ílintroducing-moments/ (last accessed October 27,2015).

15               99.    Instagram is an on-line photo sharing service that Facebook acquired in2012.

t6               100. In June 2015,just two months after Facebook closed access to the Friends' Photos
t7       Endpoint, Instagram announced enhancements to its Search and Explore features, which allow

18       users to search through photos that have been shared with that user on Instagram.

I9               101. On information and belief, in addition to 643, other Developers have been
20       adversely impacted by Facebook closing access to certain endpoints of Graph API, including

2T       Friends'Photos.

22               102. On September 21,2015, the Wall Street Journal reported that Facebook's decision
23       to restrict access to Graph API has caused a drug addiction researcher to halt his research efforts,

24       shut down a voter-registration tool used by the 2012 Obama carnpaign, and decommissioned an

25       app designed to help first generation college sfudents connect with one another. Deepa

26       Seetharaman &Elizabeth Dwoskin, "Facebook's Restrictions on User Data Cast a Long Shadow;

27       Curbs disrupt startups, academic research and even political strategy''," THE WALL STREET J.,

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     1    Sept.22,2015, at Bl (available at

 2        http:llwww.wsj.com/articles/facebooksrestrictionsonuserdatacastalongshadowl442SS1332).

 J               103. The Wall Street Joumal also reported in the same article that Facebook reached an
 4       unspecified compromise with dating app Tinder that permitted some form of access to photos of

 5       mutual friends.

 6               104. Facebook has not offered 643 a compromise that would permit the App to function
 7       and even if Facebook were to make such an offer, the harm to 643 is irreparable as its team

 8       members have moved on to new employment and its code has been fully retired.

 9               105. Instead, the only proposed technical "fix" by Facebook was to create an offline,
10       searchable cache of Facebook's users' photos. But this solution (1) on its face violates

11       Facebook's own terms, (2) would not permit the App to function as originally intended and in the

l2       same manner it had been, and (3) could result in a grave and substantial abuse of user trust,

13       violate user privacy, and gut the core principle of an individual's ownership and control of their

T4       own data.

15               106. Facebook did not terminate access to the Friends' Photos Endpoint for the purpose
l6       of enhancing user privacy, as users already possessed complete control over such data. Instead, it

17       took these actions for the purpose of improperly monopolizing for itself the ability to access the

18       data previously accessible through the Friends' Photos Endpoint and other terminated endpoints,

t9       and to create applications based on those data. As a result of these actions, users no\ry have less

20       control over this data. They are not permitted to share it with other applications they trust but only

2t       with Facebook.

22              I07. In sum, Facebook acts as a platform when it wants to exploit Developer creativity
23       and resources, and a monopolist when it wants to secure areas of the ecosystem for itself once

24       developer creativity and resources have been invested.

25              108. As set forth above, Facebook made repeated, clear, and unambiguous promises
26       upon which many developers, including 643, relied, over a period of more than seven years, and

27       which were broken by Facebook. These broken promises directly and substantially harmed 643,

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     I    nullifying its investment of time and money and making it impossible to generate revenues and

     2    profits.
     a
     J               109. Facebook deliberately baited, induced, and enticed (through countless promises in
 4        both words and conduct) developers to help turn Facebook from a website that had raised $37

     5   million and secured 24 million users to a company that is now one of the most valuable

 6        enterprises in the world.

 7           COUNT I: VIOLATION OF BUSINESS AND PROFESSIONS CODE $S 17200 ¿t s¿ø.
                                    [Against all Defendants]
 8
                     110. 643 re-alleges and repleads paragraphs 1 through 109 as though set forth fully
 9
         herein.
10
                     1   11. Facebook's representations and conduct were designed to, and did, entice 643 and
11
         other Developers to create applications for Facebook with promises of, among other things, a
I2
         level playing field, fair competition, and a chance to build a business. Facebook decided to open
13
         certain endpoints, and not others, precisely to induce developers to build certain types of
t4
         applications, including advanced photo-searching applications. Facebook promised Developers
15
         that their own advanced photo-searching applications would be treated on a level playing field
t6
         with any photo-searching applications Facebook decided to launch in the future. Facebook also
17
         promised developers it was committed over the long term to enable Developers to build
18
         businesses using advanced photo-searching applications.
19
                     II2.     Facebook caused substantial harm to 643 and other Developers when it then
20
         decided to terminate Developers' ability to build advanced photo-searching applications, while
2l
         retaining its own ability to create these kinds of applications, because 643, like other Developers,
22
         had invested considerable time and resources in developing this kind of application for Facebook.
23
                   113. The efforts by 643 and other Developers helped to drive user adoption of
24
         Facebook by enhancing user experience, thus creating substantial additional revenue and user
25
         base for Facebook's benefit.
26
                   ll4.       In addition, Facebook took advantage of the market research and development
27
         efforts by 643 and other Developers, which proved that advanced photo-searching applications
28
                                                             30
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     1   represented a massive market, perhaps one of the most attractive markets to help Facebook grow

 2       its revenues going forward, as evinced by Facebook's recent announcement of "Moments", its
 a
 J       own photo searching application (see "Facebook Moments is a Smarter Photo App - Much

 4       Smarter, in Wir ed Magaz ine, June 1 5, 20I 5, http ://www.wired. com/2}I 5 l 06 l facebook-

 5       moments/).

 6               115. Facebook's decision to end access to the Friends' Photos Endpoint does not
 l       enhance user privacy because the App could only sort through photos that had already been

 8       shared with the App user and the App user and the user's friends had full control over which,   if
 9       any, developers were permitted to access their photos.

10               116. Instead, by ending Developer access to the Friends' Photos Endpoint, Facebook
11       has monopolized for itself the ability to create applications capable of searching or sorting photos,

l2       which harms consumers, Developers, and competitors.

13               lI7.     No countervailing benefits to competition or consumers stemming from

t4       Facebook's representations and conduct exist.

15               I   18. The harm to 643 and other Developers by Facebook's representations and conduct
16       outweighs the reasons, justifications, or motives for the representations and conduct by Facebook.

t7               119. 643 could not have reasonably avoided its injury because Facebook only
18       announced its decision to terminate access to the Friends' Photos Endpoint after 643 had made

t9       considerable investment and Facebook had approved the App.

20              120. 643 also requested that Facebook not end access to Friends' Photos Endpoint, but
2t       Facebook did not change its decision.

22              I2l.      Facebook's actions thus constituted an unfair business practice under California's

23       Unfair Business Practices Act.

24              122. Facebook's decision to end access to the Friends' Photos Endpoint was also
25       unlawful.

26              I23. In taking the actions alleged herein, Facebook acted with fraud, malice and
27       oppression, and in reckless disregard ofthe rights of643.

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     1             I24. 643 suffered substantial injury as a result of Facebook's actions, including the loss
 2       of its investment in developing the App and lost revenue.

 J                 I25. Accordingly, Facebook is liable to 643 for violation of California's Unfair
 4       Business Practices Act.

 5                 126. As a proximate result of the acts and conduct of Facebook herein alleged, 643 has
 6       found it necessary to engage attorneys, and incur attorney's fees, and will continue to incur

 7       attorney's fees, in an unascertained amount to be established according to proof following the

 8       conclusion of trial.

 9                                       COUNT II: PROMISSORY ESTOPPEL
                                              [Against all Defendants]
10
                   127. 643 re-alleges and repleads paragraphs 1 through 126 as though set forth fully
11
         herein.
l2
                   I28. Facebook clearly and unambiguously promised that:
13
                      a. Developers would be able to integrate their applications into Facebook's social
t4
                         graph;
15
                      b. Developers would have the same access to integration of their applications as
T6
                         Facebook;
l7
                      c. Developers could easily access Graph API objects;
18
                      d. Facebook would support Developers in achieving mass distribution of Developer
t9
                         applications;
20
                      e. Facebook would provide adequate tools for developers to build their applications;
2I
                      f. Developers would be able to build a business on Facebook Platform;
22
                      g. Developers would be able to monetize their applications on Facebook by selling
23
                         ads on their application pages;
24
                     h. Developers would be able to build applications on a fair, level playing field;
25
                     i. Developer applications would not be "second class citizens" compared to
26
                         Facebook's own applications;
27

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     1                       j. Developer applications that compete with Facebook applications would be
 2                               welcome; and

     J                       k. As long as Developer applications abided by Facebook Terms of Service,
 4                               Facebook will be neutral as to these applications.

 5                 I29. 643 invested considerable capital, labor, time, and effort into developing the App
 6       in reliance on these promises.

 7                 130. 643's reliance was reasonable because Facebook had consistently made these
 8       representations for seven years without ever stating that it could prevent Developers from

 9       building the specific kinds of applications Facebook was enticing them to build all along.

10                 13 1      .   643' s reliance was foreseeable by Facebook.

11                 132. 643 was injured as a result of its reliance on Facebook's promises, which
t2       Facebook did not keep, in an unascertained amount in excess of $25,000.00, to be established

t3       according to proof at trial.

T4                 133. Accordingly, Facebook is liable to 643 for damages.
15                                     COUNT III: NEGLIGENT MISREPRESENTATION
                                                   [Against all Defendantsl
t6
                   I34. 643 re-alleges and repleads paragraphs 1 through 133 as though set forth fully
t7
         herein.
18
                   1   35.       Facebook represented that
t9
                          a.     Developers would be able to integrate their applications into Facebook's social
20
                                 graph;
2l
                         b. Developers would have the same access to integration of their applications as
22
                                 Facebook;
23
                         c.      Developers could easily access Graph API objects;
24
                         d.      Facebook would support Developers in achieving mass distribution of Developer
25
                                 applications;
26
                         e.      Facebook would provide adequate tools for developers to build their applications;
27
                         f.      Developers would be able to build a business on Facebook Platform;
28
                                                                  aa
                                                                  JJ
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     I                  g. Developers would be able to monetize their applications on Facebook by selling
     2                     ads on their application pages;

     J               h. Developers would be able to build applications on a fair, level playing field;
 4                   i. Developer applications would not be "second class citizens" compared to
 5                         Facebook's own applications;

 6                   j. Developer applications that compete with Facebook applications would be
 7                         welcome; and

 8                   k. As long as Developer applications abided by Facebook Terms of Service,
 9                         Facebook will be neutral as to these applications.

10               136. Such representations were untrue, because Facebook later claimed that it had
11       retained for itself the right to terminate the Friends' Photos Endpoint, and did close the Friends'

l2       Photos Endpoint to Developers, while Facebook kept for itself the ability to develop applications

13       that access photos.

14               137. Regardless of its actual belief, Facebook must have made those representations
15       without any reasonable ground for believing the representations to be true.

t6               138. Facebook conveyed the representations in a commercial setting for a business
l7       pulpose, namely inducing Developers to develop applications for Facebook.

18               139. Facebook made those representations with the intent to induce Developers,
t9       including 643,to develop applications, including the App, that used the Friends' Photos endpoint,

20       thereby adding features to Facebook, enhancing Facebook's functionality and user experience,

2l       and generating more revenue for Facebook.

22               140. 643 was not aware that Facebook's representations were false, and 643 developed
23       the App in reliance on the truth of Facebook's representations.

24               l4l.     643's reliance on the truth of Facebook's representations was justified because

25       Facebook had consistently made these representations for seven years without ever stating that it

26       could prevent Developers from building the specific kinds of applications Facebook was enticing

27       them to build all along.

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     I              142. 643 was injured as a result of its reliance on Facebook's representations, in an
     2    unascertained amount in excess of $25,000.00, to be established according to proof at trial.

     J             I43. In taking the actions alleged herein, Facebook acted with fraud, malice and
     4    oppression, and in reckless disregard ofthe rights of643.

     5             I44. Accordingly, Facebook is liable to 643 for damages.
     6                 COUNT IV: INTENTIONAL INTERFERENCE \ryITH CONTRACT
                                        [Against all Defendants]
     7
                   145. 643 re-alleges and repleads paragraphs I through I44 as though set forth firlly
 8
         herein.
 9
                   146. 643 had entered into license agreements and subscriptions for premium access
10
         with its users.
1l
                   147. Facebook knew of these license agreements and subscriptions.
t2
                   148. Facebook intentionally interfered with and disrupted these contracts when it stated
13
         that it would end 643's access to the Friends' Photos Endpoint on April 30,2015, despite
T4
         knowing that interference with these contracts would be certain or substantially certain to occur
15
         as a result ofFacebook's act in ending 643's access.
I6
                   149. Facebook further intentionally interfered with and disrupted 643's contracts with
T7
         its users when it did terminate 643's access to the Friends' Photos Endpoint on April 30,2015,
18
         despite knowing that interference with these contracts would be certain or substantially certain to
t9
         occur as a result ofFacebook's act in ending 643's access.
20
                   150. 643's contract with its users was thereby disrupted by Facebook.
2T
                   151. As a result, 643 has suffered and will suffer damage in an unascertained amount in
22
         excess of $25,000.00 to be established according to proof at trial.
23
                   152. In taking the actions alleged herein, Facebook acted with fraud, malice and
24
         oppression, and in reckless disregard ofthe rights of 643
25
                   153. Accordingly, Facebook is liable to 643 for damages
26

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     1                         COUNT V: INTENTIONAL INTERFERENCE WITH
                                   PROSPECTIVE BUSINESS RELATIONS
     2                                     [Against all Defendants]
     J             154     643 re-alleges and repleads paragraphs 1 through 153 as though set forth fully

     4   herein.

     5             155. 643 had an expectation of economic benefit from third parties, including its users
     6   who downloaded the App and other Facebook users who may have downloaded the App if 643

 7       had marketed the App as it planned.

 8                 156. Facebook knew of 643's relationship with the users of the App, and knew of 643's
 9       plans to market the App.

10                 I57. Facebook intentionally disrupted these relationships when it announced that it
11       would end 643's access to the Friends' Photos Endpoint on April 30,2015, despite knowing that

t2       interference with these relationships would be certain or substantially certain to occur as a result

l3       ofFacebook's act in ending 643's access.

t4                 158. Facebook further intentionally interfered with and disrupted 643's relationships
15       with its users when it did terminate 643's access to the Friends' Photos Endpoint on April 30,

t6       2015, despite knowing that interference with these relationships would be certain or substantially

T7       certain to occur as a result ofFacebook's act in ending 643's access.

18                 I59. 643's relationship with its users was thereby disrupted, and will be further
I9       disrupted.

20                 160. As a result, 643 suffered damage in an unascertained amount in excess of
2I       $25,000.00 to be established according to proof at trial.

22                 161. In taking the actions alleged herein, Facebook acted with fraud, malice and
23       oppression, and in reckless disregard ofthe rights of643.

24                 162. Accordingly, Facebook is liable to 643 for damages
25                                            JURY TRIAL DEMAND

26                 L63. 643 demands a trial by jury on all claims so triable.
27

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     I                                        PRAYER FOR RELIEF

 2                      WHEREFORE, Plaintiff 643 asks this Court to enter judgment against Defendant

     J   Facebook, Inc., as follows:

 4              A.      A judgment or order declaring Facebook's conduct, as alleged, unlawful under

 5       California's Unfair Business Practices Act;

 6              B.      A judgment, order, or award of damages adequate to compensate 643;

 7              C.      A permanent injunction prohibiting Facebook from removing Developer access to

 8       the Friends' User Photos Endpoint;

 9              D.      A permanent injunction prohibiting Facebook from interfering with 643's

10       contracts or prospective business relations;

1t              E.      An award of its reasonable attorneys' fees and costs;

l2              F.      Punitive damages andlor treble damages as provided by California's Unfair

13       Business Practices Act; and

T4              G.      Such other further relief as this Court or a jury may deem proper and just.

15

I6       Dated: February 26,2016                        CRITERION LAW

T7                                                      BIRNBAUM & GODKIN, LLP

18

I9                                                      By:
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20                                                             David S. Godkin (admittedpro hac vice)
                                                               Andrew A. Caffrey, III (admitted pro hac vice)
2I                                                             Attorneys for Plaintiff
                                                               Six4Three, LLC
22

23

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25

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                                                          37
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     limited liability company
15

t6                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

t7                                          COLINTY OF SAN MATEO

l8
t9   SIX4THREE, LLC, a Delaware limited                    Case No. CIV533328
     liability company,
20                                                         PLAINTIF'F SIX4THREE LLC'S
                               Plaintiff,                  RESPONSE TO DEFENDANT
21                                                         FACEBOOK' INC.'S SPECIALLY
                                                           PREPARED INTERROGATORIES (SEÏ'
22                                                         T\ilO)
     FACEBOOK, INC., a Delaware
23   corporation and DOES l-50, inclusive,

24                             Defendant.

25

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     case No,   533328   643 RESPONSE 1'O FACEBOOK'S SPECIAL INTERROGATORIES (SET TWO)
      Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 46 of 187



 I   PROPOUNDING PARTY:                        DEFENDANT FACEBOOK' INC.

 2   RESPONDING PARTY:                         PLAINTIFF SIX4THREE LLC
 3   SET:                                      ONE

 4             Plaintiff Six4Three, LLC ("643") hereby objects and responds as follows to the Specially

 5   Prepared Interrogatories (Set One) ("Special Interrogatories") propounded by Defendant

 6   Facebook, Inc. ("Defendant").

 7                                PLAINTIFF'S GENERAL OBJECTIONS
 I             Each and every Special Interrogatory is subject to the General Objections and limitations

 9   set forth herein ("General Objections"), in addition to the specific objections and limitations set

10   forth in the respective responses. The General Objections and limitations form part of the

il   Response to each Special Interrogatory and are set forth to avoid duplication for each response.

t2   643 makes the following General Objections to each Special Interrogatory:

13             1.      Responding Party objects to the Special Interrogatories to the extent they are

t4   unduly burdensome and oppressive in the context of this action'

l5             2.      Responding Party objects to these Special Interrogatories insofar as they seek

16   communications protected by the Stored Communications Act, 18 U.S.C, ${j 2701 , et seq.,

t7   ('oSCA"), which prohibits service providers from disclosing electronic communication content

l8   stored on a remote computing service.

t9             3.      Responding Party objects to these Special Interrogatories to the extent they seek

20   information subject to the SCA pertaining to Users.

2t             4.      Responding Party objects to these Special Interrogatories to the extent they seek

22   information 643 is legally or contractually prohibited from disclosing, including information that

23   would require Responding Party to breach a confidentiality contract, protective order, settlement,

24   or other duty to a third party to maintain confidentiality'

25             5.      Responding Party objects to these Special Interrogatories to the extent they are

26   unduly burdensome and oppressive in the context of this aotion.

27             6.      Responding Party objects to these Special Interrogatories to the extent they are

28   covered by the attorney-client privilege, settlement privilege, work-product doctrine, or other
                                                          -l-
     Case No, 533328             ó43 RESPONSE TO FACEI]OOK'S SPECIAL IN'IERROGATORfES
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 47 of 187



 I   applicable privilege. Any such documents will not be provided in response to these requests for

 2   production and any inadvertent production shall not be deemed a waiver of any privilege with

 J   respect to such documents or of any work-product protections attaching to such documents,

 4             7.       Responding Party objects to these Special Interrogatories to the extent they require

 5   disclosure of documents containing proprietary or confidential information, trade secrets, or

 6   information that may implicate third-party privacy rights.

 7             8.       Responding Party objects to these Special Interrogatories to the extent they are

 8   vague, ambiguous, unintelligible, overly broad, or harassing,

 9             9.       Responding Party objects to these Special Interrogatories to the extent they seek

l0   documents not relevant to the subject matter of this action or reasonably calculated to lead to the

ll   discovery of admissible evidence.

t2             10.      Responding Party objects to these Special Interrogatories to the extent they seek

l3   information not within the possession, custody or control of Responding Party. An objection on

14   this ground does not constitute a representation or admission that such documents exist.

l5             II   .   Respondin gParty objects to these Special Interrogatories insofar as they seek

t6   information already in Propounding Party's possession, custody or control, or that can be

t7   obtained by Propounding Party with equal burden or directly from Users.

18             12. Responding Party objects to these Special Interrogatories to the extent they
19   to impose obligations beyond those required or allowed by the California Code of Civil

20   Procedure.

2l             13. Responding Party objects to the definitions of ooDocuments" and
22   "Communicationsoo to the extent they impose any obligations with respect to the production of

23   electronically stored information that are different from or in addition to those imposed by the

24   California Code of Civil Procedure. Responding Party further objects to these definitions to the

25   extent they include electronically stored information that is not reasonably accessible due to

26   undue burden or expense, obtainable from another source that is less burdensome, and/or

27   unreasonably cumulative or duplicative, or where the likely burden or expense outweighs the

28   likely benefit.
                                                          -2-
     Case No. 533328              643 RESPONSE TO FACEBOOK'S SPECIAL INI'ERROGATORIES (SET TWO)
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 I              14. Responding Party objects to the definitions of "643," "Plaintiff," "You," and
     ooYour"
 2              on the grounds that they are overbroad and call for information covered by the attorney-

 J   client and work product privileges.

 4             15, Responding Party's responses are based solely upon information presently
 5   available and specifically known to Responding Party. As such, Responding Party's responses are

 6   made without prejudice to its right subsequently to add, modify or otherwise change or amend

 7   these responses. Responding Party reserves the right to change any ofits objections or responses

 8   as new information is discovered. Specifically, Responding Party reserves the right to introduce

 9   other information or documents, use information that it may later determine to have been

10   responsive to these requests, and revise, correct, supplement or clarify any of its witten responses

1l   at any time.

t2             These General Objections are incorporated into each and every objection to Propounding

l3   Party's specific requests for production, All responses are subject to, preserve and do not

t4   constitute a waiver of these General Objections.

15
                  OBJECTIONS AND RESPONSES TO SPECIAL INTERROG.ATORIES
t6   SPECIAL INTERROGATORY NO. 33:
17
               State ALL antitrust laws that YOU contend Facebook's conduct threatens an incipient
l8   violation of, or violates the policy or spirit of,
t9   RESPONSE TO SPECIAL INTERROGATORY NO. 33:
20
               Responding Party incorporates each of the General Objections and further objects to this
21
     demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly
22
     burdensome in seeking "ALL laws"; (3) calls for information covered by the attorney-client
23
     privilege and work product privileges; (4) seeks information not relevant to the subject matter of
24
     this litigation and not reasonably calculated to lead to the discovery of admissible evidence; and
25
     (5) seeks information equally available to Defendant.
26
               Subject to and without waiving the foregoing objections, Responding Party responds that
27
     its analysis, investigation and discovery are ongoing and it does not intend to limit evidence at
28
                                                          -3-
     Case No. 533328             643 RESPONSE TO FACEBOOK'S SPECIAL INTERROGATORIES (SET TWO)
      Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 49 of 187



 I   trial to matters stated herein. Facebook's conduct repeatedly violates Business and Professions

 2   Code g 17200 et seq, by engaging in: (1) unlawful business acts or practices; (2) unfair business

 J   acts or practices; (3) fraudulent business acts or practices; (4) unfair, deceptive, untrue or

 4   misleading advertising; and (5) business acts or practices prohibited bV $$ 17500-17577 .5.

 5   Further, Facebook's conduct repeatedly violates Business and Professions Code $$ 17500 et seq,,

 6   which prohibits advertising goods or services that Facebook knew or should have known were

 7   likely to deceive, Facebook's conduct also repeatedly violates California's Consumer l,egal

 8   Remedies Act (Cal. Civ, Code $$ 1750 et seq,) protecting consumers against unfair and deceptive

 9   business practices (Cal. Civ. Code $ 1760) and various violations of Cal. Civ. Code $ 1770.

l0   Finally, Facebook's conduct repeatedly violates Business and Professions Code $$ 16600 et seq.

ll   prohibiting contracts that restrain engagement in a lawful profession, trade or business of any

l2   kind.

l3             Facebook's conduct also violates Section 5 of the Federal Trade Commission Act (15

t4   U.S.C. $ 45) prohibiting unfair methods of competition in or affecting commerce and unfair or

15   deceptive practices in or affecting commerce. Facebook's conduct further violates Section I of

t6   the Sherman Act prohibiting contracts in restraint of trade or commerce. Facebook's conduct

t7   further repeatedly violates Section 2 of the Sherman Act prohibiting the monopolization or

l8   attempt to monopolize any part of the trade or commerce among states. Facebook's conduct

t9   further repeatedly violates Section 2 of the Clayton Act, the Robinson-Patman Price

20   Discrimination Act, prohibiting discrimination of price between different purchasers where the

21   effect is to lessen competition or tend to create a monopoly. Facebook's conduct further

22   repeatedly violates Section 3 of the Clayton Act prohibiting agreements that require avoidance of

23   services or goods from competitors that tend to create a monopoly or lessen competition,

24   Facebook's conduct further repeatedly violates the Cartwright Act, Business and Professions

25   Code $$ 16720 et seq., prohibiting trusts or actions in concert in restraint of trade or commerce,

26   Facebook's violations further include numerous per se violations resulting frtlm tying agrcetttettts

27   with a host of third parties,

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                                                        -4-
     Case No, 533328            643 RESPONSE TO FACI]BOOK'S SPECIAI" INTERROCATORIES (SE]-TWO)
      Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 50 of 187



 I             F'inally, Facebook's conduct violates numerous other state laws that are accessible via

 2   Business and Professions Code $$ 17200 et seq., including but not limited to New York General

 J   Business Law $$ 349 et seq, prohibiting deceptive acts or practices in conduct of any business,

 4   trade or commerce or in the furnishing of any service. Facebook's conduct further violates

 5   Business and Professions Code $ 17200 et seq. by reason of its tortious conduct, including but not

 6   limited to constructive fraud, negligent misrepresentation of material fact, intentional interferenoe

 7   with contract and intentional interference with prospective business relations,

 8   SPECIAL INTERROGATORY NO. 34:

 9             State ALL laws that YOU contend Facebook's concluct violates RELATED TO YOLJR

l0   claim for violation of Business and Professions Code $ 17200 et seq.

ll   RESPONSE TO SPECIAL INTERROGATORY NO. 34;

l2             Responding Party incorporates each of the General Objections and further objects to this

13   demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly

t4   burdensome in seekin g"ALL laws"; (3) calls for information covered by the attorney-client

l5   privilege and work product privileges; (4) seeks information not relevant to the subject matter of

l6   this litigation and not reasonably calculated to lead to the discovery of admissible evidence; and

T7   (5) seeks information equally available to Defendant.

l8             Subject to and without waiving the foregoing objections, Responding Party responds that

t9   its analysis, investigation and discovery are ongoing and it does not intend to limit evidence at

20   trial to matters stated herein. Facebook's conduct repeatedly violates Business and Professions

2t   Code $ 17200 et seq. by engaging in: (l) unlawful business acts or practices; (2) unfair business

22   acts or practices; (3) fraudulent business acts or practices; (4) unfair, deceptive, untrue or

23   misleading advertising; and (5) business acts or practices prohibited by $ $ 17500- l 7 577 .5.

24   Further, Facebook's conduct repeatedly violates Business and Professions Code S$ 17500 et seq.,

25   which prohibits advertising goods or services that Facebook knew or should have known were

26   likely to deceive, Facebook's conduct also repeatedly violates Califtlrnia's Cottsuttter Legal

27   Remedies Act (Cal, Civ. Code $$ 1750 et seq.) protecting consumers against unfair and deceptive

28   business practices (Cal, Civ, Code g 1760) and various violations of Cal. Civ. Code $ 1770'
                                                        -5-
     Case No. 533328            643 RESPONSE TO F'ACEBOOK'S SPECIAL INTERROCAI'ORIES (SET TWO)
      Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 51 of 187



 I   Finally, Facebook's conduct repeatedly violates Business and Professions Code $$ 16600 et seq.

 2   prohibiting contracts that restrain engagement in a lawful profession, trade or business of any

 J   kind.

 4             Facebook's conduct also violates Section 5 of the Federal Trade Commission Act (15

 5   U.S,C. $ 45) prohibiting unfair methods of competition in or affecting commerce and unfair or

 6   deceptive practices in or affecting commerce, Facebook's conduct further violates Section 1 of

 7   the Sherman Act prohibiting contracts in restraint of trade ot commerce. Facebook's conduct

 I   further repeatedly violates Section 2 of the Sherman Act prohibiting the monopolization or

 9   attempt to monopolize any part of the trade or commerce among states. Facebook's conduct

l0   further repeatedly violates Section 2 of the Clayton Act, the Robinson-Patman Price

ll   Discrimination Act, prohibiting discrimination of price between different purchasers where the

l2   effect is to lessen competition or tend to create a monopoly, Facebook's conduct further

l3   repeatedly violates Section 3 of the Clayton Act prohibiting agreements that require avoidance of

t4   services or goods from competitors that tend to create a monopoly or lessen competition.

t5   Facebook's conduct further repeatedly violates the Cartwright Act, Business and Professions

t6   Code $$ 16720 et seq., prohibiting trusts or actions in concert in restraint of trade or commerce.

t7   Facebook's violations further include numerous per se violations resulting from tying agreements

18   with a host of third parties,

t9             Finally, Facebook's conduct violates numerous other state laws that are accessible via

20   Business and Professions Code $$ 17200 et seq., including but not limited to New York General

2l   Business Law $$ 349 et seq. prohibiting deceptive acts or practices in conduct of any business,

22   trade or commerce or in the furnishing of any service. Facebook's conduct further violates

¿J   Business and Professions Code $ 17200 et seq. by reason of its tortious conduct, including but not

24   limited to constructive fraud, negligent misrepresentation of material fact, intentional interference

25   with contract and intentional interference with prospective business relations.

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     Case No, 533328            643 RESPONSE TO FACEBOOK'S SPECIAL INTERROGATORIES (SET TWO)
      Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 52 of 187



 I

 2   DATED: January ll,2017                           CRITERION LAW

 J                                                              UM     GODKIN

 4
                                                      By:
 5                                                              IP
                                                            David S. Godkin (admittedpro hac vice)
 6                                                          James E. Kruzer (admittedpro hac vice)
                                                            Attomeys for Plaintiff
 7                                                          Six4Three, LLC

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     Case No. 533328     643 RESPONSE TO FACEBOOK'S SPECIAL INTERROGATORIES (SET TWO)
      Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 53 of 187



 I                                            PROOF' OF' SERVICE

 2             I,.lames E. Kruzer, declare:
               I am a citizen of the United States and employed in Suffolk County, Massachusetts. I am
 3
     over the age of eighteen years and not a party to the within-entitled action. My business address
 4
     is 280 Summer Street, Boston, MA 02210. On January 12,2017 ,l served a copy of the within
 5
     document(s):
 6
               PLAINTIFF SIX4THREE LLC'S RESPONSE TO DEIìENDANT FACEBOOK, INC.'S
 7             SPECIALLY PREPARED INTERROGATORIES (SET TV/O)
 I           l.-l      By electronically mailing a true and conect copy through Birnbaum & Godkin,
             r-¡       LLP's electronic mail system to the email addresses set forth below.
 9

l0
               soNAL N. MEHTA (SBN 222086)
1l             LAURA E. MILLER (SBN 2717t3)
               CATHERTNE Y. KIM (SBN 308442)
l2             Durie Tangri LLP
               217 Leidesdorff Street
l3             San Francisco, CA   94lll
               Telephone : 41 5 -362-6666
14             Facsimile: 41 5 -236-6300
               smehta@durietan gri, com
15
               lmil ler@durietangri.com
               ckim@durietangri.com
t6
               Attorney for Defendant
t7             FACEBOOK, INC.
l8             I declare under penalty of perjury under the laws of the State of California that the above
t9   is true and correct,

20             Executed January 12,2017, at Boston, Massachusetts

2l
22
                                                                        f/c
                                                                          James E. Kruzer
23

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     Case No. 533328             643 RESPONSE TO FACEI]OOK'S SPECIAI- INTERROGATORIES (SET TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 54 of 187



 1                                                VERIFICATION

 2            I, Ted Kramer, as a certified representative of Plaintiff Six4Three LLC (“643”), certify

 3   and declare under penalty of perjury under the laws of the state of California that I have read and

 4   reviewed 643’s Answers to Facebook’s Second Set of Specially Prepared Interrogatories; and

 5   believe them to be true and accurate based on the information available to 643 at the present time.

 6
              Executed January 11, 2017, at San Francisco, California.
 7

 8

 9                                                                    By: Ted Kramer

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     Case No. 533328           643 VERIFICATION
Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 55 of 187




                            Exhibit 4
          Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 56 of 187



 1   DURIE TANGRI LLP
     SONAL N. MEHTA (SBN 222086)
 2   smehta@durietangri.com
     LAURA E. MILLER (SBN 271713)
 3   lmiller@durietangri.com
     CATHERINE Y. KIM (SBN 308442)
 4   ckim@durietangri.com
     217 Leidesdorff Street
 5   San Francisco, CA 94111
     Telephone: 415-362-6666
 6   Facsimile: 415-236-6300

 7   Attorneys for Defendant
     Facebook, Inc.
 8

 9                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                       COUNTY OF SAN MATEO

11   SIX4THREE, LLC, a Delaware limited liability     Case No. CIV 533328
     company,
12                                                    NOTICE TO ADVERSE PARTY OF
                          Plaintiff,                  REMOVALTO FEDERAL COURT
13
           v.                                         Ctrm: Law and Motion Dept.
14
     FACEBOOK, INC., a Delaware corporation and       FILING DATE:          April 10, 2015
15   DOES 1-50, inclusive,                            TRIAL DATE:           May 15, 2017
16                                Defendant.
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                NOTICE TO ADVERSE PARTY OF REMOVALTO FEDERAL COURT / CASE NO. CIV 533328
           Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 57 of 187



 1          TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT a Notice of Removal of this action was filed in the United

 3   States District Court for the Northern District of California, San Francisco Division, on January 24, 2017.

 4   A copy of the said Notice of Removal is attached to this Notice and is served and filed herewith.

 5

 6   Dated: January 24, 2017                           DURIE TANGRI LLP

 7
                                                 By:
 8                                                                      LAURA E. MILLER
 9                                                     Attorneys for Defendant
                                                       Facebook, Inc.
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               NOTICE TO ADVERSE PARTY OF REMOVALTO FEDERAL COURT / CASE NO. CIV 533328
JS-CAND 44 (Rev. 07/16)   Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 58 of 187
                                                                            CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
      SIX4THREE, LLC                                                                                        FACEBOOK, INC.

   (b)    County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
      David S. Godkin, godkin@birnbaumgodkin.com                                                            DURIE TANGRI LLP
                                                                                                            SONAL N. MEHTA (SBN 222086), smehta@durietangri.com
      James Kruzer, kruzer@birnbaumgodkin.com                                                               LAURA E. MILLER (SBN 271713), lmiller@durietangri.com
      BIRNBAUM & GODKIN, LLP                                                                                CATHERINE Y. KIM (SBN 308442), ckim@durietangri.com
      280 Summer Street, Boston, MA 02210, Telephone: 617-307-6100                                          217 Leidesdorff Street, San Francisco, CA 94111, Telephone: 415-362-6666

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                            and One Box for Defendant)
  1     U.S. Government              3 Federal Question                                                                        PTF          DEF                                            PTF      DEF
        Plaintiff                      (U.S. Government Not a Party)                            Citizen of This State                   1         1 Incorporated or Principal Place                 4      4
                                                                                                                                                    of Business In This State
  2     U.S. Government              4 Diversity                                                Citizen of Another State                2         2 Incorporated and Principal Place                5      5
        Defendant                      (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State
                                                                                                Citizen or Subject of a                 3         3 Foreign Nation                                  6      6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                          TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                    625 Drug Related Seizure               422 Appeal 28 USC § 158               375 False Claims Act
  120 Marine                          310 Airplane               365 Personal Injury –                   of Property 21 USC § 881           423 Withdrawal                        376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product           Product Liability               690 Other                                  28 USC § 157                          § 3729(a))
  140 Negotiable Instrument                Liability             367 Health Care/                                                                                                 400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &           Pharmaceutical                                                           PROPERTY RIGHTS                     410 Antitrust
     Of Veteran’s Benefits               Slander                    Personal Injury                                                         820 Copyrights                        430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’         Product Liability                                                      830 Patent                            450 Commerce
  152 Recovery of Defaulted                Liability             368 Asbestos Personal                                                      840 Trademark                         460 Deportation
      Student Loans                   340 Marine                     Injury Product                                                                                               470 Racketeer Influenced and
      (Excludes Veterans)             345 Marine Product             Liability                                  LABOR                         SOCIAL SECURITY                         Corrupt Organizations
  153 Recovery of Overpayment              Liability            PERSONAL PROPERTY                    710 Fair Labor Standards               861 HIA (1395ff)                      480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle          370 Other Fraud                          Act                               862 Black Lung (923)                  490 Cable/Sat TV
  160 Stockholders’ Suits             355 Motor Vehicle          371 Truth in Lending                720 Labor/Management                   863 DIWC/DIWW (405(g))                850 Securities/Commodities/
  190 Other Contract                      Product Liability      380 Other Personal                       Relations                         864 SSID Title XVI                        Exchange
  195 Contract Product Liability      360 Other Personal             Property Damage                 740 Railway Labor Act                  865 RSI (405(g))                      890 Other Statutory Actions
  196 Franchise                           Injury                 385 Property Damage                 751 Family and Medical                                                       891 Agricultural Acts
                                      362 Personal Injury -          Product Liability                    Leave Act                                                               893 Environmental Matters
                                          Medical Malpractice                                        790 Other Labor Litigation                                                   895 Freedom of Information
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                   791 Employee Retirement                 FEDERAL TAX SUITS                        Act
  210 Land Condemnation               440 Other Civil Rights     Habeas Corpus:                          Income Security Act                870 Taxes (U.S. Plaintiff             896 Arbitration
  220 Foreclosure                     441 Voting                 463 Alien Detainee                                                             or Defendant)                     899 Administrative Procedure
  230 Rent Lease & Ejectment          442 Employment             510 Motions to Vacate                                                      871 IRS–Third Party                       Act/Review or Appeal of
  240 Torts to Land                   443 Housing/                   Sentence                                                                   26 USC § 7609                         Agency Decision
  245 Tort Product Liability              Accommodations         530 General                                                                                                      950 Constitutionality of
  290 All Other Real Property         445 Amer. w/Disabilities–  535 Death Penalty                        IMMIGRATION                                                                 State Statutes
                                          Employment             Other:                              462 Naturalization Application
                                      446 Amer. w/Disabilities–  540 Mandamus & Other                465 Other Immigration
                                          Other                  550 Civil Rights                        Actions
                                      448 Education              555 Prison Condition
                                                                 560 Civil Detainee–
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
      1 Original           2 Removed from               3 Remanded from                 4 Reinstated or              5 Transferred from              6 Multidistrict                   8 Multidistrict
        Proceeding           State Court                  Appellate Court                 Reopened                     Another District                Litigation–Transfer               Litigation–Direct File
                                                                                                                        (specify)
                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                     28 U.S.C. § 1331; 28 U.S.C. § 1441(a); 15 U.S.C. § 4; 15 U.S.C. § 15
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION     DEMAND $                                                                     CHECK YES only if demanded in complaint:
       COMPLAINT:                  UNDER RULE 23, Fed. R. Civ. P.                                                                                   JURY DEMAND:        X Yes         No
VIII. RELATED CASE(S),
        IF ANY (See instructions):                   JUDGE                                                                                  DOCKET NUMBER
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)                             SAN FRANCISCO/OAKLAND                                                     SAN JOSE                EUREKA-MCKINLEYVILLE

DATE: 01/24/2017                                                   SIGNATURE OF ATTORNEY OF RECORD:
                     Case 3:17-cv-00359-WHA
JS-CAND 44 (rev. 07/16)                                          Document 13-1 Filed 01/27/17 Page 59 of 187

             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
   I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”

   II.    Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
          pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
          (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
          (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
              takes precedence, and box 1 or 2 should be marked.
          (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
              citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
              cases.)
   III.   Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
          Mark this section for each principal party.
   IV.    Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
          sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
          one nature of suit, select the most definitive.
   V.     Origin. Place an “X” in one of the six boxes.
          (1) Original Proceedings. Cases originating in the United States district courts.
          (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
              petition for removal is granted, check this box.
          (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
              date.
          (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
              multidistrict litigation transfers.
          (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
              § 1407. When this box is checked, do not check (5) above.
          (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
          Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
   VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
   VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
   VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.
   IX.    Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
          section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
          events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
          Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 60 of 187



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 7   Attorneys for Defendant
     Facebook, Inc.
 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

11   SIX4THREE, LLC,                                   Case No. 3:17-cv-00359
12                                Plaintiff,           NOTICE OF REMOVAL OF ACTION:
                                                       UNDER 28 U.S.C. § 1441(A)
13         v.                                          (FEDERAL QUESTION)
14   FACEBOOK, INC.,
15                                Defendant.
16

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                          NOTICE OF REMOVAL OF ACTION: UNDER 28 U.S.C. § 1441(A)
                               (FEDERAL QUESTION) / CASE NO. 3:17-CV-00359
            Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 61 of 187



 1           TO THE CLERK OF THE ABOVE-ENTITLED COURT:

 2           PLEASE TAKE NOTICE that Defendant Facebook, Inc. (“Facebook”) hereby removes to this

 3   Court the state court action described below.

 4           On April 10, 2015, an action was filed in the Superior Court of the State of California in and for

 5   the County of San Mateo entitled Six4Three, LLC v. Facebook, Inc., case number CIV53328, attached

 6   hereto as Exhibit A. After demurrer practice, Plaintiff Six4Three LLC (“Six4Three”) filed a Second

 7   Amended Complaint on February 26, 2016. A copy of the Second Amended Complaint is attached

 8   hereto as Exhibit B.

 9           On January 12, 2017, Six4Three served verified interrogatory responses in which Six4Three

10   disclosed that it intends to present the violation of numerous federal statues, including federal antitrust

11   statutes providing for exclusive federal jurisdiction, as the predicate unlawful acts for its claim that

12   Facebook has violated California Business & Professions Code Section 17200 et seq. (“Section 17200”).

13   A copy of the interrogatory responses is attached hereto as Exhibit C.

14           The balance of the Superior Court case file is attached hereto as Exhibit D.

15   I.      JURISDICTION
16           This action is a civil action of which this Court has original and exclusive jurisdiction under,

17   among other things, Section 4 of the Sherman Act (15 U.S.C. § 4) and Section 4 of the Clayton Act (15

18   U.SC. § 15), and is one which may be removed to this Court by Defendant pursuant to the provisions of

19   28 U.S.C. Sections 1331 and 1441(a) in that it arises under federal antitrust law.

20   II.     INTRADISTRICT ASSIGNMENT
21           As this action arose in the City and County of San Mateo, assignment to the San Francisco

22   Division of the United States District Court for the Northern District of California is proper.

23   III.    SIX4THREE’S VERIFIED INTERROGATORY RESPONSE REVEALS THAT ITS
             SECTION 17200 CLAIM IS BASED ON FEDERAL ANTITRUST LAW
24

25           Six4Three’s Second Amended Complaint purports to state four causes of action: intentional

26   interference with contractual relations, intentional interference with prospective economic advantage,

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                            NOTICE OF REMOVAL OF ACTION: UNDER 28 U.S.C. § 1441(A)
                                 (FEDERAL QUESTION) / CASE NO. 3:17-CV-00359
           Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 62 of 187



                                                                     1
 1   negligent misrepresentation, and violations of Section 17200. The parties have been proceeding in the
 2   Superior Court, with discovery ongoing. As part of the discovery process, Facebook propounded an

 3   interrogatory asking Six4Three to “State ALL laws that YOU contend Facebook’s conduct violates

 4   RELATED TO YOUR claim for violation of Business and Professions Code § 17200 et seq.” On

 5   January 12, 2017, Six4Three responded to the interrogatory and identified the alleged violation of a

 6   number of federal antitrust laws as the predicate for unlawful acts for Six4Three’s Section 17200 claims:

 7          Subject to and without waiving the foregoing objections, Responding Party responds that
            its analysis, investigation and discovery are ongoing and it does not intend to limit
 8          evidence at trial to matters stated herein. Facebook’s conduct repeatedly violates
            Business and Professions Code § 17200 et seq. by engaging in: (l) unlawful business acts
 9          or practices; (2) unfair business acts or practices; (3) fraudulent business acts or practices;
            (4) unfair, deceptive, untrue or misleading advertising; and (5) business acts or practices
10          prohibited by §§ 17500-l7577.5. Further, Facebook's conduct repeatedly violates
            Business and Professions Code §§ 17500 et seq., which prohibits advertising goods or
11          services that Facebook knew or should have known were likely to deceive, Facebook’s
            conduct also repeatedly violates California’s Consumer Legal Remedies Act (Cal. Civ.
12          Code §§ 1750 et seq.) protecting consumers against unfair and deceptive business
            practices (Cal. Civ. Code § 1760) and various violations of Cal. Civ. Code 1770. Finally,
13          Facebook’s conduct repeatedly violates Business and Professions Code §§ 16600 et seq.
            prohibiting contracts that restrain engagement in a lawful profession, trade or business of
14          any kind.

15          Facebook’s conduct also violates Section 5 of the Federal Trade Commission Act (15
            U.S.C. § 45) prohibiting unfair methods of competition in or affecting commerce and
16          unfair or deceptive practices in or affecting commerce, Facebook’s conduct further
            violates Section 1 of the Sherman Act prohibiting contracts in restraint of trade of
17          commerce. Facebook's conduct further repeatedly violates Section 2 of the Sherman Act
            prohibiting the monopolization or attempt to monopolize any part of the trade or
18          commerce among states. Facebook's conduct further repeatedly violates Section 2 of the
            Clayton Act, the Robinson-Patman Price Discrimination Act, prohibiting discrimination
19          of price between different purchasers where the effect is to lessen competition or tend to
            create a monopoly, Facebook’s conduct further repeatedly violates Section 3 of the
20          Clayton Act prohibiting agreements that require avoidance of services or goods from
            competitors that tend to create a monopoly or lessen competition. Facebook’s conduct
21          further repeatedly violates the Cartwright Act, Business and Professions Code §§ 16720
            et seq., prohibiting trusts or actions in concert in restraint of trade or commerce.
22          Facebook’s violations further include numerous per se violations resulting from tying
            agreements with a host of third parties.
23
            Finally, Facebook’s conduct violates numerous other state laws that are accessible via
24          Business and Professions Code §§ 17200 et seq., including but not limited to New York
            General Business Law §§ 349 et seq. prohibiting deceptive acts or practices in conduct of
25          any business, trade or commerce or in the furnishing of any service. Facebook’s conduct
            further violates Business and Professions Code § 17200 et seq. by reason of its tortious
26          conduct, including but not limited to constructive fraud, negligent misrepresentation of

27   1
      The Second Amended Complaint also includes a claim for promissory estoppel. On June 28, 2016,
     Facebook’s demurrer was sustained as to this claim without leave to amend.
28
                                                          2
                            NOTICE OF REMOVAL OF ACTION: UNDER 28 U.S.C. § 1441(A)
                                 (FEDERAL QUESTION) / CASE NO. 3:17-CV-00359
           Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 63 of 187



 1          material fact, intentional interference with contract and intentional interference with
            prospective business relations.
 2

 3   Exhibit C at 5–6 (emphasis added).

 4          After receiving Six4Three’s interrogatory response, counsel for Facebook approached Six4Three

 5   to confirm that Six4Three in fact intended to pursue all of the federal and state claims identified in its

 6   interrogatory response. Exhibit E. Facebook’s counsel noted that it would understand Six4Three to be

 7   pursuing all such claims if it did not hear otherwise from Six4Three by January 23. Six4Three did not

 8   respond, confirming that it is in fact relying upon the violation of federal laws, including federal antitrust

 9   laws, as the predicate for its Section 17200 claims.

10   IV.    SIX4THREE’S CONTENTIONS CONFIRM THAT THIS MATTER SHOULD BE
            REMOVED TO FEDERAL COURT.
11

12          “[A]ny civil action brought in a State court of which the district courts of the United States have

13   original jurisdiction, may be removed by the defendant or the defendants, to the district court of the

14   United States for the district and division embracing the place where such action is pending.” 28 U.S.C.

15   § 1441(a). “The several district courts of the United States are invested with jurisdiction to prevent and

16   restrain violations of sections 1 to 7 of” the Sherman Act. 15 U.S.C. § 4. “[A]ny person who shall be

17   injured in his business or property by reason of anything forbidden in the antitrust laws may sue therefor

18   in any district court of the United States in the district in which the defendant resides or is found or has

19   an agent . . . .” 15 U.S.C. § 15.

20          Pursuant 28 U.S.C. § 1446(b)(3) “if the case stated by the initial pleading is not removable, a

21   notice of removal may be filed within thirty days after receipt by the defendant, through service or

22   otherwise, of a copy of an amended pleading, motion, order or other paper from which it may first be

23   ascertained that the case is one which is or has become removable.” This notice of removal is being filed

24   within thirty days of Six4Three’s interrogatory responses disclosing Six4Three’s reliance on federal

25   antitrust laws as the predicate for its Section 17200 claim.

26          Because Six4Three’s Section 17200 claim arises under federal antitrust law, it is necessarily

27   federal in character, and presents substantial, disputed questions of federal antitrust law. See, e.g.,

28   National Credit Reporting Ass’n, v. Experian Information Solutions, Inc., No. C04-01661 WHA, 2004
                                                            3
                             NOTICE OF REMOVAL OF ACTION: UNDER 28 U.S.C. § 1441(A)
                                  (FEDERAL QUESTION) / CASE NO. 3:17-CV-00359
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 1   WL 1888769 (N.D. Cal. July 21, 2004).
 2   V.      CONCLUSION
 3           For the reasons stated above, this matter is properly removed to federal court, exclusive

 4   jurisdiction.

 5

 6   Dated: January 24, 2017                       DURIE TANGRI LLP

 7
                                             By:                    /s/ Laura E. Miller
 8                                                                 LAURA E. MILLER
 9                                                 Attorneys for Defendant
                                                   Facebook, Inc.
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                          NOTICE OF REMOVAL OF ACTION: UNDER 28 U.S.C. § 1441(A)
                               (FEDERAL QUESTION) / CASE NO. 3:17-CV-00359
Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 65 of 187




                   EXHIBIT A
      Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 66 of 187




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10
     Attorneys for Plaintiff,
     SIX4THREE, LLC, a Delaware
     limited liability company



                                  SUPERIOR COURT OF CALIFORNIA
14
                                        COUNTY OF SAN MATEO
15



     SIX4THREE, LLC, a Delaware limited               )       Case No
I7
     liability company,                               )
                                                      )       COMPLAINT OF PLAINTIFF,
            Plaintiff,                                )       SIX4THREE, LLC, FOR INJUNCTION
19                                                    )       AND DAMAGES FOR:
                                                      )       1 PROMISSORY ESTOPPEL,
                                                      )       2 INTENTIONALINTERFERENCE
20
     FACEBOOK, INC., a Delaware corporation           )          WITH CONTRACT,
     and DOES I through 50, mclusive                  )       3 INTETIONALINTERFERENCE WITH
                                                      )          PROSPECTIVE BUSINESS
            Defendants                                )          RELATIONS, AND,
                                                      )       4   VIOLATIONOF CALIFORNIA
                                                                  BUSINESS AND PROFESSIONS
23
                                                                  CODE $ ) 17200 ET SEQ
24

     Plaintiff, Six4Three, LLC, alleges as follows:
26          1.      This matter concerns Defendant Facebook, Inc.'s unilateral decision to terminate

     third-party developer access to part of the Facebook platform, which it had previously pledged to
28
                                                          1

     Case No                               Plaintiffs Complaint for In~unction and Damages
        Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 67 of 187




        keep open In reliance on Facebook's representations          of open access to the Facebook platform,
        Plamtiff Six4Three, LLC ("643") invested considerable time, effort, and expense in developing
        an application, only to have that mvestment rendered worthless by Facebook's decision. 643

        brings this action to make Facebook adhere to its open-access promise, or make 643 whole for the

        loss of its investment

                                                               PARTIES

                  2           Plaintiff 643 is a Delaware Limited Liability Corporation with a principal place of
        busmess at 175 Varick Street, 4th Floor, New York, New York

                  3           On information and belief, Defendant Facebook,    Inc, is a Delaware Corporation
 10     with a pnncipal place of business of One Hacker Way, Menlo Park, California.
                  4.          Plaintiff is ignorant of the true names and capacities of the Defendants sued herem
 12     as Does       1   through 50, mclusive, and each of them, and therefore sues said Defendants by such

 13     fictitious names Plaintiffwill amend this complamt when the true names and capacities of said

 14     Defendants have been ascertained          Plaintiff is informed and believes and thereon alleges, that
 15     Defendants Does 1 through 50, u>elusive, and each of them, are legally responsible in some

 16     manner for the events and happenings referred to herein and proximately caused or contributed to

 17     the injuries to Plamtiff as hereinafter alleged Wherever in this complaint any Defendant is the

 18     subject of any charging allegation by Plaintiff, it shall be deemed that said Defendants Does 1

 19     through 50, inclusive, and each of them, are likewise the subjects of said charging allegation

 20               5           Plaintiff is mformed and believes, and thereon alleges, that at all times herem
 21     mentioned, each of the Defendants was the agent and employee of each of the remaining

 22     Defendants and, in domg the thmgs herein alleged, was acting within the course and scope of said

 23     agency and employment

 24                                                             FACTS

 25               6           643 is an image pattern recogmtion startup company.

 26               7.          Facebook operates a social networking service that enables users to connect and

 27     share mformation with their friends and family.


FINAL                                                           2
        Case No                                       Plaintiffs Complamt for In~unction and Damages
          Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 68 of 187




   1            8         Facebook refers to the network of relationships between its users as the "Graph" or

   2     the "Social Graph "

   3            9.        The Facebook Developer Platform (also called "Facebook Platform" ) enables

   4     third-party developers ("Developers" ) to make their applications and other services available to

   5     Facebook users.

   6            10.       Facebook announced the opening of Facebook Platform to Developers on or about

   7     June 1, 2007.

   8            11.       At the opening of Facebook Platform, Facebook stated "With-this evolution of
   9     Facebook Platform, we'e made it so that any developer can build the same applications that we

  10     can. And by that, we mean that they can integrate their application into Facebook    —into the
  11     social graph   —the same way that our applications like Photos and Notes are integrated."
 12             12.       Facebook thereby permitted Developers to have open, equal access to integrate

  13     applications into Facebook.

  14            13.       Facebook did not state or imply that access to Facebook Platform might later be

  15     rescmded or provided on an unequal basis.

  16             14       As recently as March 16, 2015, this representation remamed available on

  17     Facebook's web page.

  18             15.      On or about April 21, 2010, Facebook announced the launch of Graph Application

  19     Programming Interface ("Graph API") at its developer conference.

 20             16.       Graph API allows Developers, with the consent of a Facebook user, to read data

 21      from and write data to Facebook.

 22             17.       Developers can only access Facebook content (referred to as "endpomts") with

 23      explicit permission from the user.

 24             18.       Examples of endpoints include a user's birthdate, favorite athletes, or photos

 25              19       Graph API also permits access to endpoints regarding a user's friends. One such

 26      endpoint is the set of photos that a user's friends had chosen to share with that user (the   Friends'7




         Photos Endpoint" ) A user's friends can control access to their photos and other endpoints by

 28      Developers even ifthey are not users of the Developer application.
I'INAL                                                      3
         Case No.                                 Plaintiff's Complamt for Injunction and Damages
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   1           20.    By granting Developers access to the Friends'hotos Endpoint, Facebook allowed
   2    Developers to build applications that enabled a Facebook user to search the user's friends'hotos

   3    via a Facebook platform application, assuming the user's friend provided such permission to

   4    Developers.

   5           21     During the announcement of Graph API, Facebook touted several features of

   6    Graph API m order to increase its appeal to Developers such as 643.

   7           22.    Facebook emphasized how Graph API would become more and more open to

   8    developers: "As we open the graph, developers can use these connections to create a smarter,

   9    more personalized Web that gets better with every action taken."

 10            23.    Facebook also emphasized the busmess potential of Graph API: "Through

        Facebook's new tools and technologies, every developer   —new and existing, big and small,
 12     novice and advanced   —can engage users, build businesses and revolutionize industries."
 13            24     As recently as March 16, 2015, these representations remained available on

 14     Facebook's web page.

 15            25.     643 relied upon these representations, and others, as to the open nature of Graph

 16     API, and invested considerable time, energy, and money developing an application to make use of

 17     Graph API on Facebook.

 18            26.    In December 2012, 643 entered mto the Facebook Developer Platform, which

 19     permitted 643 to develop applications using the Graph API.

 20            27.    643 has developed a unique automated image classification capability, which it

 21     used to develop an application called Pikmis ("the App").

 22            28.    The App is available for download on any iOS-compatible device, including the

 23     iPhone and iPad. The App enables Facebook users to reduce time spent searching by

 24     automatically classifying photos that their friends have shared with them through Facebook's

 25     network, assuming their friends have provided such permission to Developers.

 26            29     The App requires use of Facebook's Graph API, and specifically the     Friends'7




        Photos Endpoint.

 28
FINAL
                                                        4
        Case No.                              Plaintiff's Complaint for Injunction and Damages
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              30.   The App uses 643's pattern-recognition technology to search through shared

     photos and identify those of their friends at the beach or in the summer.

              31.   643 conducted initial user research that indicated considerable consumer demand

     for the App.
              32.   Facebook has never expressed any disapproval of the App.

              33    643 made plans to market and promote the App to attract users.

              34    643 sells the App for $ 1 99 in Apple's App store.

              35    The basic version of the App allows a user to run a certam number of searches per

     month.

10            36.   In addition, users can choose to pay for premium access, which allows unlimited

     searching. 643 offers different pricing tiers for premium access, ranging from $ 1.99 for a monthly

12   subscription, to $ 6 99 for 6 months, to $ 9.99 for 12 months.

13            37.   Facebook benefits from the work of Developers such as 643 who create

14   applications for use with Facebook. These applications can enhance user experience and drive

15   traffic to Facebook's website and mobile app, which in turn generates revenue for Facebook

16   through advertising sales, its primary revenue stream.

17            38    On January 20, 2015, Facebook sent an email to 643 statmg that 643 must

     "upgrade" the App to Graph API v. 2.0 by April 30, 2015.

19            39.   The email stated that Facebook would end third-party access to the   Friends'0




     Photos Endpoint on April 30, 2015

21            40    The App will not function at all without access to the Friends'hotos Endpoint, so

22   Facebook's suggestion that 643 "upgrade" the App to Graph API v. 2.0 was not possible.

23            41.   By deciding to end access to the Friends'hotos Endpoint, Facebook has made it
                                     I



24   impossible for 643 to continue to operate the App, to abide by the license agreements and

25   purchase terms entered into by 643 with its users, and for 643 to recoup any of its investment of

26   capital, human labor, time, effort, and energy

27            42.   643 has sold approximately 5,000 copies of the App since launch.

28            43.   A substantial portion of App users have paid for premium access
                                                       5
     Case No.                                Plaintiffs Complaint for Injunction and Damages
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     1            44.    Each one of the App users entered into a license agreement with 643

    2             45.    Facebook requires Developers to enter mto license agreements with users of

    3     applications for Facebook These license agreements must, among other things, require that the

    4     users of these applications adhere to Facebook's terms of service

    5             46     Accordingly, Facebook knew, or had reason to know, about the existence of 643's

    6     license agreements with its users.

    7             47     Had Facebook refrained from ending access to Friends'hotos Endpomt, 643

     8    could have quickly begun to generate hundreds of thousands     of dollars of revenue on a monthly
    9     basis

  10              48.    In total, 643 expended approximately $ 1.15 million m capital and uncompensated

  11      labor by its executives m developing and marketing the App

  12              49.    643 attended Facebook events for Developers and made known the harm caused

  13      verbally and via email to the appropriate Facebook employees

  14              50     Faced with the imminent loss of its investment, 643 wrote to Facebook on March

  15      16, 2015, and informed Facebook that its decision to discontmue access to the Friends'hotos

   16     Endpoint would harm 643 in several ways 643 informed Facebook that it had reasonably relied

  17      on Facebook's representations that the endpoints would remam open, and that Developers would

  18      have an equal opportunity to mtegrate applications into the social graph.

  19              51.    643 requested that Facebook continue to permit Developers to have access to the

  20      Friends'hotos Endpoint.
  21              52.    643 alerted Facebook to the considerable harm it would suffer should access be cut

  22      off.

  23              53     643 also noted that some of its users had entered mto subscriptions that extend

  24      beyond the April 30, 2015, cut-off date, and that these users could be entitled to refunds of their

  25      purchases.

                  54     As of the date of this complamt, 643 has received no response to its letter

  27              55.    Facebook has not announced that it would change its policy.

  28
Fli 4%L                                                     6
          Case No                                Plamtiff's Complaint for Injunction and Damages
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   1             56      ln doing the things herein alleged, Facebook acted with fraud, malice and

   2    oppression. and m reckless disregard of the nghts of 643

                                          COUNT I: PROMISSORY ESTOPPEL
                                               [Against all Defendants]

                 57      643 re-alleges and repleads paragraphs   1   through 56 as though set forth fully

   6    herem

                 58      Facebook clearly and unambiguously promised to keep open the Friends'hotos

   8    Endpoint.

   9             59.     643 invested considerable capital, labor, time, and effort into developing the App

 10     in reliance on this promise.

 11              60      643's reliance was reasonable.

 12              61      643's reliance was foreseeable by Facebook.

 13              62      643 was injured as a result of its reliance on Facebook's promise, which Facebook

 14     did not keep, in an unascertained amount in excess of $ 25,000 00, to be established according to

 15     proof at tnal
 16              63      Accordmgly, Facebook is liable to 643 for damages.

 17                       COUNT II: INTENTIONALINTERFERENCE WITH CONTRACT
                                           [Against all Defendants]

 19              64.     643 re-alleges and repleads paragraphs   1   through 63 as though set forth fully

 20     herein

 21              65.     643 had entered into license agreements and subscriptions for premium access

 22     with its users

 23              66      Facebook knew of these license agreements and subscriptions.

 24              67      Facebook intentionally interfered with and disrupted these contracts when it stated

 25     that it would end 643's access to the Friends'hotos Endpoint on April 30, 2015, despite

 26     knowing that disruption of these contracts would be the natural result of ending 643's access.

 27              68      As of April 30, 2015, ifFacebook ends 643's access to the Friends'hotos

 28     Endpoint as it has announced, then Facebook will further intentionally interfere with and disrupt
FINAL
                                                           7
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     643's contracts with its users, despite knowing that disruption of these contracts would be the

     natural result of ending 643's access

               69.     643's contract with its users was thereby disrupted, and as of April 30, 2015, 643's

     contract with its users will be further disrupted.

               70.     As a result, 643 has suffered and will suffer damage in an unascertained amount in

     excess    of $ 25,000.00 to be established according to proof at trial.
               71.     Accordingly, Facebook is liable to 643 for damages.

                               COUNT III: INTENTIONALINTERFERENCE WITH
                                   PROSPECTIVE BUSINESS RELATIONS
                                            [Against all Defendants]
10             72      643 re-alleges and repleads paragraphs    1   through 71 as though set forth fully

     herein.

12             73.     643 had an expectation of economic benefit from third parties, including its users

13   who downloaded the App and other Facebook users who may have downloaded the App if643

14   had marketed the App as it planned.

15             74.     Facebook knew of 643's relationship with the users of the App, and knew of 643's

16   plans to market the App widely.

17             75.     Facebook intentionally disrupted these relationships when it announced that it

18   would end 643's access to the Friends'hotos Endpoint on April 30, 2015, despite knowing that

19   disruption of these relationships would be the natural result of ending 643's access.

20             76.     As of April 30, 2015, ifFacebook ends 643's access to the Friends'hotos

21   Endpoint as it has announced, then Facebook will further mtentionally interfere with and disrupt

22   643's relationships with its users, despite knowing that disruption of these relationships would be

23   the natural result of ending 643's access

24             77.     643's relationship with its users was thereby disrupted, and will be further

25   disrupted.

26             78.     As a result, 643 suffered damage in an unascertained amount in excess of

27   $ 25,000.00 to be established according to proof at trial.

28             79.     Accordingly, Facebook is liable to 643 for damages
                                                          8
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   1      COUNT IV: VIOLATIONOF BUSINESS AND PROFESSIONS CODE 55 17200 et see.
                                   [Against all Defendants]
   2

                 80    643 re-alleges and repleads paragraphs   1   through 79 as though set forth fully

   4    herein

   5             81.   Facebook's decision to end access to the Friends'hotos Endpoint was unlawful

   6             82.   643 suffered substantial injury as a result of Facebook's actions, including the loss

   7    of its investment in developing the App and lost revenue.
   8             83.   No countervailing benefits of Facebook's decision to consumers or competitors

   9    exist.

 10              84.   643 could not have reasonably avoided its injury because Facebook only

 11     announced its decision after 643 had made considerable investment and Facebook had approved

 12     the App.

 13              85.   643 also requested that Facebook not end access to Friends'hotos Endpoint, but

 14     Facebook did not change its decision.

 15              86.   Accordmgly, Facebook is liable to 643 for violation of Califorma's Unfair

 16     Busmess Practices Act.

 17              87    As a proximate result of the acts and conduct of Facebook herem alleged, 643 has

 18     found it necessary to engage attorneys, and incur attorney's fees, and will continue to incur

 19     attorney's fees, m an unascertained amount to be established accordmg to proof following the

 20     conclusion of trial

 21                                             JURY TRIAL DEMAND
 22              88.   643 demands a trial by jury on all claims so tnable.

 23                                              PRAYER FOR RELIEF
 24                    WHEREFORE, Plaintiff 643 asks this Court to enter judgment against Defendant

 25     Facebook, Inc., as follows

 26              A.    A judgment or order declaring Facebook's conduct, as alleged, unlawful under
 27     California's Unfair Busmess Practices Act,

 28              B.    A judgment, order, or award of damages adequate to compensate 643;
FINAL                                                    9
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 1            C          A permanent injunction prohibiting Facebook from removing access to the
2    Friends'ser Photos Endpoint,
 3            D.         A permanent injunction prohibiting Facebook from interfering with 643's
 4   contracts or prospective business relations;

              E.         An award of its reasonable attorneys'ees and costs;
              F.         Punitive damages and/or treble damages as provided by California's Unfair

 7   Business Practices Act; and

 8            G.         Such other further relief as this Court or a jury may deem proper and just.

 9

10   Dated:   AiMMIP MP~                               CRITERION LAW
                   y'1




12                                                     By:
                                                               BasifP. Fthenakis, Esq.
13                                                             Attorney for Plaintiff
                                                               Six4Three, LLC

                                                               Of counsel:
15                                                             David S. Godkin
                                                               Andrew A. Caf&ey, III
16

17



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24

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27

28
                                                          10
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                   EXHIBIT B
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 10
         'Attorneys for Plaintiff,
          SIX4THREE, LLC, a Delaware
          limited liabilitycompany


13
                                      SUPERIOR COURT OF CALIFORNIA

                                             COUNTY OF SAN MATEO
15

16
         SIX4THREE, LLC, a Delaware limited               )       Case No. CIV 533328
17
         liability company,                               )
                                                          )       SECOND AMENDED COMPLAINT OF
18
                Plaintiff,                                )       PLAINTIFF, SIX4THREE, LLC, FOR
                                                          )       INJUNCTION AND DAMAGES FOR:
                                                          )       1. VIOLATIONOF CALIFORNIA
19
                                                          )       BUSINESS AND PROFESSIONS CODE
20
         FACEBOOK, INC., a Delaware corporation           )       g$ 17200 ET SEQ.;
         'and DOES 1 through 50, inclusive                )       2. PROMISSORY ESTOPPEL;
                                                          )       3. NEGLIGENT MISREPRESENTATION;
21
                Defendants.                               )       4. INTENTIONALINTERFERENCE
22                                                        )          WITH CONTRACT; AND
                                                                  5. INTENTIONALINTERFERENCE
                                                                     WITH PROSPECTIVE BUSINESS
23
                                                                     RELATIONS.
24

         Plaintiff, Six4Three, LLC, alleges as follows:
26              1.      This matter concerns Defendant Facebook, Inc.'s campaign of promises,

         enticements, and representations to third-party software developers ("Developers" ) such as
28
30                                                            1

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      Plaintiff Six4Three, LLC ("643"), to develop applications for Facebook, based on Faccbook's
 2    representations that Developers would have a level playing field, fair competition, and an

 3    opportunity to grow their business. Facebook's campaign was part of a calculated strategy to

 4    drive Facebook's own growth by leveraging the hard work of Developers. But once Facebook

 5    decided it would prefer to no longer compete with Developers, it abruptly reversed course, and

 6    broke its promise of fair competition in Facebook's platform. Facebook's conduct here is a classic

 7    "bait and switch" tactic that is barred by California law, as detailed below.

                                                   PARTIES

 9,           2.     Plaintiff643 is a Delaware Limited Liability Corporation with a principal place of
10    business at 535 Mission Street, 14th Floor, San Francisco, California.

11            3.     On information and belief, Defendant Facebook, Inc., is a Delaware Corporation

12    with a principal place of business of One Hacker Way, Menlo Park, California.
13            4.     Plaintiff is ignorant of the true names and capacities of the Defendants sued herein
14    as Does 1 tlirough 50, inclusive, and each of them, and therefore sues said Defendants   by such

15    fictitious names. Plaintiff will amend this complaint when the true names and capacities of said

16   'Defendants have been ascertained. Plaintiffis inforined and believes and thereon alleges, that

17    Defendants Does 1 through 50, inclusive, and each of them, are legally responsible in some

18    manner for the events and happenings referred to herein and proximately caused or contributed to

19    the injuries to Plaintiff as hereinafter alleged. Wherever in this complaint any Defendant is the

20,subject of any charging allegation by Plaintiff, it shall be deemed that said Defendants Does 1
21    tluough 50, inclusive, and each of them, are likewise the subjects of said charging allegation.

22           5.      Plaintiffis informed and believes, and thereon alleges, that at all times herein
23   mentioned, each of the Defendants was the agent and employee of each of the remaining

24    Defendants and, in doing the things herein alleged, was acting within the course and scope of said

25    agency and employment.

26                                                  FACTS

27           6.      643 is an image pattern recognition startup company„

28
                                                       2
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     1                   7.      Facebook operates a social networking service that enables users to connect and

     2           share information with their fiiends and family.

     3                   8.      Facebook refers to the network of relationships between its users as the "Graph" or

     4           the "Social Graph."

     5                   9.      The Facebook Developer Platform (also called "Facebook Platform" ) enables

     6           Developers to make their applications and other services available to Facebook users.

     7               I. LAUNCH.OF FACKBOOK PLATFORM IN 2007

     8                   10.     At 3PM PDT on May 24, 2007, Mark Zuckerberg, Facebook Founder and CEO,
 9               made a self-described revolutionary announcement to a crowded rooin of software developers in

10               San Francisco. Zuckerberg announced the launch of I acebook Platform, which he had described

11;weeks earlier in an interview with Fortune magazine as "the most p'owerful distribution
12               mechanism that's been: c'r'eat'cd;:in."a icncration." He went on in the Fortune interview to describe

'J3              the mo'tivation for creating Facebook Platform in this way: ".We want to make Facebook into

14               'something> of. an:.opeating svstcm:so vou'can:run'full:apphcations;" specifying that this

15               development was the internet-equivalent to what Microsoft did with Windows, which allowed

16               other developers to build applications for PCs. (See

17               http: //archive. fortune.corn/2007/05/24/technology/facebook.fortune/index.htm.)

18
             '
                          l.    In fact, Zuckerberg's first demonstration of Facebook Platform was purportedly to

19               Bill Gates in early May 2007. Microsoft and Facebook had reached an agreement for Microsoft to
20               purchase banner ads on Facebook in which Microsoft had guaranteed Facebook a minimum of

21               $ 100 million per year tlirough 2011. Facebook   Platform was positioned by Facebook to MicrosoA
         !



22           as the driving force behind meeting Facebook's ambitious         growth metrics. At the time of this

23           announcement, Facebook had just exceeded 20 million active users and had raised only $ 37.7

24           million in venture capital investment. Even at this modest point in Facebook's growth, its photo
25           sharing application was the largest photo application on the Internet, and according to Facebook's

26

             'n the quoted text here and elsewhere in the Second Amended Complaint, representations by
             Facebook or its employees have been underlined for emphasis.
28
                                                                    3
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 1       own internal statistics, drew more than twice the traffic of the next three photo sites combined at

 2       the time of the May 24, 2007 announcement           of Facebook Platform.
 3               12.     Zuckerberg announced that the three key elements of Facebook Platfoim were

 4       "deep'i'ntcgration. mass distribution:.a'n'd ncw oivportunitv. " These were three key themes he

 5       would repeat throughout the day and for years to come in numerous public conversations and

 6       presentations. (See https://gigaom.corn/2007/05/24/live'-at-the-facebook-launch/.)

 7               13.     'Thus, Zuckerberg made three distinct promises: (1) promise of deep integration

 8       with Facebook's social graph; (2) promise of Facebook's support in achieving mass distribution

 9       of developer applications; and (3) promise of an opportunity to build a business on Facebook.
10               14.     By 8PM that evening, these key elements were memorialized on Facebook's
         website with the official aimouncement "Facebook Platform Launches", stating "Y'ou.":caii".n'o'w":

12       build::applications: that%ave the.same'access-'to     integration in'to;-the-.social'raph   as.Faceb'ook'3




         applications, such as photos, notes, and events.... The, power of mass distribution is now in vour

14       hands. You. can, gain distribution for.vour appliCat'ions through the social graph like never before.

15:Applications.can be v'iral1'v engiriecred."to'each iiiillions,".ofFaccb'ook users ciuicklV~and efficientlv",
16       through the profile, news feed,. and mini-feed..... With.access to deep.'in'tegra'tion into the site, and,,

17       mass distribution'{hro'ugIi.the social graph comes a new opportunity for vou to build a business

18       with.vour application. You are free to monetize vour canvas pages through advertising or other

19       transactions. that vou control." (See Facebook Platform Launches,

20       http: //web.archive.org/web/20070706002021/http: //developers.facebook.corn/news.php?blog=l                             k
21   .   story=21).

22               15.     Facebook's announcement thus promised that (1) developers have "same access to

23       integration" for applications such as photos and notes as Facebook employees; (2) developers are

24       able to distribute applications through Facebook Platfoim; and (3) developers are able to

25       monetize applications through Facebook Platforin.

26               16.     Zuckerberg went on to say: "Tlie social graph is our'ase, arid we'e bui1t':a

27, framework that is completely op'tiiuized..for. developiri'g social applications''witliin                          oui':-'8




     .environment.... We believe that there is more value for evervone in letting other people develop.
                                                                4
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     1    atinlications on top of the base we'e built than we could ever uossiblv nrovide on our own

 2        This is good for us because ifdevelopers:build i~eat applications then.thevire,providing a.service

 3
         'o our users and stren'ptheninp the social graph:... This is bip opportunitv; We provide the
                                                                               a


 4        intemation and dist'r'ibiitio'n and develop~ers   rovide the applications. We help users share more

 5, i'nformation, and 'together we.'benefit,'
                  17.     Zuckerberg thus promised that Facebook is committed long term to serving as a

 7        platform that lets developers build applications on a level playing field because it is a big

 8        opportunity for everyone.

 9                18.     Zuckerberg then announced that Facebook had been working with over 70

10        developers in anticipation of the launch of Facebook Platform, including Amazon, Forbes, iLike,

          Lending Club, Microsoft, Obama for America, Photobucket, Red Bull, Twitter, Uber, Virgin

12        Mobile USA, Warner Bros, Washington Post, and many others. (See live blog of F8 event from

13       'eading Internet blogger, Mashable, at http: //mashable.corn/2007/05/24/facebook-f8-

14        live/¹ClfbgFfPV5q0.)
15                19.     Around 4PM during Zuckerberg's presentation, he announced 5 case studies from

16        these early developer partners aimed at showing how easy it was for all developers to integrate

17       with Faceb'ook Platform. Zuckerberg distributed case studies from Red Bull, Box.net, Lending

18       Club, Microsoft and Slide.corn. Zuckerberg continued to emphasize during this public, annual

19       keynote to Developers that Facebook Platform is the single biggest and most revolutionary

20       change to Facebook since its inception, stating: "4'verv once:.in a w'heal'e a;blat'foim'''corn'es'alohi

21       'that allows pconle'to buil'd-'a'conitiletelv new:application   —..       sometimes even starts new, industries.,"

22, (See https://gigaom.corn/2007/05/24/live-at-the-facebook-launch/.)
23               20.      GigaOm, a leading Internet blogger, live blogged the event and further quoted

24       Zuckerberg as saying: "With photo-sharing, he explained, 'it's not just the photos that spread, it'

25       the whole photos application'.'-Third'-gart'v aurihcations won't be treated like second-class citizens

26       'on.Facebook, h'e saws; users can add them to their profiles and drag them and drop them to their

27       content. Applications can use Flash, JavaScript, and Silverlight              ifa user approves them. Outside
28       applications can issue unlimited notifications to users, and fit into the Facebook enviromnent by
                                                              .5
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                                                    s
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 1               accessing a 'fiiend selector'hat spits out each users'onnections.                     Now Zuckerberg says you can

 2               serve ads on your app pages and keep all the revenue, se 1 them yourselves or use a network, and

 3               process transactions within the site, keeping all the revenue without diverting users off

 4               Facebook." (See https://gigaom.cond2007/05/24/live-at-the-faccbook-launch/.)

 5                      2i.       Zuckerberg thus promised that (t) develoI!er applications won' be "second class

                 citizens", (2) developer applications can access a user's connections and related user data made

 7               available in the social graph; and (3) developer applications can sell ads through the Facebook
            I


 8          !
                 Platform.

 9          .           22.       This grandiose language from Zuckerbergt obviously sparked substantial questions

10, from the developer community so by 4:20PM pacific (1 hour and 20 minutes after the keynote
11               had started), Facebook had released the official "Facebook Platform FAQ", which was being

12          'circulated among bloggers to educate developers further qn this announcement. (See Exhibit 1,

13,Facebook F8 and Platform FAQ.) The Facebook Platform FAQ states, among other things:
14          ',
                        What is Facebook Platform? Facebook Platform is a development systein that enables
15                      companies and developers to build applications for the Facebook website, where all of

16,      Facebook's 24 million active users can interact with them.'Pacsebook'Pl'atform offers'deep

17,inteiiratioiu in the Facebo'ok website disotribution through the social maph! and''an'.
                                                                        .




18                '.op'por'tunitktonbiiild,aubiisin'essa,

19

20          'hat's                new in Facebook Platform? We'e been adding functionality since Facebook

21    .,;               Platform first shipped in beta in August 2006. With the latest. evolution. of Facebook

22                     .PI'astfo'rnid haowcVci';dthrird-'p'aitv".'dc'veiotpcrs       ca'n:nowlcreate appii'cations on'tlie F'acebook

                       .site with. the same level of integration as applications built bv internal Facebook
     '3,




24                      developers.,'Now'developers-evervw'here.have                     the a'bihtv todcreate Faeeb'ook ipplicrcatitiiis

25                      that deeplv intemate into the Facebook site„as wel as the potential for mass distribution

26                      throiiili'tlic.so'cial. t'pra'ph aiid 'ii'ewubusiness oppoituri ities,
27                      Why did Facebook launch Facebook Platform? Our engineers have created great
28                      applications forFacebook,butwereco g nized that tthird-p art y develo p erscanhel p usmak e
                                                                                 6
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                  Facebook an even more powerful social utility. Fnccbook PI'atforni:gives developers.

                  everywhere:the'tool's to create applicati'ons that we just wouldn't have the resources to

                  build in-house, and those applications make'Facebook an even better way for our users to
                  exchange information. Developers also benefit from the Faccbodk Platform as it gives

                  them the potential to broadly distribute their applications and even build new business,

                  o'pp'ortuiiiti es

                  What kinds of applications can be built on Facebook Platform?, The kinds of
                  applications-",developers can build. on Facebook Platform are"'li'initc'd"only- bv tlieir

                  i'xiii'ginatioiis,'Because"applications are based on the Facebook- social'. graph thev can'be

10               ,more. relevant to users, keeping pleo le in to'u'ch with what and whom thev care about.

                  We'e already seen a variety of applications built by our developer partners, including
12                those for sharing media files, book reviews, slideshows and more. Some of the

13                possibilities of Facebook applications are illustrated in the Facebook Platform Application

14                Directory, available at http: //facebook.corn/apps.

15                Are there any restrictions on what developers can build? Developers'ar'c eii'cou'ra'gcd
16                to exercise their creativity when, building applications. Of:course. all applications. are.

17               ~sub'ect to the Terms of Service. that everv developer agrees to, which include basic

                  reauiiciA'ends/stlch,as.not stori'ng an'y s'ensiti've user'in fol'lilati'on; not crc'ating.anv, offensive

19                or. illegal applications, and not building anything that:.phfshes:or spams users.         And users

20               will always have the power to report any applications that compromise Facebook's trusted
21               enviroiunent, keeping our users'nformation safe.

22:

23               How will Facebook deal with applications that compete with one another or even
24               compete with Facebook-built applications? %e'welcome.developers-w'ith:competing

25               applications, in'cludi'ng developers whose applications might compete.with Facebook-built

26    ',
                 applications, Ma'tiy. applications'are likclv..to 6ffer'sin>ilar"fca'tures; We'v'e'.designed

27               1""acebook'Platform so.that:applications fr'om thircl-p irt'y:developers.:are'on a level plavinw~

28               field with applications built bv Facebook. Ultimately. our users will decide which
                                                                 7
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             ~alications thev find most useful, and it is these applications, that will become the most
             p'opul'ar.



             Can Facebook applications include ads? We want to enable.'developers. to build a

             business on their Facebook.applications, so we'.rc eving,developers the freedom,to.,

             idion'etiRe:tli'eir.appli'c'ations'as th'cy like'.,Developers can include advertising on their

             applications'anvas pages, though no advertising will be allowed within the application
             boxes that appear within user profiles.

             Are you going to share revenue with developers? While revenue sharing is not
10           available at launch, we are looking into ways to share advertising revenue with

             developers.... The version of Fac'cbook Platform already lets."devel'oper's'monetize their

12           applications as they like„,whether they. choose to offer it for free or to build a business on

13           their application.

14           23.         In sum, these representations by Facebook reflected the following promises to

15    Developers:

16                  a.   Developers would have "deep integration";

17                  b.   Developers would have access to the "social graph";

18                  c.   Developers would have "an opportunity to build a business."

19                  d.   Developers would have the same level of integration and ability to develop apps in

20                       the same manner as internal Facebook employees;

21                 e.    Facebook will provide adequate tools necessary for Developers to build their

22                       applications;

23:                f.    Facebook will help Developers achieve broad distribution of their applications;

24                 g;    so long as applications abide by Terms of Service (e.g. are not offensive or

25                       unlawful), Facebook will be neutral as to the applications built on its operating

26                       system;

27

28
                                                           8
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                  h.   any application that does not violate Terms of Service, phish or spam users,

                       contain offensive material, or break the law shall be accepted in Facebook

                       Platform;

                  i.   competing applications are welcome on Facebook's operating system;

                  j. Facebook will remain neutral among competing applications;
                  k. Facebook will remain neutral among its own applications and those of developers

                       regardless   of whether they compete or not;
                  l.   applications similar in purpose and content will be allowed to compete on a "level

                       playing field"

10                m. "level playing field" constitutes a definition of fairness in market competition, and

                       that definition of fairness means that ultimately users will decide which

12                     applications win the market, not Facebook or other third parties;

13                n.   implicit in this definition of fairness based on user decision is the necessary
14                     consequence that Facebook shall take no actions to promote its own applications

                       or preferred applications from companies that have a special relationship with

16                     Facebook in order to slant this playing field in a manner that makes it less likely

17                     for users ultimately to decide the winner;
                  o.   Facebook will enable Developers to build businesses on their operating system by

19                     directly monetizing their applications on Facebook;

20                p.   Developers will be able to sell ads on their application pages; and

21                q.   Developers will have a choice as to whether they monetize their application on

22                     Facebook's operating system.

23      II. DEVELOPERS RESPONDED ENTHUSIASTICALLYTO THK LAUNCHOF
24                FACEBOOK PLATFORM. JUST:-AS:FACFBOOK INTENDED

25          24.        The blogging community went into an immediate and prolonged frenzy over this

     announcement. Paul B. Allen, founder of Ancestry.corn and well known Internet blogger,

27   summed up the general sentiment expressed by countless bloggers when he wrote that same day,

28   "I saw history in the making today...I was lucky enough to be in San Francisco for the Facebook
                                                          9
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 1       f8 Platform launch event. This announcement was at least an 8.0 on the Richter scale. It was a

 2       whopper.... A huge new opportunity was presented to the few hundred people in the room,

 3       including 65 companies that have spent the last few weeks developing applications for the launch

 4       of Facebook Platform. Facebook is inviting anyone to develop applications for their users on top
 5       of what Mark calls their "social graph" —the core of their service which basically keeps track of
 6       real people and'their real connections to each other....[Facebook's] growth will be dramatically

 7   .   accelerated by the Platform announcement.     IfFacebook is adding 100,000 new users per day with
 8       its own few simple applications (like its photo sharing, a very simple service that has given

 9, Facebook twice as many photos as all other photo sharing sites combined), what will happen
10       when thousands or tens of thousands of developers start building apps in Facebook and marketing

11       them to more users? Facebook will reach 50 million, then 100 million, then 200 million users, and

12       beyond. Rather than continue to try to develop features within its own proprietary, closed

13       network, basically keeping all of its users to itself...Facebook intuitively gets the concepts that

14       are so brilliantly discussed in Wikinomics (which are so non-intuitive to old schools business

15       'types), and has chosen to open up its network for all to participate in...Application developers

16       can now have access to core Facebook features, such as user profiles and user connections, and

17       even publishing to the News Feed, all with the control and permission of Facebook users... When

18       Facebook has 100 million users, in the not too distant future, having the ability to develop an App

19       in their system will almost be like being able to get a link on Google's own home page." (See

20       http: //www.paulallen.net/prediction-facebook-will-be-the-largest-social-network-in-the-world/.)

21               25.    To Developers, Facebook Platform represented not just an entire new operating

22       system, but an ecosystem that could potentially reorganize the entire Internet (potentially

23       replacing Google). The sentiment amongst Developers, as widely held throughout the industry

24       'and reported by popular sites like TechCrunch (http: //techcrunch.corn/2007/05/24/facebook-

25       launches-facebook-platform-they-are-the-anti-myspace/)      and the Wall Street Journal

26       (http: //www.wsj.corn/public/article/SB117971397890009177-

27       wjdKPmjAqS 9ZZbwiRp CoSqvwQ 20070620.html), was that ifyou aren' building for

28       Facebook, you will be left behind.
                                                           10
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 1             26.     Facebook and the Developers who were selected to participate in the private beta

 2      of Facebook Platform quickly set out to inakc Developers comfortable with this grandiose vision
 3      and create a level of comfort to induce them to participate in this entirely new industry. For

 4      instance, on May 29, 2007, just five days after Zuckerberg's announcement     of Facebook
 5      Platfoim, Venture Beat, the popular tech blog, did a QKA with iLike founder, AliPartovi, who

 6,was also an early advisor and shareholder of Facebook. iLike was the first successful application
 7      on Facebook Platform and for quite some time was the largest music application on the Facebook

 8      'Platform. iLike was purchased by MySpace in 2009.

 9             Tell me about your experiences with Platform so far. You'e been working on putting

10             iLike on Facebook for several months now. Yet on the integration since Friday mornin,
11             there have been bugs and other issues on iLike's end. What's the status?

12             Partovi: So, first to give you the back-story on how we got involved'. Over the past several

13,            months, we'e pushed and pushed with Facebook asking for some sort of exclusive

14      'elationship. They repeatedly said they won't do an exclusive relationship but would
15             rather create a level playing field where we could compete with other third parties. Wc

16             then gave up a bit, and we were actually a bit late to the game learning about the platform

17             in detail. But when we finally did get access, our President, Hadi Partovi (my twin

18             brother) took very little time to decide this was a huge strategic priority. That was a month

19             ago. We re-prioritized everything else, and started moving our people off other projects

20

21
     'nto            this. First two or three people, then a few more, and by the end it was a huge group of

               engineers pulling back-to-back all-nighters for a week-long sprint to the launch.

22             What made iLike think that Facebook Platform would be a big deal? What stood out about

23             it?

24             Hadi has a strong background in the concept of platforms...at 24 he became the head of

25 '.          product management in the IE group at Microsoft, and was a key player in thc browser

26             wars. A month ago, even though the Facebook Platform wasn't fully fleshed out, he saw

27             just from the early beginnings of it that this could redefine web development. What he

28             said was, 'in the history of computing, there was the personal computer, there was
                                                         11
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     1           Windows, there was the web, and now the Facebook Platform'. You can imagine that I

     2           and most our company was pretty skeptical. But he makes these calls so we followed him.

     3           As to what stood out, it's a combination of three things: (1) the technology itself—

     4           Facebook Platforiii, like any platform, offers the developer building blocks to build apps

     5           faster than they could     ifthey were starting from scratch, and to tap into a rich source of
     6           data & capabilities that would never otherwise be available; (2) the potential for viral

     7           spread —due to the way the Facebook news feed works, an app can spread across the

     8           community entirely by viral spread, as friends get notified when one person adopts

     9           it...this essentially bypasses the idea of trying to make your app 'viral's a standalone,
 10              because Facebook is itself naturally viral; (3), 11ie'ihetori'c:,',fr'om-the Pa'cebook:man'agenieiit'.

11:,.team, starting from the CEO himself. made it clear that thev have a long-term
12:;commitmcnt: to. a level'@laving-field. For examnl'e.,thee-i>bsolutelv'-'reR'sed to'ice us any.,
13              .sgecial advantape,.insisting that the market needs to see. a level.Tilavina.f]e]d...we offered .

14              ,.tlicm':oiviier'sh'in'.i'ii'Cur'c'om'iianv. nionev„:etc'-. but:thev. h'ad.bio:ititerest:, FiirthcriTiorc;:thev

15              .built and launched. their own 'video'. app, but left it to 'compete'n its own merits

16              ,alongsi'de other" third-.'painty apps ra'ther than makiiiu:it"pre-inst'all'ed': for 'a11.1'aceb'ook

17               users; .So. fk I";a~i'd '52,ina'de'this:. something we had to''iud",on.'"and:@3;:made: us comfortable.

18       'wi'th        the I'one-tcrin sti'ate'eiCiino'Iicatio'its . (See http: //venturebeat.corn/2007/05/29/qa-

19       'ith-ilikes-ali-partovi-on-facebook/.)
20               27.     Partovi's comments immediately following Zuckerberg's announcement serve

21       both to reflect the general sentiment held by Developers —that Facebook had made clear its long

22       tenn commitment to a level playing field for Developers —and to show how Facebook's allies

23       (Partovi was an early advisor and shareholder after all), were committed to helping Facebook

24       grow its new operating system quickly and induce developers to participate with large

25       investments of capital. After all, iLike saw massive growth in the two years following its decision

26       to build on the Facebook Platforin and was ultimately acquired by MySpace in 2009 in large part

27       due to that growth.

28
                                                                 12
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         III.FACKBOOKCONTINUED TO ACTIVELYPROMOTE FACKBOOK
               PLATFORM TO DEVELOPERS
                   ,




 2
             28.       Three days after Partovi's QUA with Venture Beat, on June 1, 2007 Facebook
 3
     released its own statement further clarifying its intentions with Facebook Platform, entitled
 4
     "Platforin is Here".
 5
             ",Last Fridav,, we gr'oniised more information..so here it is.... With this evolution-,of
 6
            Facebook Platforin, we'e made it so that anv developer can build the same applications

            that we can. And bv that, we mean that thev:.can integrate 'their-application into

            Facebook     —into the 'soci'al graph —the same wav that our, ap'nlications like Photos and
 9
            'No't'es are'i'nte'ki'ated,   " (See https://www.facebook.corn/notes/facebook/platform-is-
10
            here/2437282130/)
11
            29.        Thus Facebook promised that developers will be able to build applications in the
12
     saine way that Facebook can by accessing the social graph.
13
            30.        As recently as February 23, 2016, this representation remained available on
14
     Facebook's web page.
15
            31.        Throughout the summer of 2007 Facebook remained on the offensive about its
16
     long-term commitment to developers on Facebook Platform. Facebook held numerous
17
     Hackathons and Developer Meetups in various cities to introduce new developers to Facebook
18
     Platform, it launched a Developer Feed and Wiki on its website to educate the Developer
19
     community on the benefits of Facebook Platform and help them more seamlessly invest their
20
     capital and resources towards building applications on the Facebook Platform. Facebook also held
21
     contests with prizes for developers. 'Zuckerberg continued to emphasize the revolutionary impact
22
     Facebook Platform would have on the Internet as a whole during this time. For instance, on July
23
     '17, 2007, Zuckerberg was interviewed by Time Magazine:
24
            Time: the frenzy suivounding Facebook seems to have intensified quite dramatically over
25
            the past several months. What do you think is behind the company's newfound cachet?
26
            Zuckerberg: I think the most recent surge, at least in the press, is around the launch of
27
            Facebook Platforin. For the first time we'e allowing developers who don't work at
28
                                                            13
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 1               Facebook to develop applications iust as ifthcv were..That's a bio. deal because         it means

 2               thai. all developers "trave a'new'ivav-:of doi'n'g business   ifthev choose to take advantage of.
 3               it. There are whole:coin'panies that are fondling whose only product is a Facebook

 4               Platforin application. That pro'vides an o'pu'or'turiitv"foi'hai> it'provides an:ou6orhinitv foi

 5               p'eople who want" to make monev"bv investing in.those:comgani'es„and           I think tha't's
                 s'ometh'in''th'at's'ni'ettv exc'itin@'to'h'e'business.comm'unity.   " (See
             ,




 7               http: //content. time. corn/time/business/article/0,8599,1644040,00.html)

 8               32.     In these public statements to Time Magazine, Zuckerberg made at least four

 9    distinct promises: (1) Facebook would allow developers to build applications as ifthey were

10    developers employed by Facebook; (2) Facebook would offer developers on Facebook Platform a

11   'ew way of doing business; (3) Facebook would support an ecosystem where entire companies
12    could be formed whose sole business activity was within the Facebook Platform ecosystem; (4)

13    Facebook would support an ecosystem where investors could reasonably rely on Facebook to

14    make money by investing in companies solely devoted to the Facebook Platform ecosystem.

15               33.     Then on September 17, 2007, Facebook went even further by setting up a $ 10

16    million fund exclusively devoted to providing grants to developers to build on Facebook
17    Platform. Facebook and its partners in the fund would not even take equity in the developer; they

18   were offering free money to build applications on Facebook Platform with the only commitments

19   being that the grantee use the money to build on Facebook Platform and that Facebook's partners

20   would have the opportunity to invest first ifthey were interested in doing so. When asked why

21   Facebook was forming this fund, it replied: "We'ari" forinirikthis'kind.to-;h'el@.',cow the.Faceb'ook

22   application ecosvstem.'Bv.'decreasing         the barrier to start a companv, we hone to entice an even

23   larger gn oup.of people to become;enti epreneur's-and"build 'a'comiiel'lin'i-business':on.'Fabcb'o'ok'.
                                                                                                  "
     Platform. We hope, this is also a funding. model that other. venture eapitahs'ts.will follow. (See
24

25   http: //500hats.typepad.corn/500blogs/2007/09/facebook-announ.htrnl.)

26               34.     Facebook's conduct in providing free money to developers to build applications on

27   Facebook Platform implies a specific proinise that it will support developers'pportunity to

28   "build a compelling business on Facebook Platform" and that it is committed long term to the
                                                              14
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     1           stability of Facebook platform as an ecosystem that can support substantial investment and where

 2               investors who participate in that ecosystem can expect a level playing field upon which to

 3               generate a return on that investment.

 4                       35.    Indeed, others were quick to follow Facebook's lead in making investors

 5               comfortable with supporting this new industry with large sums of capital. Numerous venture

 6               capital firms or funds were soon after established that invested solely in Facebook applications. In

 7               September 2007, Wired Magazine reported the following: "And by turning itself into a platform

 8               for new applications, Facebook has launched a whole new branch of the software development
 9               industiy, just like Bill Gates did with MS-DOS in the 1980s. By allowing developers to charge

10               for their wares or collect the advertising revenue they generate, Zuckerberg set up a system for

11               every programmer to get paid for their efforts. Now venture capitalists like Bay Partners are

12               scrambling to fund almost anyone who has an idea for a Facebook application." (See

13               https://archive. wired.corn/techbiz/startups/news/2007/09/ff   facebook? currentPage=all.)
             1




14:          t
                        36.     As a result of Facebook and its partners tremendous efforts in inducing Developers

15           'to build applications on Facebook Platform and promising them the opportunity to build entire

16               industries, new sectors of investment and new types of applications, Facebook Platform quickly

17           'became, in the words of AdWeek, "the most viral software distribution system ever". The overall

18       'raffic to Facebook increased by one third within a mere three weeks of the announcement. By
19               December, the Facebook user base had gone from 24 million at the time of the announcement to

20               58 million, a'141'/o increase. Where Facebook had been adding about 100,000 new users per day

21       i   prior to Facebook Platform, it was now adding more than 250,000 users per day. (See
22           http: //www.adweek.corn/socialtimes/top-10-facebook-stories-of-2007/211540.)

23,                     37.     While it touted Facebook Platforin to Developers around the world, Facebook did

24           not state or imply that access to Facebook Platform might later be rescinded or provided on an

25           unequal basis.

26                      38.     By the end of 2009, in large part due to the Facebook Platform's success in
27           inducing developers to make investments in this new ecosystem, Facebook's user growth had

28
                                                                   15
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     1     skyrocketed from 24 million active users at the time of the announcement     of Facebook Platform
           in May 2007 to over 350 million users in December 2009.

     3             39.      In late 2009, Facebook released a document "A Look Back on the App Economy

 4         of Facebook in 2009," in which it cited numerous success stories. For instance, Facebook app
 5         Playfish was acquired by Electronic Arts that year for no less tlian $ 275 million. Watercooler, a

 6         leading fantasy sports application on the Facebook Platform, successfully raised $ 5.5 million to

 7         fuel its growth. Weardrobe was acquired by Like.corn for an undisclosed sum. The document,

 8         published by the Director of the Facebook Developer Network, ended: "We'd like to say thank

 9         you to the developers and entrepreneurs who make up the Facebook Platform ecosystem and

10         congratulations on your accomplishments in 2009." (See

           http: //web.archive.org/web/20091223055629/http: //developers. facebook.corn/news.php?blog=                1   &
12         story=351.)

13             IV. FACKBOOK LAUNCHED GRAPES"API IN 2010
14                 40.     On or about April 21, 2010, Facebook announced the launch of Graph Application

15         Programming Interface ("Graph API") as a key new component of Facebook Platform at its

16         developer conference. Graph API allows Developers, with the consent of a I'acebook user, to read

17

18        '1.
           data from and write data to Facebook.

                           Developers can only access Facebook content (referred to as "endpoints") with

           explicit permission from the user. Examples of endpoints include a user's birthdate, favorite
19

20         athletes, or photos.

21                 42.     Graph API also permits access to endpoints regarding a user's friends. One such

22        'endpoint is the set of photos that a user's friends had chosen to share with that user (the   "Friends'3




          ',Photos Endpoint" ). A user's friends can control access to their photos and other endpoints by

24         Developers even   ifthey are not users of the Developer's application.
25,                43.     By granting Developers access to the I riends'hotos Endpoint, Facebook allowed
26         Developers to build applications that enabled a Facebook user to search the user's friends'hotos

27        via a Facebook Platform application, assuming the user's friend explicitly provided such

28       'ermission. A user's friend had complete control over the permission settings. For instance, the
                                                            16
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     1    user's friend could provide access to all or no developers or to specific developers but not others,

     2    as the user's   friend saw fit.

     3             44.      During the announcement of Graph API, Facebook touted several features of

     4    Graph API in order to increase its appeal to Developers such as 643.

     5             45.      Specifically, at the F8 Conference 2010, Zuckerberg announced: "The open graph

     6    puts people at the center of the web —it means that the web can become a set of personally and

     7    meaningfully semantic connections between people... Three years ago at our first F8 we launched

     8    Facebook Platforin, and together we all started an industry... We think what we have to show you

     9    today will be the most transformative thing we'e ever done for the web...Use the open graph.to.

 10       'make it.so that! people":ca'n leave'instantly soci'al and per'son'alized.experiences'.ev'er'ywhere                    they.go;

 11       We'e Norma be announcine a few pieces of new technology that make this possible —the first is
12        the Graph API,—makes it completely, simple t'o read connections to Facebook's map of the

13       'gdapll.'..impplein'ented;on top'of'aii:open'sfandarii.-" (See

14        https://www.youtube.corn/watch? v=4SOcRKINiSM.)

15                46.      After Zuckerberg completed his keynote at F8 2010, Bret Taylor, a Facebook
16        employee, further explained what Graph API meant for developers: "With Graph API every

17       object in Facebook has a unique ID, whether that object is a user profile, event, etc...you just

18       need to download an object with a new ID or download a connection with a new name. So to

19       download my friends you just need to download /btaylor /friends... And this applies for every

20;single object in Facebook. So let's say Facebook launches a new feature next year.                            We':re:riot'1




         gonna make vou "do'wnload a.new, SDK, You iust need to download an obiect with a,new. ID or"

22       dowiiload a connection'.@itli a'n'tv"'na'nic. A11'of'f)le code!you already wrote will c'ontinue'to".wo'rk

23       'perfectly., This is a really siiJii6cant chaiii~e''fo!r our.net-'platforin that I'rn sure   you'a''4




         appreciate. For the first time via the search capability, of the Graph API, we'e, giving developers

25       'the capability to search over all the public updates on Facebook.        I think this is Lonna lead to a
26       bunch of cool new applicali'ons and I'm really excited to see where people go with this:;;. We'e

27,built our core, of the',Facibook Platform. from the ground up with siniplicitv, stability, and the
28
                                                                17
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     1        maph in mind. This graph that for the first time we'e building to@ether," (See

     2 'ttps://www.youtube.corn/watch?             v=4SOcRKINiSM.)

     3                   47.     Facebook's employee Bret Taylor thus promised that: (1) developers can access

     4         Graph API objects in a simple manner ("you just need to download an object with a new ID"); (2)

     5         the accessible objects are ubiquitous ("this applies for every single object in Facebook"); (3) this

     6         access    will be sustained and can be relied upon by developers ("Allof the code you already wrote
     7         will continue to work perfectly... We'e not gonna make you download a new SDK") (a SoAware
     8-       Development Kit (or "SDK") is a set of software development tools that allows for the creation of

     9        'applications for a particular development platform); (4) developers can search over all objects for

10            all public updates on Facebook; and (5) Fa'cebook Platform guarantees simplicity, stability and

11            your ability to access and help build the graph with us.

12                       48.    The software industry uses a common and well-known convention of referring to

13            software by version number (e.g., version 1.0, 2.0, etc.) to signify the existence of separate

14            versions of software and to identify a particular version of the software. When Facebook

15            announced the launch of Graph API, it did not refer to Graph API as having different versions.

16,Facebook thereby signified that Graph API's open, equal, and neutral nature would not change.
17            This representation was of course a deliberate decision on Facebook's part to continue to entice

18            developers by conveying a sense of security around investing time, money and effort building

19            applications on its revolutionary platforin.

20,       .              49.    Facebook did not represent that it had reserved the right to terminate any endpoint

21            of Graph API. To the contrary, Facebook repeatedly expressed its long-term commitment to this
22            API.

23                       50.    This extension of the Facebook Platform ecosystem to further expand its

24 'eorganization potential for the entire Internet contributed even further to Facebook's meteoric

25            rise and induced even more investors and developers to expand the industry Facebook had

26            created.   By way of example, on October 21, 2010, Facebook partnered with Kleincr Perkins
27            Caufield 8c Byers, Zynga and Amazon to launch a $ 250 million fund to invest in new apps on the

28        Facebook Platform. By September 19, 2011, Facebook Platform had created over 182,000 jobs
                                                                 18
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         and $ 12.19 billion in value to the U.S. economy. Facebook now boasted over 850 million users as

 2       of late 2011.
 3                 51.        On September 24, 2011, Facebook further extended its long-term commitment to

 4       Facebook Platform by expanding Open Graph to accelerate its reorganization of the disparate

 5       content on the Internet. (See http: //mashable.corn/2012/05/24/facebook-developer-platform-

 6       infographic/¹fDCxuACag5qr.) In his keynote address at F8 2011 on Septeinber 24, 2011,

 7       Zuckerberg stated to a packed auditorium of developers: "The next era is defined:bv the apps and

 8       .depth of engagement ih'at.is now possible now that this whole network'has.been established... In

 9       2007 in our very first F8:I.introduced the concept of the social graph. all of the relationships

10,between..pc'o'pl'e in the.C'orld;, Last-'year. we intr'odu'ced'.th'c c'oncep't of theopcn.griiph as:no't only

11       the m'ap o'f''all: tlie'relNfiori'ships':but:all'of'the'connections in the world....: This"ye'ar We'r'e takin'g

12       the next step: we',re going to make it so that. you can, connect to 'aiiy'thin'g.you want in any way

13       you w'ant;..; ..So'm'ctim'cs.I think about what we're'doingwith the: open" gripli'is-heipiii'g"to'efiiie.a

14       brand new language for how people connect...every year we take the next step.and make.soTY}e

15       iie'w s'ocial!appkjxi'ssib'le; op'en~eaph enable&apps 'that fo'cus'pr'iniarilv-on.two,:.types ofthings-:

16       the:first'is.'foal'ling out your:.timeline, and the second:is"helpirig'yoii discovci.ncw',things'.tlir'ough

17       your-,: friends;:"

18                 52.        Facebook thus made at least four distinct promises in this September 24, 2011

19       announcement: (1) Facebook has a long-terin commitment to the Facebook Platform and ensuring

20       a fair playing field for developers and has had such a commitment for over four years now; (2)

21       Facebook is committed to extending the Facebook Platform to provide developers with more

22       ways to innovate and build businesses; (3) in keeping with this long term commitment, Facebook

23   .   will continue to help make new kinds of social apps possible; and (4) Facebook is in particular
24: focused on helping you discover new things through your friends and Facebook Platform will
25

26       '3.
         enable developers seeking to do so.

                              643 relied upon these representations, and others, as to the fair, level playing field

         and the open, equal, and neutral nature of Facebook's Piatforin and Graph API, and invested
27


                                                                19
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              considerable time, energy, and money developing an application to make use of Graph API on

     2        Facebook's Platform.

                 V.,THE FTC ORDERED FACKBOOK NOT TO MISREPRESENT THE MANNE<R
                      IN WHICH FACEBOOK PROVIDES ACCESS TO USER. DATA

     5               54.      On or about July 27, 2012, the United States Federal Trade Commission ("FTC")

             entered a Decision and Order (the "FTC Order" ) against Facebook.

     7               55.     The FTC Order entered following a consent agreement between FTC and

     8       Facebook.

 9                   56.     The FTC noted in the FTC Order that the FTC had reason to believe Facebook has

10           violated the Federal Trade Commission Act.

11                   57.     The FTC Order provided, among other things, that Facebook and its

             representatives "shall not misrepresent in any manner, expressly or by implication, the extent to

13           which it maintains the privacy or security of covered information...."

14,                  58.     The FTC Order defined "covered information" to include an individual

             consumer's photos, among other things.

                     59.     The FTC Order also provided that Facebook and its representatives "shall not

             ,misrepresent in any manner, expressly or by implication... the extent to which [Facebook]

18           'makes or has made covered information accessible to third parties."

19               VI.INDECEMBER..2012..PLAINTIFF 643 BECA'ME:A.FACKBOOKDEVELOPER
                           AND BE'GAN.DEVELOPING AN.APPLICATION .
20
                    60.      In December 2012, 643 entered into the Facebook Developer Platform, which
21
             permitted 643 to develop applications using the Graph API.

                    61.      643 has developed a unique automated image classification capability, which it

24,          used to develop an application called Pikinis ("the App"). The App was available for download

             on any iOS-compatible device, including the iPhone and iPad. The App enabled Facebook users

             to reduce time spent searching by automatically classifying photos that their friends have shared

27
             with them through Facebook's network, assuming their friends have provided such permission to

28
         i   Developers.
                                                             20
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 1                62.     The App required use of Facebook's Graph API, and specifically the Friends'

          Photos Endpoint. The App used 643's pattern-recognition technology to search through shared

 3        photos and identify those of their friends at the beach or in the summer.

 4                63.     The App could only be used to sort through photos that a user's friend had chosen

 5        to share with that user based on the friend's Facebook privacy settings. 643 conducted initial user

 6        research that indicated considerable consumer demand for the App, among both men and women.

 7        Facebook has never expressed any disapproval of the App as the only content it accesses is

 8        content already available on Facebook.

 9               64.      643 made plans to market and promote the App to attract users.

10               65.      643 sold the App for $ 1.99 in Apple's App store. The basic version of the App

      :
          allowed a user to run a certain number of searches per month. In addition, users could choose to

12        pay for premium access, which allowed unlimited searching. 643 offered different pricing tiers

13        for premium access, ranging from $ 1.99 for a monthly subscription, to $ 6.99 for 6 months, to
14        $ 9.99 for 12 months.

15    .          66.      Facebook benefits from the work of Developers such as 643 who create

16        applications for use with Facebook. These applications can enhance user experience and drive

17        traffic to Facebook's website and mobile app, which in turn generates revenue for Facebook

18        through advertising sales, its primaiy revenue stream. It is no secret that Facebook's'meteoric rise

19,from 24 million users in 2007 to almost 1.6 billion users in 2016 rested in significant part on the
20        release and growth of Facebook Platform.

21           VII. FACEBOOK RE-ITERATED ITS.PROMISES'RELATED TO GRAPH API
                        AND FACKBOOK PLATFORM AT ITS 2014 FS CONFERENCE
22
                 67.      The extension of the Graph API at F8 2011 was simply the next step in Facebook's
23
       long term commitment to serve as a platform for other developers, a commitment that every
24
       statement and action it took since May 2007 (a period of well over 4 years) reaffirmed without a
25
       shadow of a doubt. The extension of the Facebook Platform continued to accelerate the massive
26
       economy Facebook had built. By January 2012, Facebook Platform had created 232,000 jobs in
27
     'he EU alone, amounting to $ 15.3 billion of value to the European economy. By February 2012,
28
                                                           21
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     1     250 million people were playing games on Facebook Platform each day (that is 12 times more

     2     people than the average viewership of American Idol, the highest-rated TV show in the history of

     3     television). By April 2012, 7 of the 10 highest grossing apps in the Apple App Store werc built on

 4         Facebook Platform. (See http: //mashable.corn/2012/05/24/facebook-developer-platform-

 5         infographic/¹fDCxuACag5qr.) It should be noted, in large part due to its long-term commitment

 6         to the Facebook Platform, Facebook exceeded            1   billion users in 2012.

 7                   68.       By April 30, 2014, at the 2014 F8, having accumulated over 1.3 billion users,
 8       'acebook decided that certain parts of this massive application ecosystem it had built (along with
 9         hundreds of thousands        of developers and billions of dollars of outside investment capital) were
10         better kept to itself. Despite having made this decision, Facebook made numerous promises that it

11         explicitly never intended to keep. Zuckerberg announced during his keynote: "This is gonna be a

12        different kind of F8. In the vast we'e had F8 w'hen we'e bad a big product announcement or

13,new direction we'were'Coins~ in.. This:alwavs:meant a lot of different chances-for vour alps.,Now
14        we'e focused on building a stable'mobil'e platform; You'rc'trvin'e to:build meat:-mobile:apns'and
15        busii~'e'sscs;:   A'nd w'o want to brihi~ this':.community.toietlier onc'e ver"vcar.t6'tall< about:all'the .

16        different':th'inzm were doinz to sunnott'-vou. %c'vc.heard:froin'. You'.that vou''w'aint'.to iae Faceboolc

17        Platform to do 3 things. Help vou build, mow and monetize vour alps.."

18                  69.        Thus, Zuckerberg reiterated the promise that Facebook had expressed to

19        developers unequivocally for over seven years now: that Faccbook is committed in the long term

20,to helping them build, grow and monetize their apps.
21                  70.        Zuckerberg continued: '!As I said'we'.re reall'v.'focused:on', building';a stable"mobile

22        platform. And one thing vou mav not know, is tliat all of our mobile a@vs axe built on top of the

23       .verv same platform and APIs that vou,guvs use when vou're writing Facebook and all our

24,engineers            use the same tools and read all the same documentation that vou do.... It's reallv.

25       .i'mpo'rtant,for vou"an'd for all''of our teams internallv.fhat w'e"build.stable and.,cffici'ent

26        'in&astructure.tlult vou can rely on for the long~ term. So tlus:has been areallv'big focus for us.... I

27        want to start today bv going through a few thini~s we'e doine to make our platform even more

28        stable and reliable for vou to build, grow and monetize your apps, You want to be able to build
                                                           22
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     1        somethine and know that it's Lonna be able to work for a while. So todav for the first time we'e

 2            introducing a 2-'vear.stabilitv puarantue for- all. of our. core API platforms...so even ifwe chango

 3            these core APIs in the future. we're:i~uaranteeing that we'e going.to keen supporting them as is

 4            for at least two years and maybe longer from the time we make that'.change; We'e still.gonna
 5           'experiinent with new features and diffeicist:thihes but wc're':iioi>na''mark them as beta'so vou

 6            know what's gonna be'gait.of this core stable platform. We'e also introducing API versioning

 7           This is something we want to make sure that all the apps we wrote two'vears,'apo keen workinp.

 8           Th'is is sonfcthi~ii" w'e w'an'te'd.in'teinallv'as we"build;6n.'this.ulat'form,.so'isow eVerythiiij~ is gonna':

 9           be versioned so vou set to decide which version of the API.vou.get to build against."

10                   71.      Accordingly, Zuckerberg made at least four promises that: (1) Facebook continues
             to provide a level playing field to developers where developers use the same tools as Facebook

12           employees to develop apps; (2) Facebook continues to be committed in providing developer

13           'access "that you can rely on for the long term"; (3) Facebook promises that for all of its core API

14           endpoints it will guarantee their stability for no less than two years going forward; (4) Facebook

15           promises that it will let developers choose which version of the API they would like to access as

16           'it introduces API versioning ("This is something we want to make sure that all the apps we wrote

17           two years ago keep working. This is something we wanted internally as we build on this platfoiin,

18           so now everything is gonna be versioned so vou'e~t:to d'ee'ide which version of the API you get to

19           build against.").
20                   72.      Many developers initially applauded Zuckerberg's 2-year stability guarantee and

21           the ability to let developers choose which version of the API to build against. One blogger

22           applauded Facebook's commitment to developers in noting: "Facebook co-founder and CEO

23       .
             'Mark Zuckerberg announced a two-year stability guarantee for all of the company's core APIs

24           and platforms. In fact every API launched by Facebook will now be versioned, and developers

25           will be able to choose which version to build on." (See
26           http: //thenextweb.corn/facebook/2014/04/30/facebook-announces-two-year-stability-guarantee-

27           core-apis-sla-fix-major-bugs-within-48-hours/¹gref ) TechCrunch and many other bloggers also

28           reported on the API Guarantee, stating that developers         "willbe able to build with confidence
                                                                   23
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 1   knowing that a core API will be available for at least two years". (See

 2   http: //techcrunch.corn/2014/04/30/facebook-api-guarantee/.)
         VIII.,FACKBOOKTlIL<"NIMPLEMENTED POLICIES THAT DEPARTED
               ,RADICALLYFROM ZUCI<KRBKRG'8;ANNOUNCKMKNTAT FS 2014

             73.     Unfortunately for the Developer community, Zuckerberg's announceincnt directly
 5
     contradicted the policy that Facebook immediately began implementing that very day.
 6
     Zuckerberg's statement that Developers, like Facebook employees, would be able to choose
 7
     which API to use was simply false, and he must have known this statement to be false at the time
 8
     he made it as only hours later Facebook sent Developers a notice that the Graph API they had
 9
     come to rely on and upon which Facebook had enticed them to invest billions of dollars around
10
     was to be permanently retired in one year. Zuckerberg explicitly omitted and contradicted the
11
     one-year lifespan of Graph API during his keynote address. But given that Zuckerberg's
12
     announcement and the notice to developers occurred on the very same day, Zuckerberg must have
13
     known of this change while making his statements and approved of such changes in advance.
14
             74.     Moreover, the 2-year stability guarantee turned out not to apply to the original
15
     Graph API and only to future APIs. Thus Facebook pulled the rug out from under the Developer
16
     community and took full econoinic advantage of the ecosystem Developers had built, but
17
     Zuckerberg's keynote address still generated sound bites consistent with his previous
18
     representations that Facebook was maintaining a fair and level playing field for Developers.
19
     Zuckerberg was forced to make statements he knew at the time to be false precisely because it
20
     was obvious to everyone in the developer community, especially Zuckerberg, that Facebook had
21
     for seven years been making clear and unambiguous promises to developers that they could rely
22
     on Facebook Platform over the long term to provide a fair playing field and to enable developers
23
     to build businesses.
24
             75.     Finally, Graph API explicitly removed endpoints that were of high value to
25
     Developers, like the ability to access Photos, which for years Facebook had touted as one of its
26
     most valuable and highly trafficked features in order to entice developers to build applications.
27
     Facebook's only justification for removing access to photos was that this endpoint was "rarely
28
                                                      24
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     1   used", which contravenes every public stateinent Facebook had previously stated for over seven

     2   years in which Photos were consistently touted as its   ¹I application and driver of user
     3   engagement, an application that captured more photos and traffic than the next three photo sites

     4   on the Internet combined.

     5           76.       Facebook's behavior of intentionally inducing Developers to build Facebook's

     6   business and then pulling the rug out from under them is a repeated pattern in Facebook's growth

     7   stoiy. It is not an isolated incident simply related to Graph API versioning and the thousands of

     8   developers, like 643, whose businesses were destroyed by this bait and switch tactic.

 9               77.       As an example, Facebook recently executed another bait and switch tactic that

10       caused thousands     of Developers to go out of business and lose countless millions of dollars of
11       enterprise value and capital investment. At the same time that Zuckerberg pulled the rug out from

12       Developers using photos and other endpoints in the Graph API at F8 2014, he also announced

13       Facebook's acquisition and reliance on Parse as its new preferred tool for developers to build on

14       Facebook Platform. Parse was a popular development platform for creating applications for

15       Facebook, which handled much of the back-end functionality of such applications, allowing

16       Developers to focus on features that matter to users. Zuckerberg stated in the same keynote where

17       he announced the Graph API 2.0: "One of the'things we'e really excited about offering is

18       Parse...We make it easy to focus on your app, the thing that will get you users and make you

19       money...and Parse takes care of all the rest." A Facebook employee who followed Zuckerberg on

20       stage went on to note that they had expanded the free tier to make it easier to grow on Parse,

21       giving developers "unlimited requests, unlimited recipients, free analytics". Zuckerberg then
22       finished his thoughts on Parse by saying "We'e excited, we'e aligned with your app, and we

23       hope that it does get huge."

24              78.       As a result of this and many other similar statements and actions by Facebook,

25       hundreds of thousands     of Developers began using Parse to build applications on Facebook
26       Platfoim. Parse's platform on Facebook states: "From startups to the Fortune 500, hundreds of

27       thousands    of developers trust us."
28
                                                           25
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 1               79.    Then, abruptly, on January 28, 2016, Facebook announced that Parse would be

 2       shutting down: "We have a difficult announcement to make. Beginning today wc're winding

 3       down the Parse service, and Parse will be fully retired after a year-long period ending on January

 4       28, 2017. We'e proud that we'e been able to help so many of you build great rnobilc apps, but

 5       we need to focus our resources elsewhere." The statement continues: "We understand that this

 6       won't be an easy transition... We know that many of you have come to rely on Parse, and we are

 7       striving to make this transition as straightforward as possible."
 8.              80.    Many developers immediately commented on the devastating effect this would

 9   .   have on their app, business and investment in the Facebook Platform. One developer wrote:

10       "@Parselt Wow... Have spent months optimizing my app with your service to launch soon, and

11       now this... Seems sudden... ¹utterlydisappointed." Another: "@Parselt it would be nice to hear a

12       little bit more about the need to focus your resources elsewhere." "@ParseIt my app had 2.5M

13       users on your platform...this is sickening."

14               81.    The incident with Parse demonstrates    a continued clear pattern on the part of

15       Facebook to make clear and unambiguous promises to developers, to engage in conduct that

16       induces developers to make substantial investments of time and money (a11 of which helped make

17       Facebook one of the most valuable companies in the world today), and then Facebook seems to

18       think that it can violate these promises with impunity the moment it becomes convenient for them

19       to do so.

20           IX. PLAINTIFF 643'.RECEIVED NOTICE FROM FACEBOOK THAT ITS APP
                   WOULD NO'LONGER EUNCTION
21
                 82.    On January 20, 2015, Facebook sent an email to 643 stating that 643 must
22
         "upgrade" the App to Graph API v. 2.0 by April 30, 2015. The email stated that Facebook would
23
         end third-party access to the Friends'hotos Endpoint on April 30, 2015. The App will not
24
         function at all without access to the Friends'hotos Endpoint, so Facebook's suggestion that 643
25
         "upgrade" the App to Graph API v. 2.0 was not possible.
26
                 83.    By deciding to end access to the Friends'hotos Endpoint, Facebook has made it
27
         impossible for 643 to continue to operate the App, to abide by the license agreements and
28
                                                           26
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     1    purchase terms entered into by 643 with its users, and for 643 to recoup any of its investinent of

 2        capital, huinan labor, time, effort, and energy.

 3                84.     643 has sold approximately 5,000 copies of the App since its beta launch. A

 4        substantial portion of App users have paid for premium access. 643 was not able to execute its

 5        full public launch as a result of Facebook's decision.
 6                85.     Each one of the. App users entered into a license agreement with 643.

 7                86.     Facebook requires Developers to enter into license agreements with users of

 8        applications for Facebook. These license agreements must, among other things, require that the

 9        users of these applications adhere to Facebook's terms of service.

10                87.    Accordingly, Facebook knew, or had reason to know, about the existence of 643's

11        license agreements with its users.

12                88.    Had Facebook refrained from ending access to Friends'hotos Endpoint, 643

13        could have quickly begun to generate hundreds of thousands      of dollars of revenue on a monthly
14       basis.

15                89.    In total, 643 expended approximately $ 1.15 million in capital and uncompensated

16;labor by its team members in developing and marketing the App.
17                90.    643 attended Facebook events for Developers and made known the harm caused

18       verbally and via email to the appropriate Facebook employees.

19                91.    Faced with the imminent loss of its investment, 643 wrote to Facebook on March

20       16, 2015, and informed Facebook that its decision to discontinue access to the Friends'hotos

21       Endpoint would harm 643 in several ways. 643 informed Facebook that it had reasonably relied

22       on Facebook's representations that the endpoints would remain open, and that Developers would

23       .have an equal opportunity to integrate applications into the social graph.

24                92.    643 requested that Facebook continue to permit Developers to have access to the

25       Friends'hotos Endpoint.
26                93.    643 alerted Facebook to the considerable harm it would suffer should access be cut

27       off. 643 also noted that some of its users had entered into subscriptions that extend beyond the

28       .April 30, 2015, cut-off date, and that these users could be entitled to refunds of their purchases.
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               94.    Thus Facebook had actual knowledge of the contracts 643 had entered into with its

 2     users. In addition, Facebook had actual knowledge of the prospective economic relationships 643

 3     expected with its users, as well as Facebook users generally.

 4            95.     On or about April 30, 2015, Facebook did end access to the Friends'hotos

 5     Endpoint.

 6            96.     As a result of Facebook ending access to the Friends'hotos Endpoint, the App no

 7     longer functions.

 8            97.     On information and belief, Facebook has been working on its own applications

 9    'using image recognition.

10            98.     On June 15, 2015, less than two months after closing access to the Friends'hotos

11     Endpoint for Developers, Facebook announced the launch of "Moments," which allows users to

12     "sync" photos they have taken with their friends and, using Facebook's facial recognition

13     soAware, allows users to search photos that their friends have shared with them. See

14     http: //newsroom.fb.corn/news/2015/06/introducing-moments/      (last accessed October 27, 2015).

15            99.     Instagram is an on-line photo sharing service that Facebook acquired in 2012.

              100.    In June 2015, just two months after Facebook closed access to the Friends'hotos

17     Endpoint, Instagram announced enhancements to its Search and Explore features, which allow

18     users to search through photos that have been shared with that user on Instagram.

19            101.    On information and belief, in addition to 643, other Developers have been

20,adversely impacted by Facebook closing access to certain endpoints of Graph API, including
21   'riends'hotos.
22            102.    On September 21, 2015, the Wall Street Journal reported that Facebook's decision

23    to restrict access to Graph API has caused a drug addiction researcher to halt his research efforts,

24    shut down a voter-registration tool used by the 2012 Obama campaign, and decommissioned an

25    app designed to help first generation college students connect with one another. Deepa

26    Seetharaman % Elizabeth Dwoskin, "Facebook's Restrictions on User Data Cast a Long Shadow;

27    Curbs disrupt startups, academic research and even political strategy"," THE WALLSTREET J.,

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          Sept. 22, 2015, at B1 (available at

     2    http: //www.wsj.corn/articles/facebooksrestrictionsonuserdatacastalongshadow1442881332).

     3           103.      The Wall Street Journal also reported in the same article that Facebook reached an

     4    unspecified compromise with dating app Tinder that permitted some form of access to photos of

     5   mutual friends.

     6           104.      Facebook has not offered 643 a coinprornise that would permit the App to function

 7        and even   ifFacebook were to make such an offer, the harm to 643 is irreparable as its team
     8   members have moved on to new employment and its code has been fully retired.

 9               105.      Instead, the only proposed teclinical "fix"by Facebook was to create an offline,

10, searchable cache of Facebook's users'hotos. But this solution (1) on its face violates
         Facebook's own terms, (2) would not permit the App to function as originally intended and in the

12       same manner it had been, and (3) could result in a grave and substantial abuse of user trust,

13       violate user privacy, and gut the core principle of an individual's ownership and control of their

14       own data.

15               106.      Facebook did not terminate access to the Friends'hotos Endpoint for the purpose

16       of enhancing user privacy, as users already possessed    complete control over such data. Instead, it

17       took these actions for the purpose of improperly monopolizing for itself the ability to access the

18       data previously accessible through the Friends'hotos Endpoint and other terminated endpoints,

19       and to create applications based on those data. As a result of these actions, users now have less

20       control over this data. They are not permitted to share it with other applications they trust but only

21       .with Facebook.

22               107.      In sum, Facebook acts as a platform when it wants to exploit Developer creativity

23       and resources, and a monopolist when it wants to secure areas of the ecosystem for itself once

24       developer creativity and resources have been invested.

25               108.      As set forth above, Facebook made repeated, clear, and unambiguous promises

26       upon which many developers, including 643, relied, over a period of more than seven years, and

27       which were broken by Facebook. These broken promises directly and substantially harmed 643,

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      nullifying its investment of time and money and making it impossible to generate revenues and
 2    profits.

 3.              109.   Facebook deliberately baited, induced, and enticed (through countless promises in

 4    both words and conduct) developers to help turn Facebook from a website that had raised $ 37

 5    million and secured 24 million users to a company that is now one of the most valuable

 6    enterprises in the world.

 7       COUNT I: VIOLATIONOF BUSINESS AND PROFESSIONS:CODE~'85.1 7200 et sea.
                               [Against all Defendants]
                 110.   643 re-alleges and repleads paragraphs   1   through 109 as though set forth fully
 9
      herein.
10
                 111.   Facebook's representations and conduct were designed to, and did, entice 643 and

      other Developers to create applications for Facebook with promises of, ainong other things, a
12
      level playing field, fair competition, and a chance to build a business. Facebook decided to open
13
      'certain endpoints, and not others, precisely to induce developers to build certain types of
14
      applications, including advanced photo-searching applications. Facebook promised Developers
15
      that their own advanced photo-searching applications would be treated on a level playing field
16
      with any photo-searching applications Facebook decided to launch in the future. Facebook also
17
      promised developers it was committed over thc long term to enable Developers to build
18
      businesses using advanced photo-searching applications.
19
                 112.   Facebook caused substantial harm to 643 and other Developers when it then
20
      decided to terminate Developers'bility to build advanced photo-searching applications, while
21
      retaining its own ability to create these kinds of applications, because 643, like other Developers,
22
      had invested considerable time and resources in developing this kind of application for Facebook.
23
                 113.   The efforts by 643 and other Developers helped to drive user adoption of
24
      Facebook by enhancing user experience, thus creating substantial additional revenue and user
25
      base for Facebook's benefit.
26
                 114.   In addition, Facebook took advantage of the market research and development
27
      efforts by 643 and other Developers, which proved that advanced photo-searching applications
28
                                                        30
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     1   represented a massive market, perhaps one of the most attractive markets to help Facebook grow

     2   its revenues going forward, as evinced by Facebook's recent announcement       of "Moments", its
     3   own photo searching application (see "Facebook Moments is a Smarter Photo App —Much

 4        Smarter, in Wired Magazine, June 15, 2015, http: //www.wired.corn/2015/06/faccbook-

     5   moments/).

 6               115.    Facebook's decision to end access to the Friends'hotos Endpoint does not

 7       enhance user privacy because the App could only sort through photos that had already been

 8       shared with the App user and the App user and the user's friends had full control over which,    if
 9       any, developers were permitted to access their photos.

10               116.    Instead, by ending Developer access to the Friends'hotos Endpoint, Facebook

         has monopolized for itself the ability to create applications capable of searching or sorting photos,

12       which harms consumers, Developers, and competitors.

13               117.    No countervailing benefits to competition or consumers stemming from

14       Facebook's representations and conduct exist.

15               118.    The harm to 643 and other Developers by Facebook's representations and conduct

16       outweighs the reasons, justifications, or motives for the representations and conduct by Facebook.

17               119.    643 could not have reasonably avoided its injury because Facebook only

18       announced its decision to terminate access to the Friends'hotos Endpoint after 643 had made

19       considerable investment and Facebook had approved the App.

20               120.   643 also requested that Facebook not end access to Friends'hotos Endpoint, but

21       Facebook did not change its decision.

22               121.   Facebook's actions thus constituted an unfair business practice under California's

23       Unfair Business Practices Act.

24               122.   Facebook's decision to end access to the Friends'hotos Endpoint was also

25       unlawful.

26               123.   In taking the actions alleged herein, Facebook acted with fraud, malice and

27       oppression, and in reckless disregard of the rights of 643.

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     1             124.     643 suffered substantial injury as a result of Facebook's actions, including the loss

  2      of its investinent in developing the App and lost revenue.
  3                125.     Accordingly, Facebook is liable to 643 for violation of California's Unfair

  4      Business Practices Act.

  5                126.     As a proximate result of the acts and conduct of Facebook herein alleged, 643 has

  6      found it necessary to engage attorneys, and incur attorney's fees, and will continue to incur

  7      attorney's fees, in an unascertained ainount to be established according to proof following the

  8      conclusion of trial.

                                            COUNT II: PROMlSSORY ESTOPPEL,
                                                 [Against all Defendants]
 10
                   127..    643 re-alleges and repleads paragraphs   1   through 126 as though set forth fully

         herein.
12
                   128.     Facebook clearly and unambiguously promised that:
13
                       a.   Developers would be able to integrate their applications into Faccbook's social
14
                            graph;
15
                       b. Developers would have the same access to integration of their applications as
16
                            Facebook;
17
                       c.   Developers could easily access Graph API objects;
18
                       d.   Facebook would suppoit Developers in achieving mass distribution of Developer

                            applications;
20
                       e.   Facebook would provide adequate tools for developers to build their applications;
21
                       f.   Developers would be able to build a business on Facebook Platform;
22
                       g.   Developers would be able to monetize their applications on Facebook by selling
23
                            ads on their application pages;
24
                       h.   Developers would be able to build applications on a fair, level playing field;
25
                       i.   Developer applications would not be "second class citizens" compared to
26
                            Facebook's own applications;
27


                                                              32
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                  j. Developer applications that compete with Facebook applications would be
                         welcome; and

                      k. As long as Developer applications abided by Facebook Terms of Service,

                         Facebook will be neutral as to these applications.

 5             129.      643 invested considerable capital, labor, time, and effort into developing the App

 6   in reliance on these promises.

               130.      643's reliance was reasonable because Facebook had consistently made these

 8   representations for seven years without ever stating that it could prevent Developers from

 9   building the specific kinds of applications Facebook was enticing them to build all along.

10             131.      643's reliance was foreseeable by Facebook.

               132.      643 was injured as a result of its reliance on Facebook's promises, which

12   Facebook did not keep, in an unascertained amount in excess of $ 25,000.00, to be established

13   according to proof at trial.

14             133.      Accordingly, Facebook is liable to 643 for damages.

15                            .COUNT III: NEGLIGENT MISREPRESENTATION
                                           [Against all Defendants]
               134.      643 re-alleges and repleads paragraphs   1   through 133 as though set forth fully
17
     herein.
18
               135.      Facebook represented that
19
                  a.     Developers would be able to integrate their applications into Faccbook's social
20
                         graph;
2]
                  b.     Developers would have the same access to integration of their applications as
22
                         Fac cbook;
23
                  c.     Developers could easily access Graph API objects;
24
                  d.     F acebook would support Developers in achieving mass distribution of Developer
25
                         applications;
26
                  e.     Facebook would provide adequate tools for developers to build their applications;
27
                  f.     Developers would be able to build a business on Facebook Platform;

                                                          .33
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     1                   g.   Developers would be able to monetize their applications on Facebook by selling

                              ads on their application pages;

     3                   h.   Developers would be able to build applications on a fair, level playing field;

                         i.   Developer applications would not be "second class citizens" coinpared to

                              Facebook's own applications;

     6                  j. Developer applications that compete with Facebook applications would be
                              welcome; and

     8                  k. As long as Developer applications abided by Facebook Terms of Service,

                              Facebook will be neutral as to these applications.

10                136.        Such representations were untrue, because Facebook later claimed that it had

         retained for itself the right to terminate the Friends'hotos Endpoint, and did close the       Friends'2




         Photos Endpoint to Developers, while Facebook kept for itself the ability to develop applications

13       that access photos.

14               137.         Regardless   of its actual belief, Facebook must have made those representations
15       without any reasonable ground for believing the representations to be true.

16               138.         Facebook conveyed the representations in a commercial setting for a business

17       purpose, namely inducing Developers to develop applications for Facebook.

18       '39.                 Facebook made those representations with the intent to induce Developers,

19       including 643, to develop applications, including the App, that used the Friends'hotos endpoint,

20       thereby adding features to Facebook, enhancing Facebook's functionality and user experience,

21       and generating more revenue for Facebook.

22               140.         643 was not aware that Facebook's representations were false, and 643 developed

23       the App in reliance on the truth of Facebook's representations.

24               141.         643's reliance on the truth of Facebook's representations was justified because

25       Facebook had consistently made these representations for seven years without ever stating that it

26       could prevent Developers from building the specific kinds of applications Facebook was enticing

27       them to build all along.

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                                                                34
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                    142.     643 was injured as a result of its reliance on Facebook's representations, in an

     2    unascertained amount in excess of $ 25,000.00, to be established according to proof at trial.

                    143.     In taking the actions alleged herein, Facebook acted with fraud, malice and

     4    oppression, and in reckless disregard of the rights of 643

                    144.     Accordingly, Facebook is liable to 643 for damages.
                           COUNT IV: INTENTIONAL'INTE<RF<ERKNCE.WITHCONTRACT.,
                                            [Against all Defendants]
                    145.     643 re-alleges and repleads paragraphs   1   through 144 as though set forth fully

         herein.

                    146.     643 had entered into license agreements and subscriptions for premium access
10
         with its users.
11
                    147.     Facebook knew of these license agreements and subscriptions.
12
                    148.     Facebook intentionally interfered with and disrupted these contracts when it stated

         that it would end 643's access to the Friends'hotos Endpoint on April 30, 2015, despite

         knowing that interference with these contracts would be certain or substantially certain to occur
         as a result of Facebook's act in ending 643's access.
16
                   149.     Facebook further intentionally interfered with and disrupted 643's contracts with
17
         its users when it did terminate 643's access to the Friends'hotos Endpoint on Apll'1 30 2015
18
         despite knowing that interference with these contracts would be certain or substantially certain to

         occur as a result of Facebook's act in ending 643's access.
20
                   150.     643's contract with its,users was thereby disrupted by Facebook.
21
                   151.     As a result, 643 has suffered and will suffer damage in an unascertained amount in

         excess    of $ 25,000.00 to be established according to proof at trial.
23
                   152.     In taking the actions alleged herein, Facebook acted with fraud malice and
24
         oppression, and in reckless disregard of the rights of 643.
25
                   153.     Accordingly, Facebook is liable to 643 for damages.
26

27

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                                                             35
         Case No. CIV 533328               Plaintiff's Second Amended Complaint for Injunction and Damages
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                              COUNT V: INTENTIONALINTERFERKNCK WITIX
                                  PROSPECTIVE BUSINESS RELATIONS
                                          [Against all Defendants]
                  154.   643 re-alleges and repleads paragraphs    1   through 153 as though sct forth fully

    4   herein.

    5             155.   643 had an expectation of economic benefit from third parties, including its users

    6   who downloaded the App and other Facebook users who may have downloaded the App if643

    7   had marketed the App as it planned.

                  156.   Facebook knew of 643's relationship with the users of the App, and knew of 643's

    9   plans to market the App.

10                157.   Facebook intentionally disrupted these relationships when it announced that it

11      would end 643's access to the Friends'hotos Endpoint on April 30, 2015, despite knowing that

12      interference with these relationships would be certain or substantially certain to occur as a result

13      of Facebook's act in ending 643's access.
14                158.   Facebook further intentionally interfered with and disrupted 643's relationships

15      with its users when it did terminate 643's access to the Friends'hotos Endpoint on April 30

16      2015, despite knowing that interference with these relationships would be certain or substantially

17      certain to occur as a result of Facebook's act in ending 643's access.

18                159.   643's relationship with its users was thereby disrupted, and will be further

1   9   disrupted.

20                160.   As a result, 643 suffered dainage in an unascertained amount in excess of
21      $ 25,000.00 to be established   according to proof at trial.

                  161.   In taking the actions alleged herein, Facebook acted with fraud, malice and

23      oppression, and in reckless disregard of the rights of 643.

24                162.   Accordingly, Facebook is liable to 643 for damages.

25                                            JURY. TRIAL DEMAND.

26                163.   643 demands a trial by jury on all claims so triable,

27

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                                                            36
        Case No. CIV 533328             Plaintiffs Second Amended Complaint for Injunction and Damages
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                                           PRAYER FOR RELIEF
                     WHEREFORE, Plaintiff 643 asks this Court to enter judgment against Defendant

  3   Facebook, Inc., as follows:

  4          A.      A judgment or order declaring Facebook's conduct, as alleged, unlawful under
  5   California's Unfair Business Practices Act;

  6          B.      A judgment, order, or award of damages adequate to compensate 643;
  7          C.      A permanent injunction prohibiting Facebook from removing Developer access to

  8   the Friends'ser Photos Endpoint;

  9          D.      A permanent injunction prohibiting Facebook from interfering with 643's
10    contracts or prospective business relations;

 11          E.      An award of its reasonable attorneys'ees and costs;

12           F.      Punitive damages and/or treble damages     as provided by California's Unfair

13    Business Practices Act; and

14           G.      Such other further relief as this Coute or a jury may deem proper and just.

15

16,Dated: February 26, 2016                          CRITERION LAW

17                                                   BIRNBAUM& GODKIN, LLP

18

19
                                                           Basil P. Fthm<6; Esq.':
20                                                         David S. Godkin (admitted pro hac vice)
                                                           Andrew A. Caffrey, III (admitted pro hac vice)
21                                                         Attorneys for Plaintiff
                                                           Six4Three, LLC
22

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                                                      37
      Case No. CIV 533328           Plaintiff's Second Amended Complaint for Injunction and Damages
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                           EXHIBIT 1
                           EXHIBIT
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                                      f8 Event and Facebook Platform FAQ


What is f8?
f8 was an event held at the San Francisco Design Center on May 24, 2007, during which Mark Zuckerberg
unveiled the next evolution of Facebook Platform. The event included an eight-hour "hackathon," where both
Facebook engineers and outside developers collaborated on building new applications on the new Facebook
Plafform.

What is a "hackathon"?
A hackathon is an all-night coding event during which Facebook engineers work on any project that interests
them. Facebook uses the word "hackathon" to refer to a gathering of engineers, who possess technical expertise
and collaborate on innovative projects. Facebook has a tradition of holding frequent developer hackathons, which
have spawned some of the most popular features and applications on the site.

What is Facebook Platform?
Facebook Platform is a development system that enables companies and developers to build applications for the
Facebook website, where all of Facebook's 24 million active users can interact with them. Facebook Platform
offers deep integration into the Facebook website, distribution through the social graph and an opportunity to build
a business.

What is the social graph?
The social graph is at the core of Facebook. It is the network of connections and relationships between people on
Facebook and enables the efficient spreading and filtering of information. Just as people share information with
their friends and the people around them in the real world, these connections are reflected online in the Facebook
social graph.

What is a Facebook application?
A Facebook application uses Facebook Plafform to access information from the social graph, offering users an
experience that's relevant to them. Facebook applications can plug into the Facebook website in a number of
ways: applications can be embedded on users'rofile pages, reside on their own separate pages (called "canvas"
pages), or live through desktop applications using data from the Facebook social graph.

What's new in Facebook Platform?
We'e been adding functionality since Facebook Platform first shipped in beta in August 2006. With the latest
evolution of Facebook Platform however, third-party developers can now create applications on the Facebook site
with the same level of integration as applications built by internal Facebook developers. Now developers
everywhere have the ability to create Facebook applications that deeply integrate into the Facebook site, as well
as the potential for mass distribution through the social graph and new business opportunities.

Why did Facebook launch Facebook Platform?
Our engineers have created great applications for Facebook, but we recognized that third-party developers can
help us make Facebook an even more powerful social utility. Facebook Platform gives developers everywhere the
tools to create applications that we just wouldn't have the resources to build in-house, and those applications
make Facebook an even better way for our users to exchange information. Developers also benefit from
Facebook Platform as it gives them the potential to broadly distribute their applications and even build new
business opportunities.

What kinds of applications can be built on Facebook Platform?
The kinds of applications developers can build on Facebook Platform are limited only by their imaginations.
Because applications are based on the Facebook social graph they can be more relevant to users, keeping
people in touch with what and whom they care about. We'e already seen a variety of applications built by our
developer partners, including those for sharing media files, book reviews, slideshows and more. Some of the

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possibilities of Facebook applications are illustrated in the Facebook Platform Application Directory, available at
http: //www.facebook.corn/apps.

Are there any restrictions on what developers can build?
Developers are encouraged to exercise their creativity when building applications. Of course, all applications are
subject to the Terms of Service that every developer agrees to, which include basic requirements such as not
storing any sensitive user information, not creating any offensive or illegal applications, and not building anything
that phishes or spams users. And users will always have the power to report any applications that compromise
Facebook's trusted environment, keeping our users'nformation safe.

What are the benefits of Facebook Platform for users?
With Facebook Platform, users gain the ability to define their experience on Facebook by choosing applications
that are useful and relevant to them. Now that they have access to a virtually limitless set of applications from
outside developers, users have an unprecedented amount of choice. They can share information and
communicate with their trusted connections in ways that would never have been possible before Facebook
opened its platform.

How do users add applications to and remove applications from their account?
lf a user sees an application she likes on a friend's profile, she can add it to her account by clicking the "Add" link
on the application's profile box. She can also add new applications by navigating to the application's specific
page in the Facebook Platform Application Directory and clicking "Add Application" in the top-right corner. To
remove an application, she first clicks "Applications" on the left navigation bar. From there, she can "Remove" any
of the applications in her account, whether they are built by a developer partner or by Facebook.

What are the privacy controls for Facebook Platform, and what kind of user information can be shared?
On Facebook, users are always in control of their information and can choose how much of their information is
made available to specific applications. With Facebook Platform, we'e offering additional privacy controls and
                                                                                 —
requiring that third parties treat user information with the same respect we do and our users have come to
expect. Users can also choose to completely opt out of making their data available through Facebook Platform.
Applications can never violate users'asic privacy settings and are meant to provide users with a better
opportunity to share their information with their friends and networks.

What do third-party applications do with user information?
Applications built by third parties are required to respect Facebook users'rivacy preferences. Third-party
applications allow users and their friends to share information in new ways, without affecting the security and
privacy that they'e always enjoyed on Facebook.

How many applications are there for Facebook Platform?
At f8, we are launching with over 85 applications from more than 65 developer partners, and that's only the
beginning. We'e encouraging interested developers everywhere to create Facebook applications. We have no
limits on the number of applications that can be created.

What differentiates Facebook applications from widgets on other sites?
Facebook applications are deeply integrated into the site and take advantage of the network of real connections
                                                           —
through which users share information and communicate what we call the "social graph." Widgets are typically
single-purpose Flash add-ons to-a web page (i.e, displaying a single video) that are not fully integrated into a site
nor are aware of the social context among users.

How will Facebook maintain its minimalist style if users can add and move applications around on their
profile?
We'e giving our users the choice to add applications and control their placement in their profiles, but we'e not
changing the essential layout and familiar style of the Facebook site. Facebook applications are focused on
providing new ways to spread information on Facebook, not about redesigning the way a profile looks. For
example, users will not be able to change the site background, add music that plays when their profiles load, or

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insert animation into their profiles. Individual applications may play media, music or animations but only when a
visitor to that profile interacts with them.

How will Facebook deal with applications that compete with one another or even compete with Facebook-
built applications?
We welcome developers with competing applications, including developers whose applications might compete
with Facebook-built applications. Many applications are likely to offer similar features. We'e designed Facebook
Plafform so that applications from third-party developers are on a level playing field with applications built by
Facebook. Ultimately, our users will decide which applications they find most useful, and it is these applications
that will become the most popular.

How will Facebook monetize Facebook Platform?
All the great applications built by our developer partners provide a service to our users and strengthen the social
graph. The result is even more engaged Facebook users creating more advertising opportunities.

Can Facebook applications include ads?
We want to enable developers to build a business on their Facebook applications, so we'e giving developers the
freedom to monetize their applications as they like. Developers can include advertising on their      applications'anvas




       pages, though no advertising will be allowed within the application boxes that appear within user profiles.

Are you going to share revenue with developers?
While revenue sharing is not available at launch, we are looking into ways to share advertising revenue with
developers. This version of Facebook Platform already lets developers monetize their applications as they like,
whether they choose to offer it for free or build a business on their application.

What are the key technical elements of Facebook Platform?
Facebook Platform offers several technologies that help developers use data from the social graph. In addition to
the Facebook API, this recently launched version of Facebook Platform introduces Facebook Markup Language
(FBML), which enables developers to build applications that deeply integrate into the Facebook site. Facebook
Platform also includes Facebook Query Language (FQL), which lets developers use a SQL-style interface to
query the data they can access through the API.

For more details on the technology behind Facebook Plafform, check out the Facebook Developer site at
http: //developers.facebook.corn.

                                                        ¹¹¹




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     ALANH. PACKER, SBN 124724
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     1333 N. CALIFORNIABLVD.
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     WALNUTCREEK, CA 94596
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Attorney for: Plaintiff
Insert name of Court, and Judicia!Disttict and Branch Court:
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     Superior Court Of The State Of California - Countv Of San Mateo
Plaintiff: BUTLER REALTY, LLC
Defendant: CALIFORNIACAPITAL INSURANCE COMPANY
       PROOF OF SERVICE                      Hean'ng Date:             Time:           Dept/Dint                           Case Nutnbet:

              SUMMONS                                                                                                       CIV536982
I. At the time ofsetvice I was at least 18 years of age and»ot a party to this action.

2.    I served copies of the SUMMONS; CIVILCASE COVER SHEET; COMPLAINT; ADR INFORMATIONPACKET; NOTICE OF
      CASE MANAGEMENTCONFERENCE

3. a. Party served:                                                    CALIFORNIACAPITALINSURANCE COMPANY-
                                                                       DAVIS TINDALL,AGENT FOR SERVICE OF PROCESS
      b. Person         setved:                                        MICHAELJOHNSON, CONTROLLER. AUTI-IORIZEDTO ACCEPT SERVICE
                                                                       OF PROCESS.

4. Address whet e the party was served                                 2300 GARDEN ROAD
                                                                       MONTEREY, CA 93940
5.    I se>ved the party:
      a. by personal     service. I personally delivered the documents listed in item 2 io the party or person authorized to receive
           process for the party (1) on: Thu., Jan. 21, 2016 (2) at: 9:22AM

6. The "Notice to the Person   Setved" (on the Summons) was completed as follows:
          on behalf of: CALIFORNIACAPITAL INSURANCE COMPANY
          Under CCP 416.10 (corporation)

7.    Person FVlro Served Papers:                                                                            Recoverable Cost Pcr CCP 1033.5(a)(4)(B)
          a. HECTOR                 GARCIA                                           d.    The Fee for Setvice wast

                                        1511 West Beverly Blvd.                       e.   I am: (3) registered California process server
      ,    ~ 01'I,                      Les Angeles, CA90026                                          (i)   Independent Contractor
                                        Telephone     (213) 250-9111
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                                                                                                      (ii) Registration No.:
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                                                                                                                                     Monterey
                                        www.firstlegalnetwork.corn




8.        Ideclare under penalty ofperjury under the laws of the State of Ca                'ia       that the    'cgoing is true and correct.
      Date: Fri, Jan. 22, 2016

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 Rule 2.150.(a)em(b) Rev January 1, 2007
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         JOHN E. FERRY and KIRSTEN FERRY


          NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
          below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
         Online Self-Help Center ( /yM/t/t/courtinfo.ca.govisellhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
         the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
         may be taken without further warning from the court.
             There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofit groups at the California Legal Services Web site (wl/wtt/1aM/helpcalifomia.org), the California Courts Online Self-Help Center
         (wh/r/h/r/courtinfo.ca.govlselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitration award of $ 10,000 or more in a civil case. The court's lien must be paid before the court willdismiss the case.
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         corte y hacer que se entfegue una copia ai demandante. Una carta o una iiamada telefdnica no io protegen. Su respuesta por escrito tiene que ester
         en formato legal correcto si desea que procesen su caso en ia corte. Es posibie que haya Un fonnuiario que usted pueda Usar para su respuesta.
         Puede encontrar estos formuiarios de ia corte y masinformacidn en ei Centro de Ayuda de ias Cortes de California (www.sucorte.ca.gov), en ia
         biblioteca de leyes de su condado o en ia corte que ie quede        as   ceica. Si no puede pagar ia cuota de presentacidn, pida ai secretario de la corte
         que le dfs un formuiario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder ei caso porincumpiimiento y la corte le
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         programa de servicios legaies sin fines de lucio. Puede encontfar estos grupos sin fines de lucio en ei sitio web de California Legal Services,
         (www.lawhelpcalifornia.org), en ei Centro de Ayuda de ias Cortes de California, (www.sucorte.ca.gov) o ponitsndose en contacto con ia corte o ei
         coiegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reciamar las cuotas y los costos exentos porimponer Un gravamen sobre
         cuaiquier recuperacidn de $ 10,000 cS       as de valor recibida mediante Un acuerdo o Una concesidn de arbitraje en Un caso de de/echo civil. Tiene que
         pagar ei gravamen de la corte antes de que la corte pueda desechar ei caso.
        The name and address of the court is:
        (El nombre y direcci6n de la corte es): San Mateo Superior Court
        400 County Center                                                                                                                   CIV535965
        Redwood City, CA 94063
        The name, address, and telephone number of plaintifPS attorney, or plaintiffwithout an attorney, is:
        (El nombre, la direcci6n y el nf'Jmero de teldfono del abogado del demandante, o del demandante que no tiene abogado, es):
        John E. Ferry,ahtd JLhsatcatt/eny / P.O. Box 55621, Hayward CA 94545 / l650)                                    422~
                                                                                                                                                                        ,    Deputy
        (Fecha)                                                                          i Secretario)                                                  Pv     I            (Adjunto)
        (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
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                                          2.
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                                          NOTICE TO THE PERSON SERVED: You are served

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                                                  as an individual defendant.
                                                  as the person sued under the fictitious name of (specify):


                           4!'==-'.=-'= ~g,          ~        on behalf of (specify):

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                                                3.




                                           s
                                                     under:            CCP 416.10 (corporation)
                                                                       CCP 416.20 (defunct corporation)
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     Boston, MA02210
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 9
     James Kruzer (admittedpro hac vice)
l0   BIRNBAUM & GODKIN, LLP
     280 Summer Street
ll   Boston, MA02210
     (617) 307-6100
t2   kruzer @birnbaum godkin, c om

l3
     Attorneys for Plaintiff,
r4   SIX4THREE, LLC, a Delaware
     limited liability company
15

t6                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

t7                                          COLINTY OF SAN MATEO

l8
t9   SIX4THREE, LLC, a Delaware limited                    Case No. CIV533328
     liability company,
20                                                         PLAINTIF'F SIX4THREE LLC'S
                               Plaintiff,                  RESPONSE TO DEFENDANT
21                                                         FACEBOOK' INC.'S SPECIALLY
                                                           PREPARED INTERROGATORIES (SEÏ'
22                                                         T\ilO)
     FACEBOOK, INC., a Delaware
23   corporation and DOES l-50, inclusive,

24                             Defendant.

25

26

27

28


     case No,   533328   643 RESPONSE 1'O FACEBOOK'S SPECIAL INTERROGATORIES (SET TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 124 of 187



 I   PROPOUNDING PARTY:                        DEFENDANT FACEBOOK' INC.

 2   RESPONDING PARTY:                         PLAINTIFF SIX4THREE LLC
 3   SET:                                      ONE

 4             Plaintiff Six4Three, LLC ("643") hereby objects and responds as follows to the Specially

 5   Prepared Interrogatories (Set One) ("Special Interrogatories") propounded by Defendant

 6   Facebook, Inc. ("Defendant").

 7                                PLAINTIFF'S GENERAL OBJECTIONS
 I             Each and every Special Interrogatory is subject to the General Objections and limitations

 9   set forth herein ("General Objections"), in addition to the specific objections and limitations set

10   forth in the respective responses. The General Objections and limitations form part of the

il   Response to each Special Interrogatory and are set forth to avoid duplication for each response.

t2   643 makes the following General Objections to each Special Interrogatory:

13             1.      Responding Party objects to the Special Interrogatories to the extent they are

t4   unduly burdensome and oppressive in the context of this action'

l5             2.      Responding Party objects to these Special Interrogatories insofar as they seek

16   communications protected by the Stored Communications Act, 18 U.S.C, ${j 2701 , et seq.,

t7   ('oSCA"), which prohibits service providers from disclosing electronic communication content

l8   stored on a remote computing service.

t9             3.      Responding Party objects to these Special Interrogatories to the extent they seek

20   information subject to the SCA pertaining to Users.

2t             4.      Responding Party objects to these Special Interrogatories to the extent they seek

22   information 643 is legally or contractually prohibited from disclosing, including information that

23   would require Responding Party to breach a confidentiality contract, protective order, settlement,

24   or other duty to a third party to maintain confidentiality'

25             5.      Responding Party objects to these Special Interrogatories to the extent they are

26   unduly burdensome and oppressive in the context of this aotion.

27             6.      Responding Party objects to these Special Interrogatories to the extent they are

28   covered by the attorney-client privilege, settlement privilege, work-product doctrine, or other
                                                          -l-
     Case No, 533328             ó43 RESPONSE TO FACEI]OOK'S SPECIAL IN'IERROGATORfES
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 125 of 187



 I   applicable privilege. Any such documents will not be provided in response to these requests for

 2   production and any inadvertent production shall not be deemed a waiver of any privilege with

 J   respect to such documents or of any work-product protections attaching to such documents,

 4             7.       Responding Party objects to these Special Interrogatories to the extent they require

 5   disclosure of documents containing proprietary or confidential information, trade secrets, or

 6   information that may implicate third-party privacy rights.

 7             8.       Responding Party objects to these Special Interrogatories to the extent they are

 8   vague, ambiguous, unintelligible, overly broad, or harassing,

 9             9.       Responding Party objects to these Special Interrogatories to the extent they seek

l0   documents not relevant to the subject matter of this action or reasonably calculated to lead to the

ll   discovery of admissible evidence.

t2             10.      Responding Party objects to these Special Interrogatories to the extent they seek

l3   information not within the possession, custody or control of Responding Party. An objection on

14   this ground does not constitute a representation or admission that such documents exist.

l5             II   .   Respondin gParty objects to these Special Interrogatories insofar as they seek

t6   information already in Propounding Party's possession, custody or control, or that can be

t7   obtained by Propounding Party with equal burden or directly from Users.

18             12. Responding Party objects to these Special Interrogatories to the extent they
19   to impose obligations beyond those required or allowed by the California Code of Civil

20   Procedure.

2l             13. Responding Party objects to the definitions of ooDocuments" and
22   "Communicationsoo to the extent they impose any obligations with respect to the production of

23   electronically stored information that are different from or in addition to those imposed by the

24   California Code of Civil Procedure. Responding Party further objects to these definitions to the

25   extent they include electronically stored information that is not reasonably accessible due to

26   undue burden or expense, obtainable from another source that is less burdensome, and/or

27   unreasonably cumulative or duplicative, or where the likely burden or expense outweighs the

28   likely benefit.
                                                          -2-
     Case No. 533328              643 RESPONSE TO FACEBOOK'S SPECIAL INI'ERROGATORIES (SET TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 126 of 187



 I              14. Responding Party objects to the definitions of "643," "Plaintiff," "You," and
     ooYour"
 2              on the grounds that they are overbroad and call for information covered by the attorney-

 J   client and work product privileges.

 4             15, Responding Party's responses are based solely upon information presently
 5   available and specifically known to Responding Party. As such, Responding Party's responses are

 6   made without prejudice to its right subsequently to add, modify or otherwise change or amend

 7   these responses. Responding Party reserves the right to change any ofits objections or responses

 8   as new information is discovered. Specifically, Responding Party reserves the right to introduce

 9   other information or documents, use information that it may later determine to have been

10   responsive to these requests, and revise, correct, supplement or clarify any of its witten responses

1l   at any time.

t2             These General Objections are incorporated into each and every objection to Propounding

l3   Party's specific requests for production, All responses are subject to, preserve and do not

t4   constitute a waiver of these General Objections.

15
                  OBJECTIONS AND RESPONSES TO SPECIAL INTERROG.ATORIES
t6   SPECIAL INTERROGATORY NO. 33:
17
               State ALL antitrust laws that YOU contend Facebook's conduct threatens an incipient
l8   violation of, or violates the policy or spirit of,
t9   RESPONSE TO SPECIAL INTERROGATORY NO. 33:
20
               Responding Party incorporates each of the General Objections and further objects to this
21
     demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly
22
     burdensome in seeking "ALL laws"; (3) calls for information covered by the attorney-client
23
     privilege and work product privileges; (4) seeks information not relevant to the subject matter of
24
     this litigation and not reasonably calculated to lead to the discovery of admissible evidence; and
25
     (5) seeks information equally available to Defendant.
26
               Subject to and without waiving the foregoing objections, Responding Party responds that
27
     its analysis, investigation and discovery are ongoing and it does not intend to limit evidence at
28
                                                          -3-
     Case No. 533328             643 RESPONSE TO FACEBOOK'S SPECIAL INTERROGATORIES (SET TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 127 of 187



 I   trial to matters stated herein. Facebook's conduct repeatedly violates Business and Professions

 2   Code g 17200 et seq, by engaging in: (1) unlawful business acts or practices; (2) unfair business

 J   acts or practices; (3) fraudulent business acts or practices; (4) unfair, deceptive, untrue or

 4   misleading advertising; and (5) business acts or practices prohibited bV $$ 17500-17577 .5.

 5   Further, Facebook's conduct repeatedly violates Business and Professions Code $$ 17500 et seq,,

 6   which prohibits advertising goods or services that Facebook knew or should have known were

 7   likely to deceive, Facebook's conduct also repeatedly violates California's Consumer l,egal

 8   Remedies Act (Cal. Civ, Code $$ 1750 et seq,) protecting consumers against unfair and deceptive

 9   business practices (Cal. Civ. Code $ 1760) and various violations of Cal. Civ. Code $ 1770.

l0   Finally, Facebook's conduct repeatedly violates Business and Professions Code $$ 16600 et seq.

ll   prohibiting contracts that restrain engagement in a lawful profession, trade or business of any

l2   kind.

l3             Facebook's conduct also violates Section 5 of the Federal Trade Commission Act (15

t4   U.S.C. $ 45) prohibiting unfair methods of competition in or affecting commerce and unfair or

15   deceptive practices in or affecting commerce. Facebook's conduct further violates Section I of

t6   the Sherman Act prohibiting contracts in restraint of trade or commerce. Facebook's conduct

t7   further repeatedly violates Section 2 of the Sherman Act prohibiting the monopolization or

l8   attempt to monopolize any part of the trade or commerce among states. Facebook's conduct

t9   further repeatedly violates Section 2 of the Clayton Act, the Robinson-Patman Price

20   Discrimination Act, prohibiting discrimination of price between different purchasers where the

21   effect is to lessen competition or tend to create a monopoly. Facebook's conduct further

22   repeatedly violates Section 3 of the Clayton Act prohibiting agreements that require avoidance of

23   services or goods from competitors that tend to create a monopoly or lessen competition,

24   Facebook's conduct further repeatedly violates the Cartwright Act, Business and Professions

25   Code $$ 16720 et seq., prohibiting trusts or actions in concert in restraint of trade or commerce,

26   Facebook's violations further include numerous per se violations resulting frtlm tying agrcetttettts

27   with a host of third parties,

28
                                                        -4-
     Case No, 533328            643 RESPONSE TO FACI]BOOK'S SPECIAI" INTERROCATORIES (SE]-TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 128 of 187



 I             F'inally, Facebook's conduct violates numerous other state laws that are accessible via

 2   Business and Professions Code $$ 17200 et seq., including but not limited to New York General

 J   Business Law $$ 349 et seq, prohibiting deceptive acts or practices in conduct of any business,

 4   trade or commerce or in the furnishing of any service. Facebook's conduct further violates

 5   Business and Professions Code $ 17200 et seq. by reason of its tortious conduct, including but not

 6   limited to constructive fraud, negligent misrepresentation of material fact, intentional interferenoe

 7   with contract and intentional interference with prospective business relations,

 8   SPECIAL INTERROGATORY NO. 34:

 9             State ALL laws that YOU contend Facebook's concluct violates RELATED TO YOLJR

l0   claim for violation of Business and Professions Code $ 17200 et seq.

ll   RESPONSE TO SPECIAL INTERROGATORY NO. 34;

l2             Responding Party incorporates each of the General Objections and further objects to this

13   demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly

t4   burdensome in seekin g"ALL laws"; (3) calls for information covered by the attorney-client

l5   privilege and work product privileges; (4) seeks information not relevant to the subject matter of

l6   this litigation and not reasonably calculated to lead to the discovery of admissible evidence; and

T7   (5) seeks information equally available to Defendant.

l8             Subject to and without waiving the foregoing objections, Responding Party responds that

t9   its analysis, investigation and discovery are ongoing and it does not intend to limit evidence at

20   trial to matters stated herein. Facebook's conduct repeatedly violates Business and Professions

2t   Code $ 17200 et seq. by engaging in: (l) unlawful business acts or practices; (2) unfair business

22   acts or practices; (3) fraudulent business acts or practices; (4) unfair, deceptive, untrue or

23   misleading advertising; and (5) business acts or practices prohibited by $ $ 17500- l 7 577 .5.

24   Further, Facebook's conduct repeatedly violates Business and Professions Code S$ 17500 et seq.,

25   which prohibits advertising goods or services that Facebook knew or should have known were

26   likely to deceive, Facebook's conduct also repeatedly violates Califtlrnia's Cottsuttter Legal

27   Remedies Act (Cal, Civ. Code $$ 1750 et seq.) protecting consumers against unfair and deceptive

28   business practices (Cal, Civ, Code g 1760) and various violations of Cal. Civ. Code $ 1770'
                                                        -5-
     Case No. 533328            643 RESPONSE TO F'ACEBOOK'S SPECIAL INTERROCAI'ORIES (SET TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 129 of 187



 I   Finally, Facebook's conduct repeatedly violates Business and Professions Code $$ 16600 et seq.

 2   prohibiting contracts that restrain engagement in a lawful profession, trade or business of any

 J   kind.

 4             Facebook's conduct also violates Section 5 of the Federal Trade Commission Act (15

 5   U.S,C. $ 45) prohibiting unfair methods of competition in or affecting commerce and unfair or

 6   deceptive practices in or affecting commerce, Facebook's conduct further violates Section 1 of

 7   the Sherman Act prohibiting contracts in restraint of trade ot commerce. Facebook's conduct

 I   further repeatedly violates Section 2 of the Sherman Act prohibiting the monopolization or

 9   attempt to monopolize any part of the trade or commerce among states. Facebook's conduct

l0   further repeatedly violates Section 2 of the Clayton Act, the Robinson-Patman Price

ll   Discrimination Act, prohibiting discrimination of price between different purchasers where the

l2   effect is to lessen competition or tend to create a monopoly, Facebook's conduct further

l3   repeatedly violates Section 3 of the Clayton Act prohibiting agreements that require avoidance of

t4   services or goods from competitors that tend to create a monopoly or lessen competition.

t5   Facebook's conduct further repeatedly violates the Cartwright Act, Business and Professions

t6   Code $$ 16720 et seq., prohibiting trusts or actions in concert in restraint of trade or commerce.

t7   Facebook's violations further include numerous per se violations resulting from tying agreements

18   with a host of third parties,

t9             Finally, Facebook's conduct violates numerous other state laws that are accessible via

20   Business and Professions Code $$ 17200 et seq., including but not limited to New York General

2l   Business Law $$ 349 et seq. prohibiting deceptive acts or practices in conduct of any business,

22   trade or commerce or in the furnishing of any service. Facebook's conduct further violates

¿J   Business and Professions Code $ 17200 et seq. by reason of its tortious conduct, including but not

24   limited to constructive fraud, negligent misrepresentation of material fact, intentional interference

25   with contract and intentional interference with prospective business relations.

26

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28
                                                       -6-
     Case No, 533328            643 RESPONSE TO FACEBOOK'S SPECIAL INTERROGATORIES (SET TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 130 of 187



 I

 2   DATED: January ll,2017                           CRITERION LAW

 J                                                              UM     GODKIN

 4
                                                      By:
 5                                                              IP
                                                            David S. Godkin (admittedpro hac vice)
 6                                                          James E. Kruzer (admittedpro hac vice)
                                                            Attomeys for Plaintiff
 7                                                          Six4Three, LLC

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     Case No. 533328     643 RESPONSE TO FACEBOOK'S SPECIAL INTERROGATORIES (SET TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 131 of 187



 I                                            PROOF' OF' SERVICE

 2             I,.lames E. Kruzer, declare:
               I am a citizen of the United States and employed in Suffolk County, Massachusetts. I am
 3
     over the age of eighteen years and not a party to the within-entitled action. My business address
 4
     is 280 Summer Street, Boston, MA 02210. On January 12,2017 ,l served a copy of the within
 5
     document(s):
 6
               PLAINTIFF SIX4THREE LLC'S RESPONSE TO DEIìENDANT FACEBOOK, INC.'S
 7             SPECIALLY PREPARED INTERROGATORIES (SET TV/O)
 I           l.-l      By electronically mailing a true and conect copy through Birnbaum & Godkin,
             r-¡       LLP's electronic mail system to the email addresses set forth below.
 9

l0
               soNAL N. MEHTA (SBN 222086)
1l             LAURA E. MILLER (SBN 2717t3)
               CATHERTNE Y. KIM (SBN 308442)
l2             Durie Tangri LLP
               217 Leidesdorff Street
l3             San Francisco, CA   94lll
               Telephone : 41 5 -362-6666
14             Facsimile: 41 5 -236-6300
               smehta@durietan gri, com
15
               lmil ler@durietangri.com
               ckim@durietangri.com
t6
               Attorney for Defendant
t7             FACEBOOK, INC.
l8             I declare under penalty of perjury under the laws of the State of California that the above
t9   is true and correct,

20             Executed January 12,2017, at Boston, Massachusetts

2l
22
                                                                        f/c
                                                                          James E. Kruzer
23

24

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28
                                                         -8-
     Case No. 533328             643 RESPONSE TO FACEI]OOK'S SPECIAI- INTERROGATORIES (SET TWO)
     Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 132 of 187



 1                                                 VERIFICATION

 2             I, Ted Kramer, as a certified representative of Plaintiff Six4Three LLC (“643”), certify

 3    and declare under penalty of perjury under the laws of the state of California that I have read and

 4    reviewed 643’s Answers to Facebook’s Second Set of Specially Prepared Interrogatories; and

 5    believe them to be true and accurate based on the information available to 643 at the present time.

 6
               Executed January 11, 2017, at San Francisco, California.
 7

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 9                                                                     By: Ted Kramer

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                                                        -1-
      Case No. 533328           643 VERIFICATION
Case 3:17-cv-00359-WHA Document 13-1 Filed 01/27/17 Page 133 of 187




                   EXHIBIT D
1/24/2017              Case 3:17-cv-00359-WHA Document 13-1
                                                        Details Filed 01/27/17 Page 134 of 187




       Case I nformation

       CIV533328 | SIX4THREE, LLC VS FACEBOOK, INC, ET AL

       Case Number                                                    Court                                                 File Date
       CIV533328                                                      Civil Unlimited                                       04/10/2015
       Case Type                                                      Case Status
       (07) Unlimited Business Tort/Unfair Business Practice          Active




       P arty

       Plaintiff                                                           Active Attorneys 
       SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT COMPANY                 Lead Attorney
                                                                           FTHENAKIS, BASIL P
                                                                           Retained




       Defendant                                               Active Attorneys 
       FACEBOOK, INC, A DELAWARE CORPORATION                   Attorney
                                                               MILLER, LAURA E.
                                                               Retained



                                                               Attorney
                                                               KIM, CATHERINE Y.
                                                               Retained



                                                               Lead Attorney
                                                               MEHTA, SONAL N
                                                               Retained




                                                               Inactive Attorneys 
                                                               Attorney
                                                               SCHWARTZ, JULIE E
                                                               Retained




       Cause of Action


              File Date       Cause of Action     Type     Filed By                             Filed Against

             04/10/2015      Complaint           Action    SIX4THREE, LLC, A DELAWARE           FACEBOOK, INC, A DELAWARE
                                                           LIMITED LIABILIT COMPANY             CORPORATION




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                       1/45
1/24/2017                 Case 3:17-cv-00359-WHA Document 13-1
                                                           Details Filed 01/27/17 Page 135 of 187




       Events and Hearings


            04/10/2015 Complaint 


            (S) COMPLAINT FILED

              Comment
              COM: (S) COMPLAINT FILED


            04/10/2015 Conversion Minute 


              Comment
              *FEE: 150410-0768-CK 194/ 435.00 PAYMT


            04/10/2015 Conversion Minute 


              Comment
              *REFNM: 150410-0768-CK REFERENCE NUMBER D3395386


            04/10/2015 Civil Case Cover Sheet 


            CIVIL CASE COVERSHEET RECEIVED

              Comment
              CCS: CIVIL CASE COVERSHEET RECEIVED


            04/10/2015 Summons Issued / Filed 


            30 DAY SUMMONS, ISSUED AND FILED.

              Comment
              S30IF: 30 DAY SUMMONS, ISSUED AND FILED.


            04/10/2015 New Filed Case


            04/10/2015 Cause Of Action 


              Action                                   File Date
              Complaint                                04/10/2015



            06/09/2015 Conversion Action 


              Comment
              EXFEE: EX-PARTE FEE PAID BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.


            06/09/2015 Conversion Minute 


              Comment
              *FEE: 150609-0544-CK 036/ 60.00 PAYMT


            06/09/2015 Conversion Minute 


              Comment
              *REFNM: 150609-0544-CK REFERENCE NUMBER 123


            06/09/2015 Ex Parte Application 


            EX PARTE APPLICATION ORDER EXTENDING TIME FOR SERVICE OF PROCESS FILED.

              Comment
              EXV: EX PARTE APPLICATION ORDER EXTENDING TIME FOR SERVICE OF PROCESS FILED.


            06/09/2015 Declaration 


            DECLARATION OF BASIL P. FTHENAKIS REGARDING NOTICE OF PLAINTIFF'S APPLICATION FOR EX PARTE ORDER FI

              Comment
              DECL: DECLARATION OF BASIL P. FTHENAKIS REGARDING NOTICE OF PLAINTIFF'S APPLICATION FOR EX PARTE ORDER FILED BY SIX4THREE, LLC, A DELAWARE
              LIMITED LIABILIT




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                         2/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 136 of 187

            06/09/2015 Declaration 


            DECLARATION OF BASIL P. FTHENAKIS IN SUPPORT OF APPLICATION FOR EX PARTE ORDER EXTENDING FILED BY S

              Comment
              DECL: DECLARATION OF BASIL P. FTHENAKIS IN SUPPORT OF APPLICATION FOR EX PARTE ORDER EXTENDING FILED BY SIX4THREE, LLC, A DELAWARE LIMITED
              LIABILIT


            06/09/2015 Memorandum of Points & Authorities Filed 


            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPOR

              Comment
              MPA: MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPORT OF APPLICATION FOR EX PARTE
              ORDER EXTENDING TIME FOR SERVICE OF PROCESS


            06/09/2015 Order 


            ORDER EXTENDING TIME FOR SERVICE OF PROCESS, SIGNED BY JUDGE SCOTT ON 06/09/15 FILED.

              Comment
              O2: ORDER EXTENDING TIME FOR SERVICE OF PROCESS, SIGNED BY JUDGE SCOTT ON 06/09/15 FILED.


            06/16/2015 Conversion Action 


              Comment
              *620*: HCMC1I CALENDARED ON 08/21/15 IN DEPT. 7. HAS BEEN UPDATED TO 08/21/15 IN DEPT. 21.


            07/10/2015 Conversion Action 


            PROOF OF SERVICE (QUESTIONABLE SERVICE) OF SUMMONS AND COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMI

              Comment
              PSQS: PROOF OF SERVICE (QUESTIONABLE SERVICE) OF SUMMONS AND COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT AS TO FACEBOOK, INC,
              A DELAWARE CORPORATION FILED. SERVICE QUESTIONABLE BECAUSE NAMED DEFENDANT MUST MATCH COMPLAINT EXACTLY.


            08/03/2015 Proof of Service by PERSONAL SERVICE of 


            PROOF OF SERVICE (PERSONAL) OF PLAINTIFF'S FIRST SET OF DEMANDS FOR INSPECTION DOCS TO DEFT FACEBOO

              Comment
              PSN2: PROOF OF SERVICE (PERSONAL) OF PLAINTIFF'S FIRST SET OF DEMANDS FOR INSPECTION DOCS TO DEFT FACEBOOK, INC SERVED ON FACEBOOK, INC, A
              DELAWARE CORPORATION WITH SERVICE DATE OF 07/31/15 FILED.


            08/06/2015 Case Management Statement 


            CASE MANAGEMENT STATEMENT FILED BY FACEBOOK, INC, A DELAWARE CORPORATION.

              Comment
              CMS: CASE MANAGEMENT STATEMENT FILED BY FACEBOOK, INC, A DELAWARE CORPORATION.


            08/06/2015 Proof of Service by MAIL of 


            PROOF OF SERVICE (BY MAIL) OF CASE MANAGEMENT STATEMENT SERVED ON SEE SERVICE LIST WITH A SERVICE D

              Comment
              PSN3: PROOF OF SERVICE (BY MAIL) OF CASE MANAGEMENT STATEMENT SERVED ON SEE SERVICE LIST WITH A SERVICE DATE OF 08/06/15 FILED.


            08/06/2015 Case Management Statement 


            CASE MANAGEMENT STATEMENT FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.

              Comment
              CMS: CASE MANAGEMENT STATEMENT FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.


            08/13/2015 First Paper Fee Paid 


              Comment
              FFP4: MOTION FEE PAID BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.


            08/13/2015 Conversion Minute 


              Comment
              *FEE: 150813-0215-CK 037/ 20.00 PAYMT


            08/13/2015 Conversion Minute 


              Comment
              *REFNM: 150813-0215-CK REFERENCE NUMBER 007780




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                         3/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 137 of 187

            08/13/2015 Conversion Action 


              Comment
              *620*: HCMC1I CALENDARED ON 08/21/15 IN DEPT. 21. HAS BEEN UPDATED TO 08/21/15 IN DEPT. 7.


            08/17/2015 Conversion Action 


              Comment
              COMM1: DPET 7 STIP TO EXTEND TIME TO RESPOND TO COMPLT


            08/20/2015 Stipulation & Order 


            STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT FILED BY SIX4THREE, LLC, A DELAWARE LI

              Comment
              SO: STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT, FACEBOOK, INC, A
              DELAWARE CORPORATION.


            08/20/2015 Notice 


            NOTICE OF JURY FEE DEPOSIT BY PLAINTIFF FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.

              Comment
              N: NOTICE OF JURY FEE DEPOSIT BY PLAINTIFF FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.


            08/21/2015 Conversion Hearing 


            CASE MANAGEMENT CONFERENCE

              Judicial Officer                      Comment
              Dylina, Steven L                      CASE MANAGEMENT CONFERENCE



            08/21/2015 Conversion Minute 


              Judicial Officer                      Comment
              Dylina, Steven L                      JCR1: HONORABLE STEVEN L. DYLINA, JUDGE PRESIDING. CLERK: CHERYL LYSSAND. COURT REPORTER: NONE.



            08/21/2015 Conversion Minute 


              Comment
              FFT: ATTORNEY(S): ANDREW CAFFREY AND BASIL P. FTHENAKIS APPEARED BY COURTCALL ON BEHALF OF THE


            08/21/2015 Conversion Minute 


              Comment
              FFT: PLAINTIFF.


            08/21/2015 Conversion Minute 


              Comment
              AT: ATTORNEY(S): JULIE E. SCHWARTZ APPEARED BY COURTCALL ON BEHALF OF THE DEFENDANT.


            08/21/2015 Conversion Minute 


              Comment
              COM: THE COURT IS INFORMED THE RESPONSIVE PLEADING IS DUE SEPTEMBER 8, 2015.


            08/21/2015 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 11/13/15 AT 09:00 IN DEPARTMENT 21.


            08/21/2015 Conversion Minute 


              Comment
              PDUCMS: PLAINTIFF AND DEFENDANT SHALL SUBMIT AN UPDATED CASE MANAGEMENT STATEMENT.


            08/21/2015 Conversion Minute 


              Comment
              MICMS: ENTERED BY C LYSSAND ON 08/21/15.


            08/21/2015 Conversion Minute 


              Comment
              COM1: - 5 -


https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                      4/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 138 of 187

            08/21/2015 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            08/21/2015 Advance jury fee (Nonrefundable) 


              Comment
              AJFEE: ADVANCE JURY FEE POSTED BY PLAINTIFF ON BEHALF OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.


            08/21/2015 Conversion Minute 


              Comment
              *FEE: 150821-0186-CK 209/ 150.00 PAYMT


            08/21/2015 Conversion Minute 


              Comment
              *REFNM: 150821-0186-CK REFERENCE NUMBER D3429513


            08/21/2015 Case Management Conference 


            Original Type
            Case Management Conference

            Judicial Officer
            Dylina, Steven L

            Hearing Time
            9:00 AM

            Result
            Conversion Continuance

            Comment
            Dept: 7 CASE MANAGEMENT CONFERENCE


            09/08/2015 First Paper Fee Paid 


              Comment
              FFP: FIRST PAPER FEE PAID BY FACEBOOK, INC, A DELAWARE CORPORATION.


            09/08/2015 Conversion Minute 


              Comment
              *FEE: 150908-0735-CK 195/ 435.00 210/ 30.00 PAYMT


            09/08/2015 Conversion Minute 


              Comment
              *REFNM: 150908-0735-CK REFERENCE NUMBER 008687


            09/08/2015 Conversion Action 


            (S) DEMURRER TO COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEBOOK, INC, A

              Comment
              DEM: (S) DEMURRER TO COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEBOOK, INC, A DELAWARE CORPORATION REPRESENTED
              BY JULIE E SCHWARTZ


            09/08/2015 Request for Judicial Notice 


            REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLTF'S COMPLAINT FILED BY FACEBOOK, INC, A

              Comment
              RJN: REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLTF'S COMPLAINT FILED BY FACEBOOK, INC, A DELAWARE CORPORATION.


            09/08/2015 Declaration 


            DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A

              Comment
              DECL: DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A DELAWARE CORPORATION


            09/08/2015 Declaration 


            DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC,

              Comment
              DECL: DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A DELAWARE CORPORATION



https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                       5/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
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            09/08/2015 Proof of Service 


            PROOF OF SERVICE OF NOTICE OF HEARING ON DEMURRER, ETC SERVED ON SEE SERVICE LIST BY OVERNIGHT DELI

              Comment
              POSI: PROOF OF SERVICE OF NOTICE OF HEARING ON DEMURRER, ETC SERVED ON SEE SERVICE LIST BY OVERNIGHT DELIVERY - FEDERAL EXPRESS WITH A
              SERVICE DATE OF 09/08/15.


            09/10/2015 Memorandum of Points & Authorities Filed 


            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPOR

              Comment
              MPA: MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPORT OF APPLICATION OF ANDREW A
              CAFFREY FOR ADMISSION PRO HAC VICE


            09/10/2015 Declaration 


            DECLARATION OF BASIL P. FTHENAKIS RE: SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQ FEE

              Comment
              DECL: DECLARATION OF BASIL P. FTHENAKIS RE: SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQ FEE FILED BY SIX4THREE, LLC, A
              DELAWARE LIMITED LIABILIT


            09/10/2015 Order received 


            PROPOSED ORDER RECEIVED.

              Comment
              POR: PROPOSED ORDER RECEIVED.


            09/10/2015 Notice 


            NOTICE OF HEARINF RE: APPLICATION OF ANDREW A. CAFFREY, I II, ESQ. FOR ADMISSION PRO HAC VICE FILED

              Comment
              N2: NOTICE OF HEARINF RE: APPLICATION OF ANDREW A. CAFFREY, I II, ESQ. FOR ADMISSION PRO HAC VICE FILED BY SIX4THREE, LLC, A DELAWARE LIMITED
              LIABILIT.


            09/10/2015 Conversion Action 


            APPLICATION BY ANDREW A. CAFFREY, III, ESQ. TO APPEAR AS COUNSEL PRO HAC VICE FOR SIX4THREE, LLC, A

              Comment
              APHV: APPLICATION BY ANDREW A. CAFFREY, III, ESQ. TO APPEAR AS COUNSEL PRO HAC VICE FOR SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT


            09/10/2015 Conversion Minute 


              Comment
              *FEE: 150911-0035-CK 164/ 500.00 210/ 30.00 PAYMT


            09/10/2015 Conversion Minute 


              Comment
              *REFNM: 150911-0035-CK REFERENCE NUMBER D 3435234


            09/10/2015 Conversion Action 


            APPLICATION BY DAVID S. GODKIN, ESQ. TO APPEAR AS COUNSEL PRO HAC VICE FOR SIX4THREE, LLC, A DELAWA

              Comment
              APHV: APPLICATION BY DAVID S. GODKIN, ESQ. TO APPEAR AS COUNSEL PRO HAC VICE FOR SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT


            09/10/2015 Conversion Minute 


              Comment
              *FEE: 150911-0043-CK 164/ 500.00 210/ 30.00 PAYMT


            09/10/2015 Conversion Minute 


              Comment
              *REFNM: 150911-0043-CK REFERENCE NUMBER D 3435233


            09/10/2015 Notice 


            NOTICE OF HEARING RE: APPLICATION OF DAVID S. GODKIN, ESQ. FOR ADMISSION PRO HAC VICE FILED BY SIX4

              Comment
              N2: NOTICE OF HEARING RE: APPLICATION OF DAVID S. GODKIN, ESQ. FOR ADMISSION PRO HAC VICE FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                              6/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 140 of 187

            09/10/2015 Memorandum of Points & Authorities Filed 


            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPOR

              Comment
              MPA: MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPORT OF APPLICATION OF DAVID S. GODKIN,
              ESQ. FOR ADMISSION PRO HAC VICE


            09/10/2015 Declaration 


            DECLARATION OF BASIL P. FTHENAKIS RE: SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQ FEE

              Comment
              DECL: DECLARATION OF BASIL P. FTHENAKIS RE: SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQ FEE FILED BY SIX4THREE, LLC, A
              DELAWARE LIMITED LIABILIT


            09/10/2015 Order received 


            PROPOSED ORDER RECEIVED.

              Comment
              POR: PROPOSED ORDER RECEIVED.


            09/18/2015 Conversion Action 


            APPLICATION BY JAMES R. MCCULLAGH TO APPEAR AS COUNSEL PRO HAC VICE FOR FACEBOOK, INC, A DELAWARE C

              Comment
              APHV: APPLICATION BY JAMES R. MCCULLAGH TO APPEAR AS COUNSEL PRO HAC VICE FOR FACEBOOK, INC, A DELAWARE CORPORATION


            09/18/2015 Conversion Minute 


              Comment
              *FEE: 150921-0301-CK 164/ 500.00 210/ 30.00 PAYMT


            09/18/2015 Conversion Minute 


              Comment
              *REFNM: 150921-0301-CK REFERENCE NUMBER 6249


            09/18/2015 Notice 


            NOTICE OF HEARING REGARDING APPLICATION OF JAMES R. MCCULLAGH TO APPEAR AS COUNSEL PRO HAC VICE FIL

              Comment
              N2: NOTICE OF HEARING REGARDING APPLICATION OF JAMES R. MCCULLAGH TO APPEAR AS COUNSEL PRO HAC VICE FILED BY FACEBOOK, INC, A DELAWARE
              CORPORATION.


            09/18/2015 Memorandum of Points & Authorities Filed 


            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY FACEBOOK, INC, A DELAWARE CORPORATION IN SUPPORT OF N

              Comment
              MPA: MEMORANDUM OF POINTS AND AUTHORITIES FILED BY FACEBOOK, INC, A DELAWARE CORPORATION IN SUPPORT OF NOTICE OF HEARING RE
              APPLICATION OF JAMES R. MCCULLAGH TO APPEAR AS COUNSEL, ETC.


            09/18/2015 Order received 


            PROPOSED ORDER RECEIVED.

              Comment
              POR: PROPOSED ORDER RECEIVED.


            09/18/2015 Proof of Service 


            PROOF OF SERVICE OF FACEBOOK, INC.'S NOTICE OF HEARING, ETC. SERVED ON SEE LIST BY HAND DELIVERY AN

              Comment
              POSI: PROOF OF SERVICE OF FACEBOOK, INC.'S NOTICE OF HEARING, ETC. SERVED ON SEE LIST BY HAND DELIVERY AND OVERNIGHT WITH A SERVICE DATE OF
              09/18/15.


            09/22/2015 Conversion Action 


            SUPPLEMENTAL DECLARATION OF BASIL P. FTHENAKIS RE PAYMENT OF REQUIRED FEE TO THE STATE BAR OF CA, E

              Comment
              SUP: SUPPLEMENTAL DECLARATION OF BASIL P. FTHENAKIS RE PAYMENT OF REQUIRED FEE TO THE STATE BAR OF CA, ETC. FILED BY SIX4THREE, LLC, A
              DELAWARE LIMITED LIABILIT.


            09/22/2015 Conversion Action 




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                           7/45
1/24/2017                 Case 3:17-cv-00359-WHA Document 13-1
                                                           Details Filed 01/27/17 Page 141 of 187
            SUPPLEMENTAL DECLARATION OF BASIL P. FTHENAKIS RE PAYMENT OF REQUIRED FEE TO THE STATE BAR OF CA, E

              Comment
              SUP: SUPPLEMENTAL DECLARATION OF BASIL P. FTHENAKIS RE PAYMENT OF REQUIRED FEE TO THE STATE BAR OF CA, ETC. FILED BY SIX4THREE, LLC, A
              DELAWARE LIMITED LIABILIT.


            09/29/2015 Stipulation 


            (S) STIPULATIONTO CONTINUE HEARING ON DEMURRER FILED

              Comment
              STIP1: (S) STIPULATIONTO CONTINUE HEARING ON DEMURRER FILED


            10/02/2015 Conversion Action 


            SUPPLEMENTAL DECLARATION OF JULIE E. SCHWARTZ REGARDING CALIFORNIA STATE BAR FEES FOR PRO HAC FILED

              Comment
              SUP: SUPPLEMENTAL DECLARATION OF JULIE E. SCHWARTZ REGARDING CALIFORNIA STATE BAR FEES FOR PRO HAC FILED BY FACEBOOK, INC, A DELAWARE
              CORPORATION.


            10/05/2015 Conversion Hearing 


              Judicial Officer                     Comment
              Etezadi, Susan I                     HEARING: APPLICATION TO APPEAR AS COUNSEL PRO HAC VICE BY ANDREW A. CAFFREY, III, ESQ.



            10/05/2015 Conversion Minute 


              Judicial Officer                     Comment
              Etezadi, Susan I                     JCR: HONORABLE SUSAN I. ETEZADI, JUDGE PRESIDING. CLERK: VALERIE HRONIS. COURT REPORTER: NIKI MAKELA.



            10/05/2015 Conversion Minute 


              Comment
              NAP: NO APPEARANCE IS MADE BY ANY PARTIES HEREIN OR THEIR COUNSEL OF RECORD.


            10/05/2015 Conversion Minute 


              Comment
              TRA: TENTATIVE RULING ADOPTED AND BECOMES THE ORDER:


            10/05/2015 Conversion Minute 


              Comment
              FFT: ANDREW CAFFREY AND DAVID GODKIN'S APPLICATIONS TO APPEAR AS COUNSEL PRO HAC VICE FOR PLAINTIFF


            10/05/2015 Conversion Minute 


              Comment
              FFT: SIX4THREE, LLC IN THIS MATTER ARE GRANTED PURSUANT TO CALIFORNIA RULES OF COURT, RULE


            10/05/2015 Conversion Minute 


              Comment
              FFT: 9.40. COUNSEL HAVE PAID THE $50 FEE TO THE STATE BAR AS REQUIRED BY RULE 9.40(E) AND THE $500 FEE


            10/05/2015 Conversion Minute 


              Comment
              FFT: REQUIRED BY THE SAN MATEO COUNTY SUPERIOR COURT PURSUANT TO GOVT. CODE 70617. THEY HAVE MET ALL


            10/05/2015 Conversion Minute 


              Comment
              FFT: OF THE OTHER REQUIREMENTS OF CRC 9.40, WHICH ARE THE ONLY REQUIREMENTS TO BE ELIGIBLE FOR


            10/05/2015 Conversion Minute 


              Comment
              FFT: ADMISSION PRO HAC VICE.


            10/05/2015 Conversion Minute 


              Comment
              COM: * *.


            10/05/2015 Conversion Minute 

https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                         8/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 142 of 187
              Comment
              FFT: IF THE TENTATIVE RULING IS UNCONTESTED, IT SHALL BECOME THE ORDER OF THE COURT. THEREAFTER,


            10/05/2015 Conversion Minute 


              Comment
              FFT: MOVING PARTY IS DIRECTED TO PREPARE A WRITTEN ORDER CONSISTENT WITH THE COURT'S RULING FOR THE


            10/05/2015 Conversion Minute 


              Comment
              FFT: COURT'S SIGNATURE, PURSUANT TO CALIFORNIA RULES OF COURT, RULE 3.1312, AND TO PROVIDE NOTICE


            10/05/2015 Conversion Minute 


              Comment
              FFT: THEREOF TO THE OPPOSING PARTY/COUNSEL AS REQUIRED BY LAW AND THE CALIFORNIA RULES OF


            10/05/2015 Conversion Minute 


              Comment
              FFT: COURT. THE ORDER IS TO BE SUBMITTED DIRECTLY TO JUDGE SUSAN IRENE ETEZADI, DEPARTMENT 18.


            10/05/2015 Conversion Minute 


              Comment
              HCOM: HEARING COMPLETED.


            10/05/2015 Conversion Minute 


              Comment
              MICMS: ENTERED BY VALERIE HRONIS ON 10/05/15.


            10/05/2015 Conversion Minute 


              Comment
              LINE: =====================================


            10/05/2015 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            10/05/2015 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            10/05/2015 Conversion Hearing 


              Judicial Officer                    Comment
              Etezadi, Susan I                    HEARING: APPLICATION TO APPEAR AS COUNSEL PRO HAC VICE BY DAVID S. GODKIN, ESQ.



            10/05/2015 Conversion Minute 


              Judicial Officer                    Comment
              Etezadi, Susan I                    JCR: HONORABLE SUSAN I. ETEZADI, JUDGE PRESIDING. CLERK: VALERIE HRONIS. COURT REPORTER: NIKI MAKELA.



            10/05/2015 Conversion Minute 


              Comment
              NAP: NO APPEARANCE IS MADE BY ANY PARTIES HEREIN OR THEIR COUNSEL OF RECORD.


            10/05/2015 Conversion Minute 


              Comment
              TRA: TENTATIVE RULING ADOPTED AND BECOMES THE ORDER:


            10/05/2015 Conversion Minute 


              Comment
              FFT: ANDREW CAFFREY AND DAVID GODKIN'S APPLICATIONS TO APPEAR AS COUNSEL PRO HAC VICE FOR PLAINTIFF


            10/05/2015 Conversion Minute 



https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                        9/45
1/24/2017                 Case 3:17-cv-00359-WHA Document 13-1
                                                           Details Filed 01/27/17 Page 143 of 187
              Comment
              FFT: SIX4THREE, LLC IN THIS MATTER ARE GRANTED PURSUANT TO CALIFORNIA RULES OF COURT, RULE


            10/05/2015 Conversion Minute 


              Comment
              FFT: 9.40. COUNSEL HAVE PAID THE $50 FEE TO THE STATE BAR AS REQUIRED BY RULE 9.40(E) AND THE $500 FEE


            10/05/2015 Conversion Minute 


              Comment
              FFT: REQUIRED BY THE SAN MATEO COUNTY SUPERIOR COURT PURSUANT TO GOVT. CODE 70617. THEY HAVE MET ALL


            10/05/2015 Conversion Minute 


              Comment
              FFT: OF THE OTHER REQUIREMENTS OF CRC 9.40, WHICH ARE THE ONLY REQUIREMENTS TO BE ELIGIBLE FOR


            10/05/2015 Conversion Minute 


              Comment
              FFT: ADMISSION PRO HAC VICE.


            10/05/2015 Conversion Minute 


              Comment
              COM: * *.


            10/05/2015 Conversion Minute 


              Comment
              FFT: MOVING PARTY IS DIRECTED TO PREPARE A WRITTEN ORDER CONSISTENT WITH THE COURT'S RULING FOR THE


            10/05/2015 Conversion Minute 


              Comment
              FFT: COURT'S SIGNATURE, PURSUANT TO CALIFORNIA RULES OF COURT, RULE 3.1312, AND TO PROVIDE NOTICE


            10/05/2015 Conversion Minute 


              Comment
              FFT: THEREOF TO THE OPPOSING PARTY/COUNSEL AS REQUIRED BY LAW AND THE CALIFORNIA RULES OF


            10/05/2015 Conversion Minute 


              Comment
              FFT: COURT. THE ORDER IS TO BE SUBMITTED DIRECTLY TO JUDGE SUSAN IRENE ETEZADI, DEPARTMENT 18.


            10/05/2015 Conversion Minute 


              Comment
              HCOM: HEARING COMPLETED.


            10/05/2015 Conversion Minute 


              Comment
              MICMS: ENTERED BY KDUERRE ON 10/05/15.


            10/05/2015 Conversion Minute 


              Comment
              LINE: =====================================


            10/05/2015 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            10/05/2015 Application to Appear as Counsel Pro Hac Vice 


            Original Type
            Application to Appear as Counsel Pro Hac Vice

            Judicial Officer
            Etezadi, Susan I

            Hearing Time
            9:00 AM

https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                     10/45
1/24/2017                 Case 3:17-cv-00359-WHA Document 13-1
                                                           Details Filed 01/27/17 Page 144 of 187
            Result
            Held

            Comment
            Dept: LM HEARING: APPLICATION TO APPEAR AS COUNSEL PRO HAC VICE BY ANDREW A. CAFFREY, III, ESQ.


            10/05/2015 Application to Appear as Counsel Pro Hac Vice 


            Original Type
            Application to Appear as Counsel Pro Hac Vice

            Judicial Officer
            Etezadi, Susan I

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            Dept: LM HEARING: APPLICATION TO APPEAR AS COUNSEL PRO HAC VICE BY DAVID S. GODKIN, ESQ.


            10/14/2015 Conversion Hearing 


              Judicial Officer                              Comment
              Etezadi, Susan I                              HEARING: APPLICATION TO APPEAR AS COUNSEL PRO HAC VICE BY JAMES R. MCCULLAGH



            10/14/2015 Conversion Minute 


              Judicial Officer                              Comment
              Etezadi, Susan I                              JCR: HONORABLE SUSAN I. ETEZADI, JUDGE PRESIDING. CLERK: KEVIN DUERRE. COURT REPORTER: NIKI MAKELA.



            10/14/2015 Conversion Minute 


              Comment
              NAP: NO APPEARANCE IS MADE BY ANY PARTIES HEREIN OR THEIR COUNSEL OF RECORD.


            10/14/2015 Conversion Minute 


              Comment
              TRA: TENTATIVE RULING ADOPTED AND BECOMES THE ORDER:


            10/14/2015 Conversion Minute 


              Comment
              FFT: JAMES R. MCCULLAGH'S APPLICATION TO APPEAR AS COUNSEL PRO HAC VICE FOR DEFENDANT FACEBOOK,


            10/14/2015 Conversion Minute 


              Comment
              FFT: INC. IN THIS MATTER IS GRANTED PURSUANT TO CALIFORNIA RULES OF COURT, RULE 9.40. COUNSEL


            10/14/2015 Conversion Minute 


              Comment
              FFT: HAS PAID THE $50 FEE TO THE STATE BAR AS REQUIRED BY RULE 9.40(E) AND THE $500 FEE NOW


            10/14/2015 Conversion Minute 


              Comment
              FFT: REQUIRED BY THE SAN MATEO COUNTY SUPERIOR COURT PURSUANT TO GOVT. CODE SECTION 70617. HE HAS


            10/14/2015 Conversion Minute 


              Comment
              FFT: MET ALL OF THE OTHER REQUIREMENTS OF CRC 9.40, WHICH ARE THE ONLY REQUIREMENTS TO BE ELIGIBLE


            10/14/2015 Conversion Minute 


              Comment
              FFT: FOR ADMISSION PRO HAC VICE.


            10/14/2015 Conversion Minute 


              Comment
              COM: * *.




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                                11/45
1/24/2017                Case 3:17-cv-00359-WHA Document 13-1
                                                          Details Filed 01/27/17 Page 145 of 187

            10/14/2015 Conversion Minute 


              Comment
              FFT: MOVING PARTY IS DIRECTED TO PREPARE A WRITTEN ORDER CONSISTENT WITH THE COURT'S RULING FOR THE


            10/14/2015 Conversion Minute 


              Comment
              FFT: COURT'S SIGNATURE, PURSUANT TO CALIFORNIA RULES OF COURT, RULE 3.1312, AND PROVIDE NOTICE


            10/14/2015 Conversion Minute 


              Comment
              FFT: THEREOF TO THE OPPOSING PARTY/COUNSEL AS REQUIRED BY LAW AND THE CALIFORNIA RULES OF


            10/14/2015 Conversion Minute 


              Comment
              FFT: COURT. THE ORDER IS TO BE SUBMITTED DIRECTLY TO JUDGE SUSAN IRENE ETEZADI, DEPARTMENT 18.


            10/14/2015 Conversion Minute 


              Comment
              HCOM: HEARING COMPLETED.


            10/14/2015 Conversion Minute 


              Comment
              MICMS: ENTERED BY KDUERRE ON 10/14/15.


            10/14/2015 Conversion Minute 


              Comment
              LINE: =====================================


            10/14/2015 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            10/14/2015 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            10/14/2015 Application to Appear as Counsel Pro Hac Vice 


            Original Type
            Application to Appear as Counsel Pro Hac Vice

            Judicial Officer
            Etezadi, Susan I

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            Dept: LM HEARING: APPLICATION TO APPEAR AS COUNSEL PRO HAC VICE BY JAMES R. MCCULLAGH


            10/16/2015 Conversion Hearing 


              Comment
              HEARING: DEMURRER TO COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            10/16/2015 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 11/13/15 AT 09:00 IN DEPARTMENT LM.


            10/16/2015 Conversion Minute 


              Comment
              COM: PER STIPULATION TO CONTINUE HEARING FILED ON 09/29/15.


            10/16/2015 Hearing on Demurrer 


https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                     12/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 146 of 187
            Original Type
            Hearing on Demurrer

            Hearing Time
            9:00 AM

            Result
            Conversion Continuance

            Comment
            Dept: LM HEARING: DEMURRER TO COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            10/20/2015 Order 


            ORDER GRANTING APPLICATION FOR ADMISSION PRO HAC VICE, SIGNED BY JUDGE ETEZADI ON 10/19/15 FILED.

              Comment
              O2: ORDER GRANTING APPLICATION FOR ADMISSION PRO HAC VICE, SIGNED BY JUDGE ETEZADI ON 10/19/15 FILED.


            10/30/2015 Amended Complaint 


            (L) 1ST AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED (AMENDED COMPLAINT)

              Comment
              ACM: (L) 1ST AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED (AMENDED COMPLAINT)


            10/30/2015 Order 


            ORDER GRANTING APPLICATION OF JAMES R. MCCULLAGH TO APPEAR AS COUNSEL, SIGNED BY JUDGE ETEZADI ON 1

              Comment
              O2: ORDER GRANTING APPLICATION OF JAMES R. MCCULLAGH TO APPEAR AS COUNSEL, SIGNED BY JUDGE ETEZADI ON 10/28/15 FILED.


            11/10/2015 Conversion Action 


              Comment
              COMM: LETTER REQUESTING TO VACATE 11/13/15 RECEIVED.


            11/13/2015 Conversion Hearing 


              Comment
              CASE MANAGEMENT CONFERENCE


            11/13/2015 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 12/02/15 AT 09:00 IN DEPARTMENT 21.


            11/13/2015 Conversion Hearing 


              Judicial Officer
              Lee, Elizabeth K

              Comment
              HEARING: DEMURRER TO COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            11/13/2015 Conversion Minute 


              Judicial Officer
              Lee, Elizabeth K

              Comment
              JCRB: HONORABLE ELIZABETH K. LEE, JUDGE PRESIDING. CLERK: SYLVIA CUELLAR, COURT REPORTER: JENELL MULLANE


            11/13/2015 Conversion Minute 


              Comment
              NAP: NO APPEARANCE IS MADE BY ANY PARTIES HEREIN OR THEIR COUNSEL OF RECORD.


            11/13/2015 Conversion Minute 


              Comment
              FFT: THIS MATTER IS MOOT. A FIRST AMENDED COMPLAINT WAS FILED ON OCTOBER 30, 2015.


            11/13/2015 Conversion Minute 


              Comment
              HCOM: HEARING COMPLETED.


            11/13/2015 Conversion Minute 




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                            13/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 147 of 187
              Comment
              MICMS: ENTERED BY SC ON 11/13/15.


            11/13/2015 Conversion Minute 


              Comment
              LINE: =====================================


            11/13/2015 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            11/13/2015 Case Management Conference 


            Original Type
            Case Management Conference

            Hearing Time
            9:00 AM

            Result
            Conversion Continuance

            Comment
            Dept: 21 CASE MANAGEMENT CONFERENCE


            11/13/2015 Hearing on Demurrer 


            Original Type
            Hearing on Demurrer

            Judicial Officer
            Lee, Elizabeth K

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            Dept: LM HEARING: DEMURRER TO COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            11/24/2015 Conversion Action 


              Comment
              COMM: FAXED REQUEST TO CONTINUE THE 12/11/15 CMC RECEIVED.


            12/02/2015 Conversion Hearing 


              Comment
              CASE MANAGEMENT CONFERENCE


            12/02/2015 Conversion Minute 


              Comment
              PNCMC: PRINT CASE MANAGEMENT CONFERENCE NOTICE.


            12/02/2015 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR BASIL P FTHENAKIS ON 9/25/15


            12/02/2015 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR PC14 /JES ON 9/25/15


            12/02/2015 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 12/11/15 AT 09:00 IN DEPARTMENT 21.


            12/02/2015 Case Management Conference 


            Original Type
            Case Management Conference

            Hearing Time
            9:00 AM



https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                            14/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 148 of 187
            Result
            Conversion Continuance

            Comment
            Dept: 21 CASE MANAGEMENT CONFERENCE


            12/03/2015 Conversion Action 


              Comment
              COMM: STIP AND ORDER FWD TO JUDGE SCOTT.


            12/03/2015 First Paper Fee Paid 


              Comment
              FFP4: MOTION FEE PAID BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.


            12/03/2015 Conversion Minute 


              Comment
              *FEE: 151203-0774-CK 037/ 20.00 PAYMT


            12/03/2015 Conversion Minute 


              Comment
              *REFNM: 151203-0774-CK REFERENCE NUMBER 091088


            12/08/2015 Conversion Action 


            STIPULATION AND ORDER EXTENDING TIME TO ANSWER TO F.A.C. SIGNED BY JOSEPH C. SCOTT ON 12/08/15.

              Comment
              SO2: STIPULATION AND ORDER EXTENDING TIME TO ANSWER TO F.A.C. SIGNED BY JOSEPH C. SCOTT ON 12/08/15.


            12/11/2015 Conversion Hearing 


              Comment
              CASE MANAGEMENT CONFERENCE


            12/11/2015 Conversion Minute 


              Comment
              PNCMC: PRINT CASE MANAGEMENT CONFERENCE NOTICE.


            12/11/2015 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR BASIL P FTHENAKIS ON 9/28/15


            12/11/2015 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR PC14 /JES ON 9/28/15


            12/11/2015 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 03/16/16 AT 09:00 IN DEPARTMENT 21.


            12/11/2015 Case Management Conference 


            Original Type
            Case Management Conference

            Hearing Time
            9:00 AM

            Result
            Conversion Continuance

            Comment
            Dept: 21 CASE MANAGEMENT CONFERENCE


            12/23/2015 First Paper Fee Paid 


              Comment
              FFP4: MOTION FEE PAID BY FACEBOOK, INC, A DELAWARE CORPORATION.


            12/23/2015 Conversion Minute 




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                   15/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 149 of 187
              Comment
              *FEE: 151223-0474-CK 036/ 60.00 210/ 30.00 PAYMT


            12/23/2015 Conversion Minute 


              Comment
              *REFNM: 151223-0474-CK REFERENCE NUMBER 091652


            12/23/2015 Conversion Action 


            (S) DEMURRER TO 1ST AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEB

              Comment
              DEM: (S) DEMURRER TO 1ST AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEBOOK, INC, A DELAWARE CORPORATION
              REPRESENTED BY JULIE E SCHWARTZ


            12/23/2015 Request for Judicial Notice 


            REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT FILED

              Comment
              RJN: REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT FILED BY FACEBOOK, INC, A DELAWARE
              CORPORATION.


            12/23/2015 Declaration 


            DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF FACEBOOK INC'S REQUEST FOR JUDICIAL NOTICE FILED BY F

              Comment
              DECL: DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF FACEBOOK INC'S REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A DELAWARE
              CORPORATION


            12/23/2015 Declaration 


            DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF FACEBOOK INC'S REQUEST FOR JUDICIAL NOTICE FILED BY

              Comment
              DECL: DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF FACEBOOK INC'S REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A DELAWARE
              CORPORATION


            12/23/2015 Proof of Service 


            PROOF OF SERVICE OF NOITCE OF HEARING ON DEMURRER, ETC SERVED ON SEE SERVICE LIST BY OVERNIGHT DELI

              Comment
              POSI: PROOF OF SERVICE OF NOITCE OF HEARING ON DEMURRER, ETC SERVED ON SEE SERVICE LIST BY OVERNIGHT DELIVERY WITH A SERVICE DATE OF
              12/23/15.


            01/13/2016 Memorandum of Points & Authorities Filed 


            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN OPPOSI

              Comment
              MPA: MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN OPPOSITION TO DEMURRER


            01/13/2016 Conversion Action 


            OBJECTION TO REQUEST FOR JUDICIAL NOTICE FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT

              Comment
              OBJ: OBJECTION TO REQUEST FOR JUDICIAL NOTICE FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT


            01/13/2016 Document 


            CAFFREY DECLARATION IN SUPPORT OF PLTFF'S OBJECTION TO REQUEST FOR JUDICIAL NOTICE, FILED.

              Comment
              FILED: CAFFREY DECLARATION IN SUPPORT OF PLTFF'S OBJECTION TO REQUEST FOR JUDICIAL NOTICE, FILED.


            01/20/2016 Document 


            DEFT FACEBOOK'S REPLY IN SUPPORT OF DEMURRER TO FIRST AMENDED COMPLAINT, FILED.

              Comment
              FILED: DEFT FACEBOOK'S REPLY IN SUPPORT OF DEMURRER TO FIRST AMENDED COMPLAINT, FILED.


            01/20/2016 Response 


            FACEBOOK, INC, A DELAWARE CORPORATION`S RESPONSE TO PLTFF'S OBJECTIONS TO REQUEST FOR JUDICIAL NOTI

              Comment
              RESP: FACEBOOK, INC, A DELAWARE CORPORATION`S RESPONSE TO PLTFF'S OBJECTIONS TO REQUEST FOR JUDICIAL NOTICE FILED.



https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                       16/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 150 of 187

            01/20/2016 Proof of Service 


            PROOF OF SERVICE OF SEE DOCUMENT LIST SERVED ON SEE SERVICE LIST BY OVERNIGHT DELIVERY - FEDEX WITH

              Comment
              POSI: PROOF OF SERVICE OF SEE DOCUMENT LIST SERVED ON SEE SERVICE LIST BY OVERNIGHT DELIVERY - FEDEX WITH A SERVICE DATE OF 01/20/16.


            01/27/2016 Conversion Hearing 


              Judicial Officer
              Ayoob, Donald J

              Comment
              HEARING: DEMURRER TO 1ST AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            01/27/2016 Conversion Minute 


              Judicial Officer
              Ayoob, Donald J

              Comment
              JCR: HONORABLE DONALD J. AYOOB, JUDGE PRESIDING. CLERK: ALMA DE LA ROSA. COURT REPORTER: ROSA DE NOLA.


            01/27/2016 Conversion Minute 


              Comment
              AT: ATTORNEY(S): ANDREW CAFFREW & BASIL P. FTHENAKIS PRESENT FOR SIX4THREE,LLC


            01/27/2016 Conversion Minute 


              Comment
              AT: ATTORNEY(S): JULIE SCHWARTZ & JIM MCCULLAGH PRESENT ON BEHALF OF FACEBOOK, INC.


            01/27/2016 Conversion Minute 


              Comment
              MAS: MATTER ARGUED BY COUNSEL AND SUBMITTED TO THE COURT.


            01/27/2016 Conversion Minute 


              Comment
              TRA: TENTATIVE RULING ADOPTED AND BECOMES THE ORDER:


            01/27/2016 Conversion Minute 


              Comment
              FFT: DEFENDANT FACEBOOK, INC.'S REQUEST FOR JUDICIAL NOTICE IS GRANTED PURSUANT TO EVIDENCE CODE


            01/27/2016 Conversion Minute 


              Comment
              FFT: SECTION 452(H) AND 453(A). THAT SAID, THE LEGAL EFFECT, TRUTHFULNESS AND PROPER INTERPRETATION


            01/27/2016 Conversion Minute 


              Comment
              FFT: OF THE DOCUMENTS REMAINS DISPUTABLE. SEE UNRUH-HAXTON V. REGENTS OF UNIVERSITY OF


            01/27/2016 Conversion Minute 


              Comment
              FFT: CALIFORNIA (2008) 162 CAL APP 4TH 343, 365. A HEARING ON A DEMURRER MAY NOT BE TURNED INTO A


            01/27/2016 Conversion Minute 


              Comment
              FFT: CONTESTED EVIDENTIARY HEARING THROUGH THE GUISE OF HAVING THE COURT TAKE JUDICIAL NOTICE OF


            01/27/2016 Conversion Minute 


              Comment
              FFT: DOCUMENTS WHOSE TRUTHFULNESS OR PROPER INTERPRETATION ARE DISPUTABLE. FREMONT INDEMNITY


            01/27/2016 Conversion Minute 


              Comment
              FFT: CO. V. FREMONT GENERAL CORP. (2007) 148 CAL APP 4TH 97, 112-118.


https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                    17/45
1/24/2017                 Case 3:17-cv-00359-WHA Document 13-1
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            01/27/2016 Conversion Minute 


              Comment
              COM: - -.


            01/27/2016 Conversion Minute 


              Comment
              FFT: DEFENDANT FACEBOOK, INC.'S DEMURRER TO PLAINTIFF'S 1ST AMENDED COMPLAINT IS SUSTAINED


            01/27/2016 Conversion Minute 


              Comment
              FFT: WITH LEAVE TO AMEND.


            01/27/2016 Conversion Minute 


              Comment
              COM: - -.


            01/27/2016 Conversion Minute 


              Comment
              FFT: THE 1ST CAUSE OF ACTION FOR PROMISSORY ESTOPPEL, THE FAC FAILS TO SUFFICIENTLY ALLEGE A CLEAR,


            01/27/2016 Conversion Minute 


              Comment
              FFT: UNAMBIGUOUS PROMISE BY FACEBOOK TO KEEP ITS FRIENDS PHOTOS ENDPOINT OPEN FOREVER, OR THEIR


            01/27/2016 Conversion Minute 


              Comment
              FFT: REASONABLE RELIANCE ON SUCH A PROMISE. THE FAC IS BASED ON THE CONCLUSORY ALLEGATION AT 78


            01/27/2016 Conversion Minute 


              Comment
              FFT: THAT FACEBOOK CLEARLY AND UNAMBIGUOUSLY PROMISED TO KEEP OPEN THE FRIENDS' PHOTOS ENDPOINT. AS TO


            01/27/2016 Conversion Minute 


              Comment
              FFT: RELIANCE, PLAINTIFF IDENTIFIES ONLY CONCLUSORY, GENERALIZED STATEMENTS AND ALLEGED OMISSIONS


            01/27/2016 Conversion Minute 


              Comment
              FFT: REGARDING FACEBOOK'S PLATFORM AND API AT THE TIME THEY WERE LAUNCHED IN 2007 AND 2010. FAC


            01/27/2016 Conversion Minute 


              Comment
              FFT: 11, 22, 23. NOTHING IN THE STATEMENTS REFERRED TO THE FRIENDS PHOTO ENDPOINT AND NOTHING


            01/27/2016 Conversion Minute 


              Comment
              FFT: INDICATED THAT FACEBOOK WOULD MAKE AVAILABLE ALL ENDPOINTS TO DEVELOPERS FOREVER. THIS DOES NOT


            01/27/2016 Conversion Minute 


              Comment
              FFT: SUFFICIENTLY ALLEGE REASONABLE RELIANCE.


            01/27/2016 Conversion Minute 


              Comment
              COM: - -.


            01/27/2016 Conversion Minute 


              Comment
              FFT: THE 2ND CAUSE OF ACTION FOR PROMISSORY ESTOPPEL, THE FAC FAILS TO SUFFICIENTLY ALLEGE THE


            01/27/2016 Conversion Minute 

https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                     18/45
1/24/2017                 Case 3:17-cv-00359-WHA Document 13-1
                                                           Details Filed 01/27/17 Page 152 of 187
              Comment
              FFT: ELEMENTS OF A CLAIM FOR NEGLIGENT MISREPRESENTATION. THESE INCLUDE INCLUDE 1) A


            01/27/2016 Conversion Minute 


              Comment
              FFT: MISREPRESENTATION OF A PAST OR EXISTING FACT, 2) WITHOUT REASONABLE GROUNDS FOR BELIEVING IT TO BE


            01/27/2016 Conversion Minute 


              Comment
              FFT: TRUE, 3) WITH THE INTENT TO INDUCE ANOTHER'S RELIANCE, 4) JUSTIFIABLE RELIANCE ON THE


            01/27/2016 Conversion Minute 


              Comment
              FFT: REPRESENTATION AND


            01/27/2016 Conversion Minute 


              Comment
              FFT: 5) RESULTING DAMAGE. APOLLO CAPITAL FUND, LLC V. ROTH CAPITAL PARTNERS, LLC (2007) 158 CAL APP


            01/27/2016 Conversion Minute 


              Comment
              FFT: 4TH 226, 243. PLAINTIFF HAS NOT SUFFICIENTLY ALLEGED A MISREPRESENTATION, INTENT, OR


            01/27/2016 Conversion Minute 


              Comment
              FFT: JUSTIFIABLE RELIANCE, FOR THE SAME REASONS THAT THE PROMISSORY ESTOPPEL CAUSE OF ACTION FAILS.


            01/27/2016 Conversion Minute 


              Comment
              FFT: IT IS ALL BASED ON THE ALLEGED PROMISE THAT FACEBOOK WAS GOING TO KEEP ITS FRIENDS PHOTOS


            01/27/2016 Conversion Minute 


              Comment
              FFT: ENDPOINT OPEN IN PERPETUITY. PLAINTIFF HAS NOT SUFFICIENTLY ALLEGED SUCH A REPRESENTATION AND


            01/27/2016 Conversion Minute 


              Comment
              FFT: PLAINTIFF'S SUPPOSED RELIANCE ON NONEXISTENT PROMISES IS UNREASONABLE.


            01/27/2016 Conversion Minute 


              Comment
              COM: - -.


            01/27/2016 Conversion Minute 


              Comment
              FFT: THE 3RD CAUSE OF ACTION FOR INTENTIONAL INTERFERENCE WITH CONTRACT


            01/27/2016 Conversion Minute 


              Comment
              FFT: ESSENTIALLY RESTATES THE PLAINTIFF'S PROMISSORY ESTOPPEL CLAIM, WHICH SOUNDS IN


            01/27/2016 Conversion Minute 


              Comment
              FFT: CONTRACT. JRS PRODS., INC. V. MATSUSHITA ELEC.CORP. OF AMERICA (2004) 115 CAL APP 4TH


            01/27/2016 Conversion Minute 


              Comment
              FFT: 168, 183. WHERE A CONTRACT CLAIM IS ALLEGED, A PLAINTIFF MAY NOT ALSO RAISE CLAIMS FOR


            01/27/2016 Conversion Minute 




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                      19/45
1/24/2017                 Case 3:17-cv-00359-WHA Document 13-1
                                                           Details Filed 01/27/17 Page 153 of 187
              Comment
              FFT: INTENTIONAL TORT THAT ARE BASED ON THE SAME ACTIVITY REGARDLESS OF WHETHER THE ACTIVITY


            01/27/2016 Conversion Minute 


              Comment
              FFT: VIOLATES A STATUE OR WAS DONE WITH MALICE. ID. AT 182-83. THE PROMISSORY ESTOPPEL CLAIM IS


            01/27/2016 Conversion Minute 


              Comment
              FFT: ROOTED IN CONTRACT. IT ALLEGES THAT FACEBOOK BREACHED ITS PROMISE TO KEEP THE FRIENDS PHOTOS


            01/27/2016 Conversion Minute 


              Comment
              FFT: ENDPOINT OPEN BY STATING ITS INTENTION TO END ACCESS TO THE ENDPOINT. FAC 52, 53.


            01/27/2016 Conversion Minute 


              Comment
              COM: - -.


            01/27/2016 Conversion Minute 


              Comment
              FFT: PLAINTIFF HAS ALSO FAILED TO SUFFICIENTLY ALLEGE TORTUOUS INTERFERENCE. PLAINTIFF HAS NOT PLED A


            01/27/2016 Conversion Minute 


              Comment
              FFT: VALID CONTRACT; HAS NOT PLAUSIBLY ALLEGED ANY KNOWLEDGE OF THE AGREEMENTS ON FACEBOOK'S PART


            01/27/2016 Conversion Minute 


              Comment
              FFT: AND HAS NOT ALLEGED ANY INTENTIONAL ACTS DESIGNED TO INDUCE A BREACH. QUELIMANE CO., INC.


            01/27/2016 Conversion Minute 


              Comment
              FFT: V. STEWART TITLE GUARANTY COMPANY (1998) 19 CAL 4TH 26, 55. SEE FAC AT 56, 57, 97-98.


            01/27/2016 Conversion Minute 


              Comment
              COM: - -.


            01/27/2016 Conversion Minute 


              Comment
              FFT: THE 4TH CAUSE OF ACTION FOR INTENTIONAL INTERFERENCE WITH PROSPECTIVE


            01/27/2016 Conversion Minute 


              Comment
              FFT: BUSINESS RELATIONS FAILS TO SUFFICIENTLY PLED THE REQUIRED ELEMENTS FOR SUCH


            01/27/2016 Conversion Minute 


              Comment
              FFT: A CAUSE OF ACTION: 1) AN ECONOMIC RELATIONSHIP BETWEEN THE PLAINTIFF AND SOME THIRD-PARTY WITH


            01/27/2016 Conversion Minute 


              Comment
              FFT: THE PROBABILITY OF FUTURE ECONOMIC BENEFIT; 2) THE DEFENDANT'S KNOWLEDGE OF THE RELATIONSHIP;


            01/27/2016 Conversion Minute 


              Comment
              FFT: 3) INTENTIONAL ACTS BY DEFENDANT DESIGNED TO DISRUPT THE RELATIONSHIP; 4) ACTUAL DISRUPTION


            01/27/2016 Conversion Minute 




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                    20/45
1/24/2017                 Case 3:17-cv-00359-WHA Document 13-1
                                                           Details Filed 01/27/17 Page 154 of 187
              Comment
              FFT: OF THE RELATIONSHIP AND 5) ECONOMIC HARM TO THE PLAINTIFF PROXIMATELY CAUSED BY DEFENDANT. KOREA


            01/27/2016 Conversion Minute 


              Comment
              FFT: SUPPLY CO. V. LOCKHEED MARTIN CORP. (2003) 29 CAL 4TH 1134, 1153. PLAINTIFF HAS FAILED TO


            01/27/2016 Conversion Minute 


              Comment
              FFT: SUFFICIENTLY PLEAD ECONOMIC RELATIONSHIP, DEFENDANT'S KNOWLEDGE OF THE RELATIONSHIP,


            01/27/2016 Conversion Minute 


              Comment
              FFT: DEFENDANT'S INTENTIONAL ACTS DESIGNED TO INDUCE A BREACH AND NO INDEPENDENTLY WRONGFUL ACT.


            01/27/2016 Conversion Minute 


              Comment
              COM: - -.


            01/27/2016 Conversion Minute 


              Comment
              FFT: THE 5TH CAUSE OF ACTION FOR VIOLATION OF B&P CODE 17200 FAILS TO SUFFICIENTLY PLEAD THE UNFAIR,


            01/27/2016 Conversion Minute 


              Comment
              FFT: UNLAWFUL OR FRAUDULENT BUSINESS PRACTICE. CEL-TECH COMMUNICATIONS, INC. V. LOS ANGELES


            01/27/2016 Conversion Minute 


              Comment
              FFT: CELLULAR TELEPHONE COMPANY (1999) 20 CAL 4TH 163, 180. PLAINTIFF ALLEGES IN CONCLUSORY


            01/27/2016 Conversion Minute 


              Comment
              FFT: FASHION THAT IN DOING THE THINGS HERE AND ALLEGED, FACEBOOK ACTED WITH FRAUD, MALICE AND


            01/27/2016 Conversion Minute 


              Comment
              FFT: OPPRESSION AND IN RECKLESS DISREGARD OF PLAINTIFF'S RIGHTS. FAC 56.


            01/27/2016 Conversion Minute 


              Comment
              COM: 30 DAYS TO AMEND IS GRANTED.


            01/27/2016 Conversion Minute 


              Comment
              HCOM: HEARING COMPLETED.


            01/27/2016 Conversion Minute 


              Comment
              MICMS: ENTERED BY ALMA DE LA ROSA ON 01/27/16.


            01/27/2016 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            01/27/2016 Conversion Minute 


              Comment
              LINE: =====================================


            01/27/2016 Conversion Minute 




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                    21/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 155 of 187
              Comment
              PMO: MINUTE ORDER PRINTED.


            01/27/2016 Hearing on Demurrer 


            Original Type
            Hearing on Demurrer

            Judicial Officer
            Ayoob, Donald J

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            Dept: LM HEARING: DEMURRER TO 1ST AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            02/19/2016 Order 


            ORDER SUSTAINING DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT, SIGNED BY JUDGE AYOOB ON 01/27/16

              Comment
              O2: ORDER SUSTAINING DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT, SIGNED BY JUDGE AYOOB ON 01/27/16 FILED.


            02/19/2016 Order 


            ORDER SUSTAINING DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT, SIGNED BY JUDGE AYOOB ON 01/27/16

              Comment
              O2: ORDER SUSTAINING DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT, SIGNED BY JUDGE AYOOB ON 01/27/16 FILED.


            02/19/2016 Conversion Minute 


              Comment
              LAG: LEAVE TO AMEND GRANTED. SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT GRANTED 20 DAYS LEAVE TO AMEND


            02/26/2016 Conversion Action 


            (U) 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED (AMENDED COMPLAINT)

              Comment
              ACS: (U) 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED (AMENDED COMPLAINT)


            03/16/2016 Conversion Hearing 


              Comment
              CASE MANAGEMENT CONFERENCE


            03/16/2016 Conversion Minute 


              Comment
              PNCMC: PRINT CASE MANAGEMENT CONFERENCE NOTICE.


            03/16/2016 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR BASIL P FTHENAKIS ON 11/24/15


            03/16/2016 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR PC14 /JES ON 11/24/15


            03/16/2016 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 05/06/16 AT 09:00 IN DEPARTMENT 21.


            03/16/2016 Case Management Conference 


            Original Type
            Case Management Conference

            Hearing Time
            9:00 AM

            Result
            Conversion Continuance



https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                        22/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 156 of 187
            Comment
            Dept: 21 CASE MANAGEMENT CONFERENCE


            03/24/2016 First Paper Fee Paid 


              Comment
              FFP4: MOTION FEE PAID BY FACEBOOK, INC, A DELAWARE CORPORATION.


            03/24/2016 Conversion Minute 


              Comment
              *FEE: 160324-0263-CK 037/ 20.00 PAYMT


            03/24/2016 Conversion Minute 


              Comment
              *REFNM: 160324-0263-CK REFERENCE NUMBER 22585


            03/28/2016 Conversion Action 


            STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO 2ND AMND CMPL SIGNED BY JOHN G. SCHWARTZ ON 03/2

              Comment
              SO2: STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO 2ND AMND CMPL SIGNED BY JOHN G. SCHWARTZ ON 03/25/16.


            03/28/2016 Conversion Minute 


              Comment
              LINE: =====================================


            03/28/2016 Conversion Minute 


              Comment
              COM: DEFT SHALL HAVE UP TO AND INCLUDING APRIL 8, 2016 TO FILE AND SERVE ITS RESP TO 2ND AM.


            03/28/2016 Conversion Minute 


              Comment
              LINE: =====================================


            04/08/2016 First Paper Fee Paid 


              Comment
              FFP4: MOTION FEE PAID BY FACEBOOK, INC, A DELAWARE CORPORATION.


            04/08/2016 Conversion Minute 


              Comment
              *FEE: 160408-0810-CK 036/ 60.00 210/ 30.00 PAYMT


            04/08/2016 Conversion Minute 


              Comment
              *REFNM: 160408-0810-CK REFERENCE NUMBER 23717


            04/08/2016 Conversion Action 


            (S) DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEB

              Comment
              DEM: (S) DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEBOOK, INC, A DELAWARE CORPORATION
              REPRESENTED BY JULIE E SCHWARTZ


            04/08/2016 Request for Judicial Notice 


            REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLTFF'S SECOND AMENDED COMPLAINT FILED BY

              Comment
              RJN: REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLTFF'S SECOND AMENDED COMPLAINT FILED BY FACEBOOK, INC, A DELAWARE
              CORPORATION.


            04/08/2016 Declaration 


            DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A

              Comment
              DECL: DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A DELAWARE CORPORATION


            04/08/2016 Declaration 

https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                       23/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 157 of 187
            DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE AND, ETC. FILED BY FACEB

              Comment
              DECL: DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE AND, ETC. FILED BY FACEBOOK, INC, A DELAWARE CORPORATION


            04/08/2016 Proof of Service 


            PROOF OF SERVICE OF FACEBOOK, INC.'S NOTICE OF HEARING, ETC. SERVED ON SEE LIST BY FEDERAL EXPRESS

              Comment
              POSI: PROOF OF SERVICE OF FACEBOOK, INC.'S NOTICE OF HEARING, ETC. SERVED ON SEE LIST BY FEDERAL EXPRESS WITH A SERVICE DATE OF 04/08/16.


            04/19/2016 First Paper Fee Paid 


              Comment
              FFP4: MOTION FEE PAID BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.


            04/19/2016 Conversion Minute 


              Comment
              *FEE: 160419-0560-CK 037/ 20.00 PAYMT


            04/19/2016 Conversion Minute 


              Comment
              *REFNM: 160419-0560-CK REFERENCE NUMBER 24042


            04/19/2016 Conversion Action 


              Comment
              COMM: STIP AND PROPOSED ORDER TO RESCHEDULE HEARING ON DEMURRER - FWD TO DEPT. 27.


            04/25/2016 Conversion Action 


            STIPULATION AND ORDER TO RESCHEDULE HEARING ON DEMURRER TO SAC SIGNED BY DONALD J. AYOOB ON 04/21/1

              Comment
              SO2: STIPULATION AND ORDER TO RESCHEDULE HEARING ON DEMURRER TO SAC SIGNED BY DONALD J. AYOOB ON 04/21/16.


            04/28/2016 Conversion Action 


              Comment
              COMM: FAXED REQUEST TO CONTINUE THE 5/6/16 CMC RECEIVED.


            05/05/2016 Conversion Action 


            OBJECTION TO REQUEST FOR JUDICIAL NOTICE FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT

              Comment
              OBJ: OBJECTION TO REQUEST FOR JUDICIAL NOTICE FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT


            05/05/2016 Memorandum of Points & Authorities Filed 


            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN OPPOSI

              Comment
              MPA: MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN OPPOSITION TO DEMURRER TO SECOND
              AMENDED COMPLAINT


            05/06/2016 Conversion Hearing 


              Comment
              CASE MANAGEMENT CONFERENCE


            05/06/2016 Conversion Minute 


              Comment
              PNCMC: PRINT CASE MANAGEMENT CONFERENCE NOTICE.


            05/06/2016 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR BASIL P FTHENAKIS ON 3/07/16


            05/06/2016 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR PC14 /JES ON 3/07/16




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                        24/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 158 of 187

            05/06/2016 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 07/01/16 AT 09:00 IN DEPARTMENT 21.


            05/06/2016 Conversion Hearing 


              Judicial Officer
              Ayoob, Donald J

              Comment
              HEARING: DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            05/06/2016 Conversion Minute 


              Judicial Officer
              Ayoob, Donald J

              Comment
              JCR: HONORABLE DONALD J. AYOOB, JUDGE PRESIDING. CLERK: ALMA DE LA ROSA. COURT REPORTER: JOCELYNE FOKHOURI.


            05/06/2016 Conversion Minute 


              Comment
              NAP: NO APPEARANCE IS MADE BY ANY PARTIES HEREIN OR THEIR COUNSEL OF RECORD.


            05/06/2016 Conversion Minute 


              Comment
              FFT: PURSUANT TO STIPULATION OF THE PARTIES AND PRIOR ORDER OF THE COURT, THIS MATTER IS CONTINUED TO


            05/06/2016 Conversion Minute 


              Comment
              FFT: MAY 18, 2016.


            05/06/2016 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 05/18/16 AT 09:00 IN DEPARTMENT LM.


            05/06/2016 Conversion Minute 


              Comment
              MICMS: ENTERED BY ALMA DE LA ROSA ON 05/06/16.


            05/06/2016 Conversion Minute 


              Comment
              PMO: MINUTE ORDER PRINTED.


            05/06/2016 Conversion Minute 


              Comment
              LINE: =====================================


            05/06/2016 Case Management Conference 


            Original Type
            Case Management Conference

            Hearing Time
            9:00 AM

            Result
            Conversion Continuance

            Comment
            Dept: 21 CASE MANAGEMENT CONFERENCE


            05/06/2016 Hearing on Demurrer 


            Original Type
            Hearing on Demurrer

            Judicial Officer
            Ayoob, Donald J

            Hearing Time
            9:00 AM


https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                 25/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 159 of 187
            Result
            Conversion Continuance

            Comment
            Dept: LM HEARING: DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            05/11/2016 Response 


            FACEBOOK, INC, A DELAWARE CORPORATION`S RESPONSE TO PLTFF'S OBJECTIONS TO REQUEST FOR JUDICIAL NOTI

              Comment
              RESP: FACEBOOK, INC, A DELAWARE CORPORATION`S RESPONSE TO PLTFF'S OBJECTIONS TO REQUEST FOR JUDICIAL NOTICE FILED.


            05/11/2016 Document 


            DEFT FACEBOOK'S REPLY IN SUPPORT OF DEMURRER TO SECOND AMENDED COMPLAINT, FILED.

              Comment
              FILED: DEFT FACEBOOK'S REPLY IN SUPPORT OF DEMURRER TO SECOND AMENDED COMPLAINT, FILED.


            05/11/2016 Proof of Service 


            PROOF OF SERVICE OF SEE DOCUMENT LIST SERVED ON SEE SERVICE LIST BY FEDERAL EXPRESS WITH A SERVICE

              Comment
              POSI: PROOF OF SERVICE OF SEE DOCUMENT LIST SERVED ON SEE SERVICE LIST BY FEDERAL EXPRESS WITH A SERVICE DATE OF 05/11/16.


            05/18/2016 Conversion Hearing 


              Judicial Officer
              Ayoob, Donald J

              Comment
              HEARING: DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            05/18/2016 Conversion Minute 


              Judicial Officer
              Ayoob, Donald J

              Comment
              JCR: HONORABLE DONALD J. AYOOB, JUDGE PRESIDING. CLERK: ALMA DE LA ROSA. COURT REPORTER: ROSARIO AYON.


            05/18/2016 Conversion Minute 


              Comment
              NAP: NO APPEARANCE IS MADE BY ANY PARTIES HEREIN OR THEIR COUNSEL OF RECORD.


            05/18/2016 Conversion Minute 


              Comment
              FFT: ON THE COURT'S OWN MOTION, THE DEMURRER BY FACEBOOK, INC. TO THE PLAINTIFF'S SECOND AMENDED


            05/18/2016 Conversion Minute 


              Comment
              FFT: COMPLAINT IS CONTINUED TO JUNE 15, 2016 AT 9 AM TO BE HEARD IN DEPARTMENT 27, THE HON. DONALD


            05/18/2016 Conversion Minute 


              Comment
              FFT: AYOOB PRESIDING


            05/18/2016 Conversion Minute 


              Comment
              HC: HEARING CONTINUED TO 06/15/16 AT 09:00 IN DEPARTMENT LM.


            05/18/2016 Conversion Minute 


              Comment
              MICMS: ENTERED BY ALMA DE LA ROSA ON 05/18/16.


            05/18/2016 Conversion Minute 


              Comment
              LINE: =====================================


            05/18/2016 Conversion Minute 



https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                        26/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 160 of 187
              Comment
              PMO: MINUTE ORDER PRINTED.


            05/18/2016 Conversion Hearing 


              Comment
              HEARING: DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            05/18/2016 Conversion Minute 


              Comment
              COM: SEE PREVIOUS SCREEN FOR FULL AND COMPLETE MINUTES..


            05/18/2016 Conversion Minute 


              Comment
              HCOM: HEARING COMPLETED.


            05/18/2016 Conversion Minute 


              Comment
              MICMS: ENTERED BY ALMA DE LA ROSA ON 05/18/16.


            05/18/2016 Hearing on Demurrer 


            Original Type
            Hearing on Demurrer

            Judicial Officer
            Ayoob, Donald J

            Hearing Time
            9:00 AM

            Result
            Conversion Continuance

            Comment
            Dept: LM HEARING: DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            05/18/2016 Hearing on Demurrer 


            Original Type
            Hearing on Demurrer

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            Dept: LM HEARING: DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            06/14/2016 Notice 


            NOTICE WITHDRAWL AND DISCHARGE AS ATTORNEY OF RECORD FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LI

              Comment
              N2: NOTICE WITHDRAWL AND DISCHARGE AS ATTORNEY OF RECORD FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.


            06/14/2016 Conversion Action 


              Comment
              UA: ATTORNEY RECORD UPDATED TO SHOW BASIL P FTHENAKIS ATTORNEY FOR SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT UPDATED/CORRECTED TO
              BASIL P FTHENAKIS.


            06/15/2016 Conversion Hearing 


              Comment
              HEARING: DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION


            06/15/2016 Hearing on Demurrer 


            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            Dept: LM HEARING: DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT BY FACEBOOK, INC, A DELAWARE CORPORATION

            Parties Present 

https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                        27/45
1/24/2017                Case 3:17-cv-00359-WHA Document 13-1
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             Plaintiff

               Attorney: FTHENAKIS, BASIL P

             Defendant

               Attorney: SCHWARTZ, JULIE E


            06/17/2016 Case Management Statement 


            Case Management Statement


            06/20/2016 Case Management Statement 


            Case Management Statement


            06/23/2016 Order After Hearing 


              Comment
              FOR 06/15/16 RECEIVED VIA FAX ON 06/22/16 (NOT ORIGINAL) - FORWARDED TO DEPT. 27


            06/30/2016 Order 


            Order ON DEMURRER TO PLAINTIFF'S SECOND AMENDED COMPLAINT

              Comment
              ON DEMURRER TO PLAINTIFF'S SECOND AMENDED COMPLAINT


            07/01/2016 Conversion Hearing 


              Comment
              CASE MANAGEMENT CONFERENCE


            07/01/2016 Conversion Minute 


              Comment
              PNCMC: PRINT CASE MANAGEMENT CONFERENCE NOTICE.


            07/01/2016 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR BASIL P FTHENAKIS ON 4/28/16


            07/01/2016 Conversion Minute 


              Comment
              *NOT: NOTICES PRINTED FOR PC14 /JES ON 4/28/16


            07/01/2016 Notice of Mandatory Settlement Conference and Jury Trial


            07/01/2016 Case Management Conference 


            Judicial Officer
            Case Management Conferences, -

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            Dept: 21 CASE MANAGEMENT CONFERENCE

            Parties Present 
             Plaintiff

               Attorney: FTHENAKIS, BASIL P


            07/05/2016 Answer / Response / Denial - Unlimited 


            Answer / Response / Denial - Unlimited


            07/05/2016 Notice 


            Notice OF RULING

              Comment
              OF RULING


            07/22/2016 Notice of Mandatory Settlement Conference and Jury Trial



https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                 28/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 162 of 187

            08/10/2016 Application to Appear as Counsel Pro Hac Vice 


            Application to Appear as Counsel Pro Hac Vice OF JAMES E. KRUZER, ESQ.

              Comment
              OF JAMES E. KRUZER, ESQ.


            08/10/2016 Court Reporter service less than one hour


            08/10/2016 Notice of Hearing 


            Notice of Hearing RE: APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMISSION PRO HAC VICE

              Comment
              RE: APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMISSION PRO HAC VICE


            08/10/2016 Memorandum of Points & Authorities Filed 


            Memorandum of Points & Authorities Filed IN SUPPORT OF APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMI

              Comment
              IN SUPPORT OF APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMISSION PRO HAC VICE


            08/10/2016 Declaration 


            Declaration OF BASIL P. FTHENAKIS RE; SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQUIRED

              Comment
              OF BASIL P. FTHENAKIS RE; SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQUIRED FEE


            08/10/2016 Proposed Order Received 


            Proposed Order Received RE: ORDER GRANTING APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMISSION PRO HA

              Comment
              RE: ORDER GRANTING APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMISSION PRO HAC VICE


            08/11/2016 Motion 


            Motion FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, ETC

              Comment
              FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, ETC


            08/11/2016 Court Reporter service less than one hour


            08/11/2016 Memorandum of Points & Authorities Filed 


            Memorandum of Points & Authorities Filed IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES

              Comment
              IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES, ETC


            08/11/2016 Separate Statement 


            Separate Statement OF DEMANDS IN DISPUTE IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES

              Comment
              OF DEMANDS IN DISPUTE IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES, ETC


            08/11/2016 Declaration 


            Declaration OF DAVID GODKIN IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES, ETC

              Comment
              OF DAVID GODKIN IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES, ETC


            08/12/2016 Stipulation and Order received and forwarded to Dept 


              Comment
              21, ADR


            08/17/2016 Stipulation and Order to ADR 


            Stipulation and Order to ADR

              Judicial Officer
              Foiles, Robert D


            08/25/2016 Opposition filed 




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                 29/45
1/24/2017                Case 3:17-cv-00359-WHA Document 13-1
                                                          Details Filed 01/27/17 Page 163 of 187
            Opposition filed TO PLTFF'S MOTION TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS

              Comment
              TO PLTFF'S MOTION TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, COMPELLING PRODUCTION OF DOCUMENTS, AND FOR
              SANCTIONS


            08/25/2016 Declaration 


            Declaration OF JULIE W. SCHWARTZ ISO FACEBOOK'S OPPOSITION TO PLTFF'S MOTION TO COMPEL, ETC.

              Comment
              OF JULIE W. SCHWARTZ ISO FACEBOOK'S OPPOSITION TO PLTFF'S MOTION TO COMPEL, ETC.


            08/25/2016 Separate Statement 


            Separate Statement FACEBOOK'S RESPONSE SEPARATE STATEMENT ISO OPPOSITION TO PLTFF'S MOTION TO COMPEL

              Comment
              FACEBOOK'S RESPONSE SEPARATE STATEMENT ISO OPPOSITION TO PLTFF'S MOTION TO COMPEL, ETC.


            08/25/2016 Proof of Service by 


            Proof of Service by FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 08/25/16

              Comment
              FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 08/25/16


            08/30/2016 Reply 


            Reply IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION

              Comment
              IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, COMPELLING
              PRODUCTION OF DOCUMENTS, AND FOR SANCTIONS


            09/02/2016 Application to Appear as Counsel Pro Hac Vice 


            CIV Minute Order

            Judicial Officer
            Karesh, Jonathan E

            Hearing Time
            9:00 AM

            Result
            Held


            09/08/2016 Motion hearings 


            CIV Minute Order

            Judicial Officer
            Karesh, Jonathan E

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            FOR ORDER COMPELLING FURTHER RESPONSES, ETC

            Parties Present 
             Plaintiff

               Attorney: FTHENAKIS, BASIL P

             Defendant

               Attorney: SCHWARTZ, JULIE E


            09/14/2016 Order received 


              Comment
              AND FWD TO DEPT 20


            09/15/2016 Motion 


            Motion FOR PROTECTIVE ORDER

              Comment
              FOR PROTECTIVE ORDER


            09/15/2016 Court Reporter service less than one hour



https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                               30/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
                                                         Details Filed 01/27/17 Page 164 of 187

            09/15/2016 Memorandum of Points & Authorities Filed 


            Memorandum of Points & Authorities Filed IN SUPPORT OF MOTION FOR PROTECTIVE ORDER

              Comment
              IN SUPPORT OF MOTION FOR PROTECTIVE ORDER


            09/15/2016 Declaration 


            Declaration OF DAVID S. GODKIN ISO OF MOTION FOR PROTECTIVE ORDER

              Comment
              OF DAVID S. GODKIN ISO OF MOTION FOR PROTECTIVE ORDER


            09/19/2016 Document 


            Document LETTER TO JUDGE KARESH IN REGARDS TO PROPOSED ORDER ON MOTION FOR ORDER COMPELLING FURTHER

              Comment
              LETTER TO JUDGE KARESH IN REGARDS TO PROPOSED ORDER ON MOTION FOR ORDER COMPELLING FURTHER RESPONSES, ETC.


            09/19/2016 Order 


            Order ON MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, ETC. S

              Comment
              ON MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, ETC. SIGNED BY JUDGE KARESH ON 09/15/16


            09/22/2016 Stipulation and Order received and forwarded to Dept 


              Comment
              20; RE CONTINUING HEARING ON MOTION FOR PROTECTIVE ORDER ON 10/06/16


            09/22/2016 Motion 


            Motion FOR PROTECTIVE ORDER

              Comment
              FOR PROTECTIVE ORDER


            09/22/2016 Court Reporter service less than one hour


            09/22/2016 Declaration 


            Declaration OF JULIE E. SCHWARTZ ISO FACEBOOK'S MOTION FOR PROTECTIVE ORDER

              Comment
              OF JULIE E. SCHWARTZ ISO FACEBOOK'S MOTION FOR PROTECTIVE ORDER


            09/22/2016 Proof of Service by 


            Proof of Service by FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 09/22/16

              Comment
              FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 09/22/16


            09/27/2016 Stipulation & Order 


            Stipulation & Order CONTINUING HEARING ON SIX4THREE, LLC'S MOTION FOR PROTECTIVE ORDER signed by JUD

              Comment
              CONTINUING HEARING ON SIX4THREE, LLC'S MOTION FOR PROTECTIVE ORDER signed by JUDGE KARESH 9/23/16


            09/29/2016 Opposition filed 


            Opposition filed TO PLTFF'S MOTION FOR PROTECTIVE ORDER

              Comment
              TO PLTFF'S MOTION FOR PROTECTIVE ORDER


            09/29/2016 Declaration 


            Declaration OF JULIE E. SCHWARTZ IN SUPPORT OF FACEBOOK'S OPPOSITION TO PLTFF'S MOTION FOR PROTECTIV

              Comment
              OF JULIE E. SCHWARTZ IN SUPPORT OF FACEBOOK'S OPPOSITION TO PLTFF'S MOTION FOR PROTECTIVE ORDER


            09/29/2016 Proof of Service by 


            Proof of Service by FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 09/29/16




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                              31/45
1/24/2017                Case 3:17-cv-00359-WHA Document 13-1
                                                          Details Filed 01/27/17 Page 165 of 187
              Comment
              FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 09/29/16


            10/05/2016 Reply 


            Reply TO DEFENDANT FACEBOOK INC'S OPPOSITION TO PLAINTIFF'S MOTION FOR PROTECTIVE ORDER

              Comment
              TO DEFENDANT FACEBOOK INC'S OPPOSITION TO PLAINTIFF'S MOTION FOR PROTECTIVE ORDER


            10/05/2016 Reply 


            Reply IN SUPPORT OF MOTION FOR PROTECTIVE ORDER

              Comment
              IN SUPPORT OF MOTION FOR PROTECTIVE ORDER


            10/13/2016 Motion hearings 


            CIV Minute Order

            Judicial Officer
            Karesh, Jonathan E

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            FOR PROTECTIVE ORDER

            Parties Present 
             Plaintiff

               Attorney: FTHENAKIS, BASIL P

             Defendant

               Attorney: SCHWARTZ, JULIE E


            10/13/2016 Motion hearings 


            CIV Minute Order

            Judicial Officer
            Karesh, Jonathan E

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            FOR PROTECTIVE ORDER

            Parties Present 
             Plaintiff

               Attorney: FTHENAKIS, BASIL P

             Defendant

               Attorney: SCHWARTZ, JULIE E


            10/24/2016 Notice 


            Notice OF APPEARANCE ON BEHALF OF FACEBOOK

              Comment
              OF APPEARANCE ON BEHALF OF FACEBOOK


            10/25/2016 ADR Evaluation Notice Sent


            10/25/2016 Order After Hearing 


            Order After Hearing signed by Judge Karesh 10/24/16 SIX4THREE'S MOTION FOR PROTECTIVE ORDER AND FAC

              Comment
              signed by Judge Karesh 10/24/16 SIX4THREE'S MOTION FOR PROTECTIVE ORDER AND FACEBOOK'S MOTION FOR PROTECTIVE ORDER


            10/25/2016 Order 


            Order STIPULATED PROTECTIVE ORDER signed by Judge Karesh 10/24/16

              Comment
              STIPULATED PROTECTIVE ORDER signed by Judge Karesh 10/24/16


https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                 32/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
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            10/28/2016 Ex Parte Fee Paid


            10/28/2016 Ex Parte 


            Ex Parte Filed APPLICATION TO CONTINUE OCTOBER 31 DOCUMENT PRODUCTION DEADLINE AND REMAINING CASE DE

              Comment
              APPLICATION TO CONTINUE OCTOBER 31 DOCUMENT PRODUCTION DEADLINE AND REMAINING CASE DEADLINES INCLUDING TRIAL DATE; ETC


            10/28/2016 Opposition filed 


            Opposition filed TO DEFENDANT FACEBOOK INC'S EX PARTE APPLICATION

              Comment
              TO DEFENDANT FACEBOOK INC'S EX PARTE APPLICATION


            10/28/2016 Order 


            Order GRANTING DEFT FACEBOOK INC'S EX PARTE APPLICATION TO CONTINUE OCTOBER 31 DOCUMENTS PRODUCTION

              Comment
              GRANTING DEFT FACEBOOK INC'S EX PARTE APPLICATION TO CONTINUE OCTOBER 31 DOCUMENTS PRODUCTION DEADLINE AND REMAINING CASE DEADLINES
              INCLUDING TRIAL DATE SIGNED BY JUDGE KARESH ON 10/28/16.


            10/28/2016 Order 


            Order GRANTING DEFT FACEBOOK INC'S EX PARTE APPLICATION TO CONTINUE TRIAL SIGNED BY JUDGE GRANDSAERT

              Comment
              GRANTING DEFT FACEBOOK INC'S EX PARTE APPLICATION TO CONTINUE TRIAL SIGNED BY JUDGE GRANDSAERT ON 10/28/16. (COPY OF ORDER FORWARDED TO
              MASTER CALENDAR)


            10/31/2016 Notice of Mandatory Settlement Conference and Jury Trial 


            Notice of Mandatory Settlement Conference and Jury Trial


            10/31/2016 Motion 


            Motion FOR A PROTECTIVE ORDER

              Comment
              FOR A PROTECTIVE ORDER


            10/31/2016 Court Reporter service less than one hour


            10/31/2016 Separate Statement 


            Separate Statement IN SUPPORT OF DEFT FACEBOOK, INC'S MOTION FOR PROTECTIVE ORDER

              Comment
              IN SUPPORT OF DEFT FACEBOOK, INC'S MOTION FOR PROTECTIVE ORDER


            11/01/2016 Notice 


            Notice OF APPEARANCE OF CATHERINE KIM ON BEHLAF OF FACEBOOK

              Comment
              OF APPEARANCE OF CATHERINE KIM ON BEHLAF OF FACEBOOK


            11/03/2016 Motion 


            Motion FOR ORDER TO COMPEL FURTHER RESPONSES TO PLAINTIFF'S SPECIAL INTERROGATORIES

              Comment
              FOR ORDER TO COMPEL FURTHER RESPONSES TO PLAINTIFF'S SPECIAL INTERROGATORIES


            11/03/2016 Court Reporter service less than one hour


            11/03/2016 Memorandum of Points & Authorities Filed 


            Memorandum of Points & Authorities Filed IN SUPPORT OF MOTION TO COMPEL FURTHER RESPONSES TO PLAINTI

              Comment
              IN SUPPORT OF MOTION TO COMPEL FURTHER RESPONSES TO PLAINTIFF'S SPECIAL INTERROGATORIES


            11/03/2016 Separate Statement 


            Separate Statement OF ANSWERS TO PLAINTIFF'S SPECIALLY PREPARED INTERROGATORIES IN DISPUTE

              Comment
              OF ANSWERS TO PLAINTIFF'S SPECIALLY PREPARED INTERROGATORIES IN DISPUTE



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            11/03/2016 Declaration 


            Declaration OF DAVID S. GODKIN IN SUPPORT OF MOTION TO COMPEL FURTHER RESPONSES TO PLAINTIFF'S SPECI

              Comment
              OF DAVID S. GODKIN IN SUPPORT OF MOTION TO COMPEL FURTHER RESPONSES TO PLAINTIFF'S SPECIAL INTERROGATORIES


            11/03/2016 Motion 


            Motion FOR ORDER TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS (SET TWO)

              Comment
              FOR ORDER TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS (SET TWO)


            11/03/2016 Court Reporter service less than one hour


            11/03/2016 Memorandum of Points & Authorities Filed 


            Memorandum of Points & Authorities Filed IN SUPPORT OF MOTION FOR ORDER TO COMPEL FURTHER RESPONSES

              Comment
              IN SUPPORT OF MOTION FOR ORDER TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS (SET TWO)


            11/03/2016 Separate Statement 


            Separate Statement OF DEMANDS IN DISPUTE (SET TWO)

              Comment
              OF DEMANDS IN DISPUTE (SET TWO)


            11/03/2016 Declaration 


            Declaration OF DAVID S. GODKIN IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND

              Comment
              OF DAVID S. GODKIN IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, ETC


            11/08/2016 ADR Mediation Scheduled


            11/17/2016 Motion 


            Motion TO COMPEL

              Comment
              TO COMPEL


            11/17/2016 Court Reporter service less than one hour


            11/17/2016 Notice 


            Notice of LODGING OF DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL

              Comment
              of LODGING OF DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL


            11/17/2016 Separate Statement 


            Separate Statement of Facts in SUPPORT OF ITS MOTION TO COMPEL

              Comment
              of Facts in SUPPORT OF ITS MOTION TO COMPEL


            11/17/2016 Declaration 


            Declaration OF LAURA E MILLER IN SUPPORT OF DEFT FACEBOOK INC'S MOTION TO COMPEL

              Comment
              OF LAURA E MILLER IN SUPPORT OF DEFT FACEBOOK INC'S MOTION TO COMPEL


            11/17/2016 Memorandum of Points & Authorities Filed 


            Memorandum of Points & Authorities Filed IN SUPPORT OF ITS MOTION TO COMPEL

              Comment
              IN SUPPORT OF ITS MOTION TO COMPEL


            11/18/2016 Proof of Service by MESSENGER SERVICE of 


            Proof of Service by MESSENGER SERVICE of DEFT FACEBOOK, INC'S NOTICE OF MOT/MOT TO COMPEL; MEMO P&A;

              Comment
              DEFT FACEBOOK, INC'S NOTICE OF MOT/MOT TO COMPEL; MEMO P&A; ETC


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            11/21/2016 Opposition filed 


            Opposition filed TO DEFT FACEBOOK INC MOTION FOR A PROTECTIVE ORDER; ETC

              Comment
              TO DEFT FACEBOOK INC MOTION FOR A PROTECTIVE ORDER; ETC


            11/22/2016 Opposition filed 


            Opposition filed TO PLAINTIFF'S MOTION TO COMPEL FURTHER RESPONSES TO SPECIALLY PREPARED INTERROGATO

              Comment
              TO PLAINTIFF'S MOTION TO COMPEL FURTHER RESPONSES TO SPECIALLY PREPARED INTERROGATORIES SET ONE


            11/22/2016 Response 


            Response SEPARATE STATEMENT IN SUPPORT OF OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES TO

              Comment
              SEPARATE STATEMENT IN SUPPORT OF OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES TO SPECIALLY PREPARED INTERROGATORIES SET
              ONE


            11/22/2016 Declaration 


            Declaration OF CATHERINE Y KIM IN SUPPORT OF FACEBOOK, INC'S OPPOSITION TO PLTF'S MOTION TO COMPEL F

              Comment
              OF CATHERINE Y KIM IN SUPPORT OF FACEBOOK, INC'S OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES TO SPECIALLY PREPARED
              INTERROGATORIES SET ONE


            11/22/2016 Proof of Service by MAIL of 


            Proof of Service by MAIL of FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES

              Comment
              FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES TO SPECIALLY PREPARED INTERROGATORIES (SET ONE); RESPONSE; ETC


            11/22/2016 Opposition filed 


            Opposition filed TO DEFT FACEBOOK INC'S MOTION FOR A PROTECTIVE ORDER LIMITING PRODUCTION RESPONSIVE

              Comment
              TO DEFT FACEBOOK INC'S MOTION FOR A PROTECTIVE ORDER LIMITING PRODUCTION RESPONSIVE TO DOCUMENT REQUEST NOS. 5,25, AND 26


            11/23/2016 Opposition filed 


            Opposition filed FACEBOOK, INC.'S OPPOSITION TO PLAINTIFF'S MOTION TO COMPEL FURTHER RESPONSES TO DE

              Comment
              FACEBOOK, INC.'S OPPOSITION TO PLAINTIFF'S MOTION TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION O OF DOCUMENTS (SET TWO)


            11/23/2016 Response 


            Response FACEBOOK, INC.'S RESPONSE SEPARATE STATEMENT IN SUPPORT OF OPPOSITION TO PLTF'S MOTION TO C

              Comment
              FACEBOOK, INC.'S RESPONSE SEPARATE STATEMENT IN SUPPORT OF OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES TO DEMAND FOR
              INSPECTION OF DOCUMENTS (SET TWO)


            11/23/2016 Declaration 


            Declaration of CATHERINE Y KIM IN SUPPORT OF FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL

              Comment
              of CATHERINE Y KIM IN SUPPORT OF FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF
              DOCUMENTS (SET TWO)


            11/23/2016 Proof of Service by MAIL of 


            Proof of Service by MAIL of FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES

              Comment
              FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS (SET TWO); ETC


            11/28/2016 Reply 


            Reply DEFENDANT FACEBOOK, INC.'S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR A PROTECTIVE ORDER LI

              Comment
              DEFENDANT FACEBOOK, INC.'S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR A PROTECTIVE ORDER LIMITING PRODUCTION RESPONSIVE TO
              DOCUMENT REQUEST




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            11/28/2016 Declaration 


            Declaration of LAURA E MILLER IN SUPPORT OF FACEBOOK, INC.'S REPLY MEMORANDUM IN SUPPORT OF ITS MOTI

              Comment
              of LAURA E MILLER IN SUPPORT OF FACEBOOK, INC.'S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR A PROTECTIVE ORDER LIMITING PRODUCTION
              RESPONSIVE TO DOCUMENT REQUEST


            11/30/2016 Reply 


            Reply IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO SPECIALLY PREPARED IN

              Comment
              IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO SPECIALLY PREPARED INTERROGATORIES (SET ONE)


            12/01/2016 Reply 


            Reply BY PLAINTIFF IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND F

              Comment
              BY PLAINTIFF IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS (SET
              TWO);ETC


            12/02/2016 Ex Parte Fee Paid


            12/02/2016 Ex Parte 


            Ex Parte Filed PLTF SEX4THREE'S EX PARTE APPLICATION

              Comment
              PLTF SEX4THREE'S EX PARTE APPLICATION


            12/02/2016 Memorandum of Points & Authorities Filed 


            Memorandum of Points & Authorities Filed IN SUPPORT OF PLTF'S EX PARTE APPLICATION

              Comment
              IN SUPPORT OF PLTF'S EX PARTE APPLICATION


            12/02/2016 Declaration 


            Declaration OF JAMES E KRUZER IN SUPPORT OF PLTF'S EX PARTE APPLICATION

              Comment
              OF JAMES E KRUZER IN SUPPORT OF PLTF'S EX PARTE APPLICATION


            12/02/2016 Order 


            Order Signed by Judge Karesh DENYING PLAINTIFF'S EX PARTE APPLICATION TO CONTINUE DEFT FACEBOOK, INC

              Comment
              Signed by Judge Karesh DENYING PLAINTIFF'S EX PARTE APPLICATION TO CONTINUE DEFT FACEBOOK, INC'S MOTION TO COMPEL


            12/02/2016 Opposition filed 


            Opposition filed DEFENDANT'S OPPOSITION TO PLAINTIFF'S EX PARTE MOTION

              Comment
              DEFENDANT'S OPPOSITION TO PLAINTIFF'S EX PARTE MOTION


            12/05/2016 Substitution of Attorney as to 


            Substitution of Attorney as to Former Attorney: JULIE SCHWARTZ New Attorney: SONAL MEHTA

              Comment
              Former Attorney: JULIE SCHWARTZ New Attorney: SONAL MEHTA


            12/05/2016 Minutes corrected as follows: 


              Comment
              GRAMMATICAL UPDATE OF TENTATIVE RULING PER JUDGE KARESH ON 12/12/16


            12/05/2016 Motion hearings 


            CIV Minute Order

            Judicial Officer
            Karesh, Jonathan E

            Hearing Time
            9:00 AM




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                                                    36/45
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            Result
            Held

            Comment
            FOR A PROTECTIVE ORDER

            Parties Present 
             Defendant

               Attorney: MILLER, LAURA E.

               Attorney: MEHTA, SONAL N


            12/07/2016 Opposition filed 


            Opposition filed TO DEFT FACEBOOK INC'S NOTICE OF MOTION TO COMPEL

              Comment
              TO DEFT FACEBOOK INC'S NOTICE OF MOTION TO COMPEL


            12/07/2016 Motion to Compel Further 


            CIV Minute Order

            Judicial Officer
            Karesh, Jonathan E

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            RESPONSES TO PLAINTIFF'S SPECIAL INTERROGATORIES

            Parties Present 
             Defendant

               Attorney: MILLER, LAURA E.

               Attorney: MEHTA, SONAL N


            12/08/2016 Order sent for signature to Department 


              Comment
              20 (LM) FOR SIGNATURE ON FACEBOOK INC'S ORD GRANTING IN PART/DENYING IN PART OF MOT FOR A PROTECTIVE ORDER;ETC


            12/08/2016 Motion hearings 


            CIV Minute Order

            Judicial Officer
            Karesh, Jonathan E

            Hearing Time
            9:00 AM

            Result
            Held

            Comment
            FOR ORDER TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS


            12/09/2016 Reply 


            Reply MEMORANDUM OF POINTS AND AUTHORITIES OF DEFT FACEBOOK, INC'S IN SUPPORT OF ITS MOTION TO COMPE

              Comment
              MEMORANDUM OF POINTS AND AUTHORITIES OF DEFT FACEBOOK, INC'S IN SUPPORT OF ITS MOTION TO COMPEL


            12/09/2016 Reply 


            Reply DECLARATION OF LAURA E MILLER IN SUPPORT OF DEFT FACEBOOK, INC'S MOTION TO COMPEL

              Comment
              DECLARATION OF LAURA E MILLER IN SUPPORT OF DEFT FACEBOOK, INC'S MOTION TO COMPEL


            12/09/2016 Notice 


            Notice of LODGING OF DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL

              Comment
              of LODGING OF DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL


            12/09/2016 Reply 


            Reply UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE LODGED UNDER SEALED

https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#top                                             37/45
1/24/2017               Case 3:17-cv-00359-WHA Document 13-1
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              Comment
              UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE LODGED UNDER SEALED


            12/09/2016 Reply 


            Reply UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE LODGED UNDER SEALED

              Comment
              UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE LODGED UNDER SEALED


            12/13/2016 Order After Hearing 


            Order After Hearing Signed by Judge Karesh 12/12/16 GRANTING IN PART AND DENYING IN PART DEFT FACEBO

              Comment
              Signed by Judge Karesh 12/12/16 GRANTING IN PART AND DENYING IN PART DEFT FACEBOOK, INC'S MOTION FOR A PROTECTIVE ORDER LIMITING PRODUCTION
              RESPONSIVE TO DOCUMENT REQUEST


            12/15/2016 Motion to Compel 


            CIV Minute Order

            Judicial Officer
            Karesh, Jonathan E

            Hearing Time
            9:00 AM

            Result
            Held


            01/04/2017 Stipulation and Order received and forwarded to Dept 


              Comment
              20 (TO EXTEND TIME TO RESPOND)


            01/10/2017 Stipulation & Order 


            Stipulation & Order Signed by: Judge DuBois on: 01/09/17 to ENTEND TIME TO RESPOND

              Comment
              Signed by: Judge DuBois on: 01/09/17 to ENTEND TIME TO RESPOND


            01/12/2017 Stipulation 


            Stipulation FOR ELECTRONIC SERVICE OF DOCUMENTS AND NOTICE

              Comment
              FOR ELECTRONIC SERVICE OF DOCUMENTS AND NOTICE


            01/18/2017 Order sent for signature to Department 


              Comment
              16 (LM) RE STIP TO EXTEND TIME TO RESPOND


            01/19/2017 Stipulation & Order 


            Stipulation & Order Signed by: JUDGE DUBOIS on: 01/18/17 TO EXTEND TIME TO RESPOND

              Comment
              Signed by: JUDGE DUBOIS on: 01/18/17 TO EXTEND TIME TO RESPOND


            01/20/2017 Document 


            Document DEFENDANT FACEBOOK, INC.'S DISCOVERY SUBMISSION

              Comment
              DEFENDANT FACEBOOK, INC.'S DISCOVERY SUBMISSION


            01/20/2017 Declaration in Support 


            Declaration in Support OF DEFENDANT FACEBOOK,INC.'S DISCOVERY SUBMISSION

              Comment
              OF DEFENDANT FACEBOOK,INC.'S DISCOVERY SUBMISSION


            01/20/2017 Document 


            Document DISCOVERY PROPOSAL PURSUANT TO COURT'S DECEMBER 13, 2016 ORDER (REDACTED PUBLIC VERSION)

              Comment
              DISCOVERY PROPOSAL PURSUANT TO COURT'S DECEMBER 13, 2016 ORDER (REDACTED PUBLIC VERSION)



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            01/20/2017 Declaration in Support 


            Declaration in Support OF 643'S DISCOVERY PROPOSAL PURSUANT TO COURT'S ORDER, AND FOR SANCTIONS

              Comment
              OF 643'S DISCOVERY PROPOSAL PURSUANT TO COURT'S ORDER, AND FOR SANCTIONS


            01/20/2017 Notice 


            Notice OF LODGING DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL PURSUANT TO C.R.C. 2.551(B)(3)

              Comment
              OF LODGING DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL PURSUANT TO C.R.C. 2.551(B)(3)


            01/20/2017 Documents Lodged Conditionally Under Seal 


              Comment
              Document(s): 643'S DISCOVERY PROPOSAL PURSUANT TO COURT'S DECEMBER 13, 2016 ORDER


            01/20/2017 Documents Lodged Conditionally Under Seal 


              Comment
              DECLARATION OF JAMES E. KRUZER IN SUPPORT OF 643'S DISCOVERY PROPOSAL PURSUANT TO COURT'S ORDER, AND FOR SANCTIONS


            04/28/2017 Mandatory Settlement Conference 


            Judicial Officer
            Mandatory Settlement Conferences, -

            Hearing Time
            9:30 AM


            05/15/2017 Jury Trial 


            Judicial Officer
            Master Calendar, -

            Hearing Time
            9:00 AM

            Comment
            JURY TRIAL 5 DAYS




       Financial

       SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT COMPANY
               Total Financial Assessment                                                                                          $2,735.00
               Total Payments and Credits                                                                                          $2,735.00


        4/10/2015       Transaction Assessment                                                            $435.00

        4/10/2015       Case Payment              Receipt # 201504100768   SIX4THREE, LLC, A DELAWARE    ($435.00)
                                                                           LIMITED LIABILIT COMPANY

        6/9/2015        Transaction Assessment                                                                $60.00

        6/9/2015        Case Payment              Receipt # 201506090544   SIX4THREE, LLC, A DELAWARE     ($60.00)
                                                                           LIMITED LIABILIT COMPANY

        8/13/2015       Transaction Assessment                                                                $20.00

        8/13/2015       Case Payment              Receipt # 201508130215   SIX4THREE, LLC, A DELAWARE     ($20.00)
                                                                           LIMITED LIABILIT COMPANY

        8/21/2015       Transaction Assessment                                                            $150.00

        8/21/2015       Case Payment              Receipt # 201508210186   SIX4THREE, LLC, A DELAWARE    ($150.00)
                                                                           LIMITED LIABILIT COMPANY

        9/11/2015       Transaction Assessment                                                            $530.00

        9/11/2015       Case Payment              Receipt # 201509110035   SIX4THREE, LLC, A DELAWARE    ($530.00)
                                                                           LIMITED LIABILIT COMPANY



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        9/11/2015    Case Payment              Receipt # 201509110043       SIX4THREE, LLC, A DELAWARE     ($530.00)
                                                                            LIMITED LIABILIT COMPANY

        12/3/2015    Case Payment              Receipt # 201512030774       SIX4THREE, LLC, A DELAWARE      ($20.00)
                                                                            LIMITED LIABILIT COMPANY

        4/19/2016    Case Payment              Receipt # 201604190560       SIX4THREE, LLC, A DELAWARE      ($20.00)
                                                                            LIMITED LIABILIT COMPANY

        8/10/2016    Transaction Assessment                                                                 $500.00

        8/10/2016    Transaction Assessment                                                                  $30.00

        8/10/2016    Case Payment              Receipt # 2016-034962-HOJ    ONE LEGAL LLC                  ($530.00)

        8/11/2016    Transaction Assessment                                                                  $60.00

        8/11/2016    Transaction Assessment                                                                  $30.00

        8/11/2016    Case Payment              Receipt # 2016-035308-HOJ    ONE LEGAL LLC                   ($90.00)

        9/15/2016    Transaction Assessment                                                                  $60.00

        9/15/2016    Transaction Assessment                                                                  $30.00

        9/15/2016    Case Payment              Receipt # 2016-044182-HOJ    ONE LEGAL LLC                   ($90.00)

        9/23/2016    Transaction Assessment                                                                  $20.00

        9/23/2016    Case Payment              Receipt # 2016-045934-HOJ    OAKLAND SERVICE OF PROCESS,     ($20.00)
                                                                            INC.

        11/4/2016    Transaction Assessment                                                                  $60.00

        11/4/2016    Transaction Assessment                                                                  $30.00

        11/4/2016    Case Payment              Receipt # 2016-056407-HOJ    ONE LEGAL LLC                   ($90.00)

        11/4/2016    Transaction Assessment                                                                  $60.00

        11/4/2016    Transaction Assessment                                                                  $30.00

        11/4/2016    Case Payment              Receipt # 2016-056466-HOJ    ONE LEGAL LLC                   ($90.00)

        12/2/2016    Transaction Assessment                                                                  $60.00

        12/2/2016    Case Payment              Receipt # 2016-063657-HOJ    FTHENAKIS, BASIL P              ($60.00)
       FACEBOOK, INC, A DELAWARE CORPORATION
            Total Financial Assessment                                                                                  $2,020.00
            Total Payments and Credits                                                                                  $2,020.00


        9/8/2015      Transaction Assessment                                                                 $465.00

        9/8/2015      Case Payment              Receipt # 201509080735       FACEBOOK, INC, A DELAWARE      ($465.00)
                                                                             CORPORATION

        9/21/2015     Transaction Assessment                                                                 $500.00

        9/21/2015     Case Payment              Receipt # 201509210301       FACEBOOK, INC, A DELAWARE      ($530.00)
                                                                             CORPORATION

        12/23/2015    Transaction Assessment                                                                  $60.00

        12/23/2015    Case Payment              Receipt # 201512230474       FACEBOOK, INC, A DELAWARE       ($90.00)
                                                                             CORPORATION

        3/24/2016     Transaction Assessment                                                                  $20.00

        3/24/2016     Case Payment              Receipt # 201603240263       FACEBOOK, INC, A DELAWARE       ($20.00)
                                                                             CORPORATION

        4/8/2016      Case Payment              Receipt # 201604080810       FACEBOOK, INC, A DELAWARE       ($90.00)
                                                                             CORPORATION

        7/5/2016      Transaction Assessment                                                                 $435.00

        7/5/2016      First paper fee paid                                                                  ($435.00)

        9/23/2016     Transaction Assessment                                                                  $60.00

        9/23/2016     Transaction Assessment                                                                  $30.00

        9/23/2016     Case Payment              Receipt # 2016-046300-HOJ    OAKLAND SERVICE OF PROCESS,     ($90.00)
                                                                             INC.

        10/28/2016    Transaction Assessment                                                                  $60.00

        10/28/2016    Case Payment              Receipt # 2016-055086-HOJ    MEHTA, SONAL N                  ($60.00)

        11/1/2016     Transaction Assessment                                                                  $60.00

        11/1/2016     Transaction Assessment                                                                  $30.00

        11/1/2016     Case Payment              Receipt # 2016-055635-HOJ    NATIONWIDE LEGAL, LLC           ($90.00)

        11/17/2016    Transaction Assessment                                                                  $20.00

        11/17/2016    Case Payment              Receipt # 2016-059892-HOJ    NATIONWIDE LEGAL, LLC           ($20.00)


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        11/17/2016      Transaction Assessment                                                                    $60.00

        11/17/2016      Transaction Assessment                                                                    $30.00

        11/17/2016      Case Payment             Receipt # 2016-059902-HOJ   NATIONWIDE LEGAL, LLC            ($90.00)

        1/4/2017        Transaction Assessment                                                                    $20.00

        1/4/2017        Case Payment             Receipt # 2017-000232-HOJ   NATIONWIDE LEGAL LLC             ($20.00)

        1/18/2017       Transaction Assessment                                                                    $20.00

        1/18/2017       Case Payment             Receipt # 2017-003495-HOJ   NATIONWIDE LEGAL LLC             ($20.00)




       Documents


            (S) COMPLAINT FILED

            PROOF OF SERVICE OF NOTICE OF HEARING ON DEMURRER, ETC SERVED ON SEE SERVICE LIST BY OVERNIGHT DELI

            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPOR
            APPLICATION BY ANDREW A. CAFFREY, III, ESQ. TO APPEAR AS COUNSEL PRO HAC VICE FOR SIX4THREE, LLC, A
            PROPOSED ORDER RECEIVED.

            SUPPLEMENTAL DECLARATION OF BASIL P. FTHENAKIS RE PAYMENT OF REQUIRED FEE TO THE STATE BAR OF CA, E
            SUPPLEMENTAL DECLARATION OF JULIE E. SCHWARTZ REGARDING CALIFORNIA STATE BAR FEES FOR PRO HAC FILED
            STIPULATION AND ORDER EXTENDING TIME TO ANSWER TO F.A.C. SIGNED BY JOSEPH C. SCOTT ON 12/08/15.

            (S) DEMURRER TO 1ST AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEB
            REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT FILED
            ORDER SUSTAINING DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT, SIGNED BY JUDGE AYOOB ON 01/27/16

            (U) 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED (AMENDED COMPLAINT)
            STIPULATION AND ORDER TO RESCHEDULE HEARING ON DEMURRER TO SAC SIGNED BY DONALD J. AYOOB ON 04/21/1
            OBJECTION TO REQUEST FOR JUDICIAL NOTICE FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT

            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN OPPOSI
            CIVIL CASE COVERSHEET RECEIVED
            30 DAY SUMMONS, ISSUED AND FILED.
            PROOF OF SERVICE (PERSONAL) OF PLAINTIFF'S FIRST SET OF DEMANDS FOR INSPECTION DOCS TO DEFT FACEBOO
            CASE MANAGEMENT STATEMENT FILED BY FACEBOOK, INC, A DELAWARE CORPORATION.
            PROOF OF SERVICE (BY MAIL) OF CASE MANAGEMENT STATEMENT SERVED ON SEE SERVICE LIST WITH A SERVICE D
            CASE MANAGEMENT STATEMENT FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.
            DECLARATION OF BASIL P. FTHENAKIS RE: SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQ FEE
            PROPOSED ORDER RECEIVED.

            NOTICE OF HEARINF RE: APPLICATION OF ANDREW A. CAFFREY, I II, ESQ. FOR ADMISSION PRO HAC VICE FILED
            PROOF OF SERVICE OF FACEBOOK, INC.'S NOTICE OF HEARING, ETC. SERVED ON SEE LIST BY HAND DELIVERY AN
            SUPPLEMENTAL DECLARATION OF BASIL P. FTHENAKIS RE PAYMENT OF REQUIRED FEE TO THE STATE BAR OF CA, E

            (S) STIPULATIONTO CONTINUE HEARING ON DEMURRER FILED

            PROOF OF SERVICE OF SEE DOCUMENT LIST SERVED ON SEE SERVICE LIST BY OVERNIGHT DELIVERY - FEDEX WITH

            ORDER SUSTAINING DEMURRER TO PLAINTIFF'S FIRST AMENDED COMPLAINT, SIGNED BY JUDGE AYOOB ON 01/27/16
            FACEBOOK, INC, A DELAWARE CORPORATION`S RESPONSE TO PLTFF'S OBJECTIONS TO REQUEST FOR JUDICIAL NOTI
            ORDER GRANTING APPLICATION FOR ADMISSION PRO HAC VICE, SIGNED BY JUDGE ETEZADI ON 10/19/15 FILED.

            (L) 1ST AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED (AMENDED COMPLAINT)
            ORDER GRANTING APPLICATION OF JAMES R. MCCULLAGH TO APPEAR AS COUNSEL, SIGNED BY JUDGE ETEZADI ON 1
            DECLARATION OF BASIL P. FTHENAKIS IN SUPPORT OF APPLICATION FOR EX PARTE ORDER EXTENDING FILED BY S

            STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT FILED BY SIX4THREE, LLC, A DELAWARE LI

            NOTICE OF JURY FEE DEPOSIT BY PLAINTIFF FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT.

            (S) DEMURRER TO COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEBOOK, INC, A
            REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLTF'S COMPLAINT FILED BY FACEBOOK, INC, A
            NOTICE OF HEARING RE: APPLICATION OF DAVID S. GODKIN, ESQ. FOR ADMISSION PRO HAC VICE FILED BY SIX4

            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPOR
            DECLARATION OF BASIL P. FTHENAKIS RE: SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQ FEE

            APPLICATION BY JAMES R. MCCULLAGH TO APPEAR AS COUNSEL PRO HAC VICE FOR FACEBOOK, INC, A DELAWARE C
            DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF FACEBOOK INC'S REQUEST FOR JUDICIAL NOTICE FILED BY


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            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN OPPOSI

            OBJECTION TO REQUEST FOR JUDICIAL NOTICE FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT
            STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO 2ND AMND CMPL SIGNED BY JOHN G. SCHWARTZ ON 03/2

            (S) DEMURRER TO 2ND AMENDED COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT FILED BY FACEB

            REQUEST FOR JUDICIAL NOTICE OF IN SUPPORT OF DEMURRER TO PLTFF'S SECOND AMENDED COMPLAINT FILED BY
            DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE AND, ETC. FILED BY FACEB

            EX PARTE APPLICATION ORDER EXTENDING TIME FOR SERVICE OF PROCESS FILED.

            DECLARATION OF BASIL P. FTHENAKIS REGARDING NOTICE OF PLAINTIFF'S APPLICATION FOR EX PARTE ORDER FI

            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LIABILIT IN SUPPOR
            ORDER EXTENDING TIME FOR SERVICE OF PROCESS, SIGNED BY JUDGE SCOTT ON 06/09/15 FILED.

            PROOF OF SERVICE (QUESTIONABLE SERVICE) OF SUMMONS AND COMPLAINT OF SIX4THREE, LLC, A DELAWARE LIMI
            CASE MANAGEMENT CONFERENCE
            DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A

            DECLARATION OF JULIE E. SCHWARTZ IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC,

            APPLICATION BY DAVID S. GODKIN, ESQ. TO APPEAR AS COUNSEL PRO HAC VICE FOR SIX4THREE, LLC, A DELAWA

            PROPOSED ORDER RECEIVED.
            NOTICE OF HEARING REGARDING APPLICATION OF JAMES R. MCCULLAGH TO APPEAR AS COUNSEL PRO HAC VICE FIL
            MEMORANDUM OF POINTS AND AUTHORITIES FILED BY FACEBOOK, INC, A DELAWARE CORPORATION IN SUPPORT OF N
            DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF FACEBOOK INC'S REQUEST FOR JUDICIAL NOTICE FILED BY F

            PROOF OF SERVICE OF NOITCE OF HEARING ON DEMURRER, ETC SERVED ON SEE SERVICE LIST BY OVERNIGHT DELI

            CAFFREY DECLARATION IN SUPPORT OF PLTFF'S OBJECTION TO REQUEST FOR JUDICIAL NOTICE, FILED.
            DEFT FACEBOOK'S REPLY IN SUPPORT OF DEMURRER TO FIRST AMENDED COMPLAINT, FILED.

            FACEBOOK, INC, A DELAWARE CORPORATION`S RESPONSE TO PLTFF'S OBJECTIONS TO REQUEST FOR JUDICIAL NOTI
            DECLARATION OF JEREMY E. JORDAN IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE FILED BY FACEBOOK, INC, A
            PROOF OF SERVICE OF FACEBOOK, INC.'S NOTICE OF HEARING, ETC. SERVED ON SEE LIST BY FEDERAL EXPRESS

            DEFT FACEBOOK'S REPLY IN SUPPORT OF DEMURRER TO SECOND AMENDED COMPLAINT, FILED.
            PROOF OF SERVICE OF SEE DOCUMENT LIST SERVED ON SEE SERVICE LIST BY FEDERAL EXPRESS WITH A SERVICE
            NOTICE WITHDRAWL AND DISCHARGE AS ATTORNEY OF RECORD FILED BY SIX4THREE, LLC, A DELAWARE LIMITED LI
            Case Management Statement
            CIV Minutes Order
            Case Management Statement
            CIV Minutes Order
            Order ON DEMURRER TO PLAINTIFF'S SECOND AMENDED COMPLAINT
            CIV Minutes Order
            Answer / Response / Denial - Unlimited

            Notice OF RULING
            Application to Appear as Counsel Pro Hac Vice OF JAMES E. KRUZER, ESQ.
            Notice of Hearing RE: APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMISSION PRO HAC VICE

            Memorandum of Points & Authorities Filed IN SUPPORT OF APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMI
            Declaration OF BASIL P. FTHENAKIS RE; SERVICE ON THE STATE BAR OF CALIFORNIA AND PAYMENT OF REQUIRED

            Proposed Order Received RE: ORDER GRANTING APPLICATION OF JAMES E. KRUZER, ESQ. FOR ADMISSION PRO HA
            Motion FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, ETC
            Memorandum of Points & Authorities Filed IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES

            Separate Statement OF DEMANDS IN DISPUTE IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES

            Declaration OF DAVID GODKIN IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES, ETC
            Stipulation and Order to ADR

            Proof of Service by FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 08/25/16

            Opposition filed TO PLTFF'S MOTION TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS
            Declaration OF JULIE W. SCHWARTZ ISO FACEBOOK'S OPPOSITION TO PLTFF'S MOTION TO COMPEL, ETC.

            Separate Statement FACEBOOK'S RESPONSE SEPARATE STATEMENT ISO OPPOSITION TO PLTFF'S MOTION TO COMPEL

            Reply IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION
            CIV Minute Order

            CIV Minute Order
            Motion FOR PROTECTIVE ORDER

            Memorandum of Points & Authorities Filed IN SUPPORT OF MOTION FOR PROTECTIVE ORDER
            Declaration OF DAVID S. GODKIN ISO OF MOTION FOR PROTECTIVE ORDER

            Document LETTER TO JUDGE KARESH IN REGARDS TO PROPOSED ORDER ON MOTION FOR ORDER COMPELLING FURTHER

            Order ON MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS, ETC. S
            Motion FOR PROTECTIVE ORDER

            Declaration OF JULIE E. SCHWARTZ ISO FACEBOOK'S MOTION FOR PROTECTIVE ORDER

            Proof of Service by FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 09/22/16


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            Stipulation & Order CONTINUING HEARING ON SIX4THREE, LLC'S MOTION FOR PROTECTIVE ORDER signed by JUD

            Opposition filed TO PLTFF'S MOTION FOR PROTECTIVE ORDER
            Declaration OF JULIE E. SCHWARTZ IN SUPPORT OF FACEBOOK'S OPPOSITION TO PLTFF'S MOTION FOR PROTECTIV

            Proof of Service by FEDERAL EXPRESS served on SEE SERVICE LIST with a service date of 09/29/16

            Reply TO DEFENDANT FACEBOOK INC'S OPPOSITION TO PLAINTIFF'S MOTION FOR PROTECTIVE ORDER
            Reply IN SUPPORT OF MOTION FOR PROTECTIVE ORDER
            CIV Minute Order

            CIV Minute Order
            Notice OF APPEARANCE ON BEHALF OF FACEBOOK

            Order STIPULATED PROTECTIVE ORDER signed by Judge Karesh 10/24/16

            Order After Hearing signed by Judge Karesh 10/24/16 SIX4THREE'S MOTION FOR PROTECTIVE ORDER AND FAC
            Opposition filed TO DEFENDANT FACEBOOK INC'S EX PARTE APPLICATION
            Order GRANTING DEFT FACEBOOK INC'S EX PARTE APPLICATION TO CONTINUE OCTOBER 31 DOCUMENTS PRODUCTION

            Order GRANTING DEFT FACEBOOK INC'S EX PARTE APPLICATION TO CONTINUE TRIAL SIGNED BY JUDGE GRANDSAERT

            Ex Parte Filed APPLICATION TO CONTINUE OCTOBER 31 DOCUMENT PRODUCTION DEADLINE AND REMAINING CASE DE
            Notice of Mandatory Settlement Conference and Jury Trial

            Motion FOR A PROTECTIVE ORDER
            Separate Statement IN SUPPORT OF DEFT FACEBOOK, INC'S MOTION FOR PROTECTIVE ORDER

            Notice OF APPEARANCE OF CATHERINE KIM ON BEHLAF OF FACEBOOK
            Motion FOR ORDER TO COMPEL FURTHER RESPONSES TO PLAINTIFF'S SPECIAL INTERROGATORIES

            Memorandum of Points & Authorities Filed IN SUPPORT OF MOTION TO COMPEL FURTHER RESPONSES TO PLAINTI
            Separate Statement OF ANSWERS TO PLAINTIFF'S SPECIALLY PREPARED INTERROGATORIES IN DISPUTE

            Declaration OF DAVID S. GODKIN IN SUPPORT OF MOTION TO COMPEL FURTHER RESPONSES TO PLAINTIFF'S SPECI
            Motion FOR ORDER TO COMPEL FURTHER RESPONSES TO DEMAND FOR INSPECTION OF DOCUMENTS (SET TWO)
            Memorandum of Points & Authorities Filed IN SUPPORT OF MOTION FOR ORDER TO COMPEL FURTHER RESPONSES

            Separate Statement OF DEMANDS IN DISPUTE (SET TWO)
            Declaration OF DAVID S. GODKIN IN SUPPORT OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND
            Motion TO COMPEL
            Notice of LODGING OF DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL
            Separate Statement of Facts in SUPPORT OF ITS MOTION TO COMPEL
            Declaration OF LAURA E MILLER IN SUPPORT OF DEFT FACEBOOK INC'S MOTION TO COMPEL
            Memorandum of Points & Authorities Filed IN SUPPORT OF ITS MOTION TO COMPEL
            Proof of Service by MESSENGER SERVICE of DEFT FACEBOOK, INC'S NOTICE OF MOT/MOT TO COMPEL; MEMO P&A;
            Opposition filed TO DEFT FACEBOOK INC MOTION FOR A PROTECTIVE ORDER; ETC
            Opposition filed TO PLAINTIFF'S MOTION TO COMPEL FURTHER RESPONSES TO SPECIALLY PREPARED INTERROGATO

            Response SEPARATE STATEMENT IN SUPPORT OF OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES TO
            Declaration OF CATHERINE Y KIM IN SUPPORT OF FACEBOOK, INC'S OPPOSITION TO PLTF'S MOTION TO COMPEL F
            Proof of Service by MAIL of FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES

            Opposition filed TO DEFT FACEBOOK INC'S MOTION FOR A PROTECTIVE ORDER LIMITING PRODUCTION RESPONSIVE
            Opposition filed FACEBOOK, INC.'S OPPOSITION TO PLAINTIFF'S MOTION TO COMPEL FURTHER RESPONSES TO DE
            Response FACEBOOK, INC.'S RESPONSE SEPARATE STATEMENT IN SUPPORT OF OPPOSITION TO PLTF'S MOTION TO C

            Proof of Service by MAIL of FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL FURTHER RESPONSES
            Declaration of CATHERINE Y KIM IN SUPPORT OF FACEBOOK, INC.'S OPPOSITION TO PLTF'S MOTION TO COMPEL

            Reply DEFENDANT FACEBOOK, INC.'S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR A PROTECTIVE ORDER LI

            Declaration of LAURA E MILLER IN SUPPORT OF FACEBOOK, INC.'S REPLY MEMORANDUM IN SUPPORT OF ITS MOTI
            Reply IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO SPECIALLY PREPARED IN

            Reply BY PLAINTIFF IN SUPPORT OF NOTICE OF MOTION FOR ORDER COMPELLING FURTHER RESPONSES TO DEMAND F
            CIV Minute Order
            CIV Minute Order

            Ex Parte Filed PLTF SEX4THREE'S EX PARTE APPLICATION

            Memorandum of Points & Authorities Filed IN SUPPORT OF PLTF'S EX PARTE APPLICATION
            Declaration OF JAMES E KRUZER IN SUPPORT OF PLTF'S EX PARTE APPLICATION

            Order Signed by Judge Karesh DENYING PLAINTIFF'S EX PARTE APPLICATION TO CONTINUE DEFT FACEBOOK, INC

            Opposition filed DEFENDANT'S OPPOSITION TO PLAINTIFF'S EX PARTE MOTION

            Substitution of Attorney as to Former Attorney: JULIE SCHWARTZ New Attorney: SONAL MEHTA
            CIV Minute Order

            Opposition filed TO DEFT FACEBOOK INC'S NOTICE OF MOTION TO COMPEL
            CIV Minute Order
            Notice of LODGING OF DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL

            Reply DECLARATION OF LAURA E MILLER IN SUPPORT OF DEFT FACEBOOK, INC'S MOTION TO COMPEL

            Reply MEMORANDUM OF POINTS AND AUTHORITIES OF DEFT FACEBOOK, INC'S IN SUPPORT OF ITS MOTION TO COMPE


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            Reply UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE LODGED UNDER SEALED

            Reply UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE LODGED UNDER SEALED
            CIV Minute Order

            Order After Hearing Signed by Judge Karesh 12/12/16 GRANTING IN PART AND DENYING IN PART DEFT FACEBO

            CIV Minute Order
            Stipulation & Order Signed by: Judge DuBois on: 01/09/17 to ENTEND TIME TO RESPOND

            Stipulation FOR ELECTRONIC SERVICE OF DOCUMENTS AND NOTICE

            Stipulation & Order Signed by: JUDGE DUBOIS on: 01/18/17 TO EXTEND TIME TO RESPOND

            Document DEFENDANT FACEBOOK, INC.'S DISCOVERY SUBMISSION
            Declaration in Support OF DEFENDANT FACEBOOK,INC.'S DISCOVERY SUBMISSION

            Document DISCOVERY PROPOSAL PURSUANT TO COURT'S DECEMBER 13, 2016 ORDER (REDACTED PUBLIC VERSION)
            Declaration in Support OF 643'S DISCOVERY PROPOSAL PURSUANT TO COURT'S ORDER, AND FOR SANCTIONS
            Notice OF LODGING DOCUMENTS WITH THE COURT CONDITIONALLY UNDER SEAL PURSUANT TO C.R.C. 2.551(B)(3)




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From:                             Sonal Mehta
Sent:                             Friday, January 20, 2017 5:15 PM
To:                               David Godkin; James Kruzer; bpf@criterionlaw.com
Cc:                               SERVICE-SIX4THREE
Subject:                          Six4Three, LLC v. Facebook, Inc., Case No. CIV533328


Counsel,

We have reviewed Plaintiff Six4Three LLC’s January 12, 2017 Response To Defendant Facebook Inc.'s Specially Prepared
Interrogatories (Set Two) seeking the basis for Six4Three’s contentions with respect to the predicates for Section
17200. In its responses, Six4Three identifies a variety of state and federal laws that it contends that Facebook has
violated, a number of which are facially inapplicable and for which we do not believe Six4Three could even assert a claim
in good faith. Before we take action with the court, we ask that Six4Three review its contentions with respect to the
underlying state and federal laws referenced in these interrogatory responses and let us know by 5 pm ET on Monday
which of the predicate laws listed in the interrogatory responses Six4Three intends to pursue as a basis for its
unlawfulness claim. If we do not hear from you by then, we will understand that Six4Three maintains its contentions
that Facebook has violated the all of the laws identified therein and plans to assert those laws as a basis for its
unlawfulness claim in the case going forward, including to oppose summary judgment and thereafter, and we will
proceed accordingly.

Best,

Sonal N. Mehta | Durie Tangri LLP | smehta@durietangri.com | (415) 376-6427




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 1   DURIE TANGRI LLP
     SONAL N. MEHTA (SBN 222086)
 2   smehta@durietangri.com
     LAURA E. MILLER (SBN 271713)
 3   lmiller@durietangri.com
     CATHERINE Y. KIM (SBN 308442)
 4   ckim@durietangri.com
     217 Leidesdorff Street
 5   San Francisco, CA 94111
     Telephone: 415-362-6666
 6   Facsimile: 415-236-6300

 7   Attorneys for Defendant
     Facebook, Inc.
 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

11   SIX4THREE, LLC,                                    Case No. 3:17-cv-00359
12                                Plaintiff,            PROOF OF SERVICE
13         v.
14   FACEBOOK, INC.,
15                                Defendant.
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                                  PROOF OF SERVICE / CASE NO. 3:17-CV-00359
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 1                                             PROOF OF SERVICE

 2          I am a citizen of the United States and resident of the State of California. I am employed in San
 3   Francisco County, State of California, in the office of a member of the bar of this Court, at whose
 4   direction the service was made. I am over the age of eighteen years, and not a party to the within action.
 5   My business address is 217 Leidesdorff Street, San Francisco, CA 94111.
 6          On January 24, 2017, I served the following documents in the manner described below:
 7                 CIVIL COVER SHEET;
 8                 NOTICE OF REMOVAL OF ACTION: UNDER 28 U.S.C. § 1441(A) (FEDERAL
                    QUESTION);
 9
                   PROOF OF SERVICE
10
           X        BY ELECTRONIC SERVICE: By electronically mailing a true and correct copy through
11                  Durie Tangri’s electronic mail system from msotto@durietangri.com to the email
                    addresses set forth below.
12
            On the following part(ies) in this action:
13
                     Basil P. Fthenakis
14                   CRITERION LAW
                     2225 E. Bayshore Road, Suite 200
15                   Palo Alto, CA 94303
                     Telephone: 650-352-8400
16                   Facsimile: 650-352-8408
                     bpf@criterionlaw.com
17
                     David S. Godkin
18                   James Kruzer
                     BIRNBAUM & GODKIN, LLP
19                   280 Summer Street
                     Boston, MA 02210
20                   Telephone: 617-307-6100
                     godkin@birnbaumgodkin.com
21                   kruzer@birnbaumgodkin.com
22                   Attorneys for Plaintiff
                     Six4Three, LLC
23
            I declare under penalty of perjury under the laws of the United States of America that the
24
     foregoing is true and correct. Executed on January 24, 2017, at San Francisco, California.
25

26                                                                       /s/ Melissa Sotto
27                                                                         Melissa Sotto

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                                                         1
                                    PROOF OF SERVICE / CASE NO. 3:17-CV-00359
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 1                                            PROOF OF SERVICE

 2          I am a citizen of the United States and resident of the State of California. I am employed in San
 3   Francisco County, State of California, in the office of a member of the bar of this Court, at whose
 4   direction the service was made. I am over the age of eighteen years, and not a party to the within action.
 5   My business address is 217 Leidesdorff Street, San Francisco, CA 94111.
 6          On January 24, 2017, I served the following documents in the manner described below:
 7              NOTICE TO ADVERSE PARTY OF REMOVALTO FEDERAL COURT
 8         X        BY ELECTRONIC SERVICE: By electronically mailing a true and correct copy through
                    Durie Tangri’s electronic mail system from msotto@durietangri.com to the email
 9                  addresses set forth below.
10          On the following part(ies) in this action:
11                  Basil P. Fthenakis
                    CRITERION LAW
12                  2225 E. Bayshore Road, Suite 200
                    Palo Alto, CA 94303
13                  Telephone: 650-352-8400
                    Facsimile: 650-352-8408
14                  bpf@criterionlaw.com
15                  David S. Godkin
                    James Kruzer
16                  BIRNBAUM & GODKIN, LLP
                    280 Summer Street
17                  Boston, MA 02210
                    Telephone: 617-307-6100
18                  godkin@birnbaumgodkin.com
                    kruzer@birnbaumgodkin.com
19
                    Attorneys for Plaintiff
20                  Six4Three, LLC
21          I declare under penalty of perjury under the laws of the United States of America that the
22   foregoing is true and correct. Executed on January 24, 2017, at San Francisco, California.
23

24

25                                                                        Melissa Sotto

26

27

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                                                         2
               NOTICE TO ADVERSE PARTY OF REMOVALTO FEDERAL COURT / CASE NO. CIV 533328
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                             Exhibit 5
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From: David Godkin
Sent: Wednesday, January 25, 2017 3:38 PM
To: Laura Miller <LMiller@durietangri.com>; Sonal Mehta <SMehta@durietangri.com>; Catherine Kim
<CKim@durietangri.com>
Cc: 'bpf@criterionlaw.com' <bpf@criterionlaw.com>; James Kruzer <kruzer@birnbaumgodkin.com>
Subject: RE: Six4Three LLC v. Facebook, Inc., San Mateo County Case No.: CIV

Counsel,

Facebook’s removal of this case is nothing more than a transparent attempt to avoid
complying with the summary judgment deadline. Notwithstanding Facebook’s purported
reasons, removal of the state-court case is inappropriate. 643’s causes of action in the
state-court case are based on common law and California’s Unfair Competition Law
(“UCL”), Cal. Bus. & Prof. Code §17200 et. seq. The fact that 643 answered a special
interrogatory seeking identification of laws it believes Facebook conduct violated by
identifying state law, federal law, and common law violations does not confer federal
jurisdiction. The case law is crystal clear on this point. See, e.g., Kvam v. Chase Home
Fin. LLC, 2012 U.S. Dist. LEXIS 77218 (N.D. Cal. June 4, 2012); Pope v. Wells Fargo
Bank, 2010 U.S. Dist. LEXIS 125341, 2010 WL 8388301 (E.D. Cal. Nov. 29, 2010); and
Carbonel v. ARA Loans and Realty, Inc., 2010 U.S. Dist. LEXIS 81991 (N.D. Cal. Aug.
12, 2010).

Please advise by the end of today whether Facebook will stipulate to remanding this
case. If Facebook does not agree to remand the case, 643 intends to seek immediate
relief from the court and reserves its right to recover its costs and attorneys’ fees in doing
so, as Facebook’s removal is contrary to unambiguous legal authority.

If Facebook does not agree to remand this case, please advise by the end of the day today
whether Facebook will stipulate to shorten the time for a hearing on 643’s forthcoming
motion to remand (which will be filed tomorrow) to Thursday, February 2, 2017 at 8 AM,
with Facebook’s responsive papers to be filed by Monday, January 30, 2017. If
Facebook does not agree, we will also file a motion to shorten time seeking that relief.

Regards,

David
	  
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                             Exhibit 6
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